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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
                                                       X
                                                       )
 ALLSTATE INSURANCE COMPANY, ALLSTATE PROPERTY & )
 CASUALTY INSURANCE COMPANY, ALLSTATE FIRE & )
 CASUALTY INSURANCE COMPANY, ALLSTATE INDEMNITY )                                        15-cv-7149
 COMPANY AND ALLSTATE NORTHBROOK INDEMNITY )                                             (SJ) (CLP)
 COMPANY,                                              )
                                                       )
                                      PLAINTIFFS,      )
                                                       )
                     -AGAINST-                         )
                                                       )
 HARVEY FAMILY CHIROPRACTIC, PHYSICAL THERAPY & )
 ACUPUNCTURE, PLLC, RICHARD HARVEY, D.C., JIN HWANGBO, )
 L.Ac., and BERVIN NELSON BRUAL, P.T.                  )
                                                       )
                                      DEFENDANTS.      )
                                                                                  X

           ORDER TO SHOW CAUSE AND TEMPORARY RESTRAINING ORDER


        Upon the Affidavit of Michael Flaherty, the Declaration of Daniel S. Marvin and exhibits

 annexed thereto, and accompanying Memorandum of Law in support of Plaintiffs’ Motion

 pursuant to Rule 65 of the Federal Rules of Civil Procedure seeking a Temporary Restraining

 Order and Order staying all No-fault collection proceedings currently pending between Plaintiffs

 and Harvey Family Chiropractic, Physical Therapy & Acupuncture, PLLC (“Harvey FCPTA”),

 and upon all of the prior pleadings and proceedings in this action, it appears to the Court that:

      a.        In the present action, Plaintiffs Allstate Insurance Company, Allstate
                Property & Casualty Insurance Company, Allstate Fire & Casualty
                Insurance Company, Allstate Indemnity Company and Allstate
                Northbrook Indemnity Company (“Plaintiffs” or “Allstate”) seek,
                among other things, a declaratory judgment that: (i) Allstate is under no
                obligation to pay any of Harvey FCPTA’s No-fault claims due to its
                fraudulent corporate structure; and (ii) Harvey FCPTA never had, and
                does not now have, standing to prosecute any claim for first-party No-

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                fault benefits in any arbitration proceedings or lawsuits commenced in
                state or federal court due to its fraudulent corporate structure;

      b.        There are currently at least 355 No-fault collection matters between
                Harvey    FCPTA       and    Allstate  pending      in    the    New
                York City Civil Courts and/or Nassau County District Courts in which
                Harvey FCPTA is seeking to recover No-fault benefits, as identified in
                Exhibit “A” annexed hereto;

       c.       There is approximately $2,256,615.60 in unpaid No-fault claims which
                have been submitted by Harvey FCPTA to Allstate for reimbursement.
                as identified in Exhibit “B” annexed hereto;

      d.        Allstate will suffer irreparable harm if Harvey FCPTA is permitted to
                proceed with any No-fault collection litigation, including but not
                limited to those identified in Exhibit “A,” or if Harvey FCPTA is
                permitted to submit any additional No-fault collection claims to
                arbitration or litigation during the pendency of this action; and

       e.       A stay of all pending No-fault collection litigations and arbitrations
                between Harvey FCPTA and Allstate, and an injunction prohibiting
                Harvey FCPTA from initiating any new No-fault collection litigations
                and arbitrations against Allstate during the pendency of Allstate’s
                declaratory judgment claim will not cause Harvey FCPTA undue
                hardship or prejudice.

 Accordingly, it is:

        ORDERED that Defendant Harvey FCPTA show cause before the Honorable Sterling

 Johnson Junior, United States District Court Eastern District of New York, 225 Cadman Plaza

 East Brooklyn, NY 11201 on ________________, or as soon thereafter as counsel may be heard,

 why an Order should not be made and entered pursuant to Fed. R. Civ. P. 65 and the Court’s

 inherent power:

        1.      Staying any and all pending No-fault insurance collection actions that
                have been commenced by or on behalf of Harvey FCPTA against Allstate
                including but not limited to litigations identified in Exhibit “A” annexed
                hereto, pending the disposition of Allstate’s declaratory judgment claim in
                this action; and

        2.      Enjoining Harvey FCPTA, and anyone acting or purporting to act on its
                behalf, from commencing any No-fault insurance collection arbitrations or

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                 litigation against Allstate pending the disposition of Allstate’s declaratory
                 judgment claim in this action.

         IT FURTHER APPEARING TO THE COURT from the moving papers filed by

 Plaintiffs January 4, 2016, that: (i) there are sufficiently serious questions going to the merits of

 this action to make them a fair ground for litigation; (ii) the balance of hardships tips decidedly

 in Plaintiffs’ favor; and (iii) irreparable harm and immediate loss or damage will result to

 Plaintiffs without interim injunctive relief; and

         IT FURTHER APPEARING TO THE COURT from the moving papers filed by

 Plaintiffs on January 4, 2016 that Plaintiffs have demonstrated that they will suffer significant

 prejudice in the event that they be required to provide notice of their application for a Temporary

 Restraining Order pending hearing and disposition of its Motion for Preliminary Injunction:

         IT IS FURTHER ORDERED that, pending the hearing and disposition of Plaintiffs’

 motion to Stay and Enjoin Harvey FCPTA and anyone acting or purporting to act on its behalf,

 are hereby enjoined and restrained from prosecuting any and all pending No-fault insurance

 collection litigations and/or arbitrations that have been submitted by or on behalf of Harvey

 FCPTA against Allstate, including but not limited to the litigations identified in Exhibit “A”

 annexed hereto, and are enjoined and restrained from commencing any additional No-fault

 collection litigations or arbitrations;

         IT IS FURTHER ORDERED that because the requested injunction and Temporary

 Restraining Order will not cause any hardship or prejudice to Harvey FCPTA, Allstate need not

 provide any security;

         SUFFICIENT CAUSE THEREFORE APPEARING, let service of a copy of this

 Order, and of the papers on which it is granted, on Defendant Harvey Family Chiropractic,




                                                     3
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 Physical Therapy and Acupuncture, PLLC, through its counsel, Louis F. Chisari, Esq., Marcote

 & Associates, P.C., by Electronic Case Filing be sufficient service;

        AND LET any papers in opposition to the Plaintiffs’ Motion for a Preliminary Injunction

 be served on Plaintiffs’ counsel, Stern & Montana, LLP by Electronic Case Filing on or before

 January _______, 2016 be sufficient service.




 S O O R D E R E D:


 __________________

 Hon. Sterling Johnson
 United States District Court Judge




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                   EXHIBIT A
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                  Exhibit A - Pending Matters Between Harvey FCPTA and Allstate




   Index Number        Next Date            Venue
   CV-711874-13/BX     12/11/2015           Bronx County Civil Court
   CV-019302-14/NA     12/15/2015           Nassau County District Court - 1st District
   CV-019303-14/NA     12/15/2015           Nassau County District Court - 1st District
   CV-019306-14/NA     12/15/2015           Nassau County District Court - 1st District
   CV-019312-14/NA     12/15/2015           Nassau County District Court - 1st District
   CV-019314-14/NA     12/15/2015           Nassau County District Court - 1st District
   CV-019315-14/NA     12/15/2015           Nassau County District Court - 1st District
   CV-019316-14/NA     12/15/2015           Nassau County District Court - 1st District
   CV-019323-14/NA     12/15/2015           Nassau County District Court - 1st District
   CV-019324-14/NA     12/15/2015           Nassau County District Court - 1st District
   CV-019331-14/NA     12/15/2015           Nassau County District Court - 1st District
   CV-019347-14/NA     12/15/2015           Nassau County District Court - 1st District
   CV-019348-14/NA     12/15/2015           Nassau County District Court - 1st District
   CV-019392-14/NA     12/15/2015           Nassau County District Court - 1st District
   CV-019393-14/NA     12/15/2015           Nassau County District Court - 1st District
   CV-019394-14/NA     12/15/2015           Nassau County District Court - 1st District
   CV-019402-14/NA     12/15/2015           Nassau County District Court - 1st District
   CV-019407-14/NA     12/15/2015           Nassau County District Court - 1st District
   CV-019408-14/NA     12/15/2015           Nassau County District Court - 1st District
   CV-019409-14/NA     12/15/2015           Nassau County District Court - 1st District
   CV-019416-14/NA     12/15/2015           Nassau County District Court - 1st District
   CV-019422-14/NA     12/15/2015           Nassau County District Court - 1st District
   CV-019438-14/NA     12/15/2015           Nassau County District Court - 1st District
   CV-019451-14/NA     12/15/2015           Nassau County District Court - 1st District
   CV-019453-14/NA     12/15/2015           Nassau County District Court - 1st District
   CV-019454-14/NA     12/15/2015           Nassau County District Court - 1st District
   CV-019456-14/NA     12/15/2015           Nassau County District Court - 1st District
   CV-019457-14/NA     12/15/2015           Nassau County District Court - 1st District
   CV-019508-14/NA     12/15/2015           Nassau County District Court - 1st District
   CV-019511-14/NA     12/15/2015           Nassau County District Court - 1st District
   CV-019515-14/NA     12/15/2015           Nassau County District Court - 1st District
   CV-019517-14/NA     12/15/2015           Nassau County District Court - 1st District




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                  Exhibit A - Pending Matters Between Harvey FCPTA and Allstate




   Index Number        Next Date            Venue
   CV-019518-14/NA     12/15/2015           Nassau County District Court - 1st District
   CV-019519-14/NA     12/15/2015           Nassau County District Court - 1st District
   CV-019520-14/NA     12/15/2015           Nassau County District Court - 1st District
   CV-019522-14/NA     12/15/2015           Nassau County District Court - 1st District
   CV-019524-14/NA     12/15/2015           Nassau County District Court - 1st District
   CV-019526-14/NA     12/15/2015           Nassau County District Court - 1st District
   CV-019527-14/NA     12/15/2015           Nassau County District Court - 1st District
   CV-019528-14/NA     12/15/2015           Nassau County District Court - 1st District
   CV-019530-14/NA     12/15/2015           Nassau County District Court - 1st District
   CV-006919-15/NA     12/15/2015           Nassau County District Court - 1st District
   CV-009529-15/NA     12/15/2015           Nassau County District Court - 1st District
   CV-009531-15/NA     12/15/2015           Nassau County District Court - 1st District
   CV-009536-15/NA     12/15/2015           Nassau County District Court - 1st District
   CV-009537-15/NA     12/15/2015           Nassau County District Court - 1st District
   CV-009547-15/NA     12/15/2015           Nassau County District Court - 1st District
   CV-009552-15/NA     12/15/2015           Nassau County District Court - 1st District
   CV-009568-15/NA     12/15/2015           Nassau County District Court - 1st District
   CV-009574-15/NA     12/15/2015           Nassau County District Court - 1st District
   CV-710525-14/BX     12/16/2015           Bronx County Civil Court
   CV-709231-15/BX     12/17/2015           Bronx County Civil Court
   CV-709229-15/BX     12/21/2015           Bronx County Civil Court
   CV-019318-14/NA     12/21/2015           Nassau County District Court - 1st District
   CV-019395-14/NA     12/21/2015           Nassau County District Court - 1st District
   CV-019439-14/NA     12/21/2015           Nassau County District Court - 1st District
   CV-019531-14/NA     12/21/2015           Nassau County District Court - 1st District
   CV-006910-15/NA     12/21/2015           Nassau County District Court - 1st District
   CV-006918-15/NA     12/21/2015           Nassau County District Court - 1st District
   CV-006922-15/NA     12/21/2015           Nassau County District Court - 1st District
   CV-006923-15/NA     12/21/2015           Nassau County District Court - 1st District
   CV-006924-15/NA     12/21/2015           Nassau County District Court - 1st District
   CV-009564-15/NA     12/21/2015           Nassau County District Court - 1st District
   CV-009565-15/NA     12/21/2015           Nassau County District Court - 1st District




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                  Exhibit A - Pending Matters Between Harvey FCPTA and Allstate




   Index Number        Next Date            Venue
   CV-009566-15/NA     12/21/2015           Nassau County District Court - 1st District
   CV-009932-15/NA     12/21/2015           Nassau County District Court - 1st District
   CV-709228-15/BX     12/22/2015           Bronx County Civil Court
   CV-006911-15/NA     12/22/2015           Nassau County District Court - 1st District
   CV-006916-15/NA     12/22/2015           Nassau County District Court - 1st District
   CV-006917-15/NA     12/22/2015           Nassau County District Court - 1st District
   CV-006921-15/NA     12/22/2015           Nassau County District Court - 1st District
   CV-009546-15/NA     12/22/2015           Nassau County District Court - 1st District
   CV-009554-15/NA     12/22/2015           Nassau County District Court - 1st District
   CV-009561-15/NA     12/22/2015           Nassau County District Court - 1st District
   CV-009569-15/NA     12/22/2015           Nassau County District Court - 1st District
   CV-009934-15/NA     12/22/2015           Nassau County District Court - 1st District
   CV-009939-15/NA     12/22/2015           Nassau County District Court - 1st District
   CV-006912-15/NA     12/23/2015           Nassau County District Court - 1st District
   CV-006913-15/NA     12/23/2015           Nassau County District Court - 1st District
   CV-006914-15/NA     12/23/2015           Nassau County District Court - 1st District
   CV-006920-15/NA     12/23/2015           Nassau County District Court - 1st District
   CV-006925-15/NA     12/23/2015           Nassau County District Court - 1st District
   CV-009553-15/NA     12/23/2015           Nassau County District Court - 1st District
   CV-009567-15/NA     12/23/2015           Nassau County District Court - 1st District
   CV-009931-15/NA     12/23/2015           Nassau County District Court - 1st District
   CV-009933-15/NA     12/23/2015           Nassau County District Court - 1st District
   CV-009935-15/NA     12/23/2015           Nassau County District Court - 1st District
   CV-711875-13/BX     1/4/2016             Bronx County Civil Court
   CV-701142-14/BX     1/4/2016             Bronx County Civil Court
   CV-711135-15/BX     1/4/2016             Bronx County Civil Court
   CV-711141-15/BX     1/4/2016             Bronx County Civil Court
   CV-019304-14/NA     1/4/2016             Nassau County District Court - 1st District
   CV-019310-14/NA     1/4/2016             Nassau County District Court - 1st District
   CV-019311-14/NA     1/4/2016             Nassau County District Court - 1st District
   CV-019321-14/NA     1/4/2016             Nassau County District Court - 1st District
   CV-019325-14/NA     1/4/2016             Nassau County District Court - 1st District




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                  Exhibit A - Pending Matters Between Harvey FCPTA and Allstate




   Index Number        Next Date            Venue
   CV-019327-14/NA     1/4/2016             Nassau County District Court - 1st District
   CV-019340-14/NA     1/4/2016             Nassau County District Court - 1st District
   CV-019344-14/NA     1/4/2016             Nassau County District Court - 1st District
   CV-019349-14/NA     1/4/2016             Nassau County District Court - 1st District
   CV-019391-14/NA     1/4/2016             Nassau County District Court - 1st District
   CV-019399-14/NA     1/4/2016             Nassau County District Court - 1st District
   CV-019400-14/NA     1/4/2016             Nassau County District Court - 1st District
   CV-019403-14/NA     1/4/2016             Nassau County District Court - 1st District
   CV-019406-14/NA     1/4/2016             Nassau County District Court - 1st District
   CV-019413-14/NA     1/4/2016             Nassau County District Court - 1st District
   CV-019414-14/NA     1/4/2016             Nassau County District Court - 1st District
   CV-019415-14/NA     1/4/2016             Nassau County District Court - 1st District
   CV-019417-14/NA     1/4/2016             Nassau County District Court - 1st District
   CV-019420-14/NA     1/4/2016             Nassau County District Court - 1st District
   CV-019424-14/NA     1/4/2016             Nassau County District Court - 1st District
   CV-019426-14/NA     1/4/2016             Nassau County District Court - 1st District
   CV-019427-14/NA     1/4/2016             Nassau County District Court - 1st District
   CV-019428-14/NA     1/4/2016             Nassau County District Court - 1st District
   CV-019441-14/NA     1/4/2016             Nassau County District Court - 1st District
   CV-019444-14/NA     1/4/2016             Nassau County District Court - 1st District
   CV-019445-14/NA     1/4/2016             Nassau County District Court - 1st District
   CV-019447-14/NA     1/4/2016             Nassau County District Court - 1st District
   CV-019452-14/NA     1/4/2016             Nassau County District Court - 1st District
   CV-019504-14/NA     1/4/2016             Nassau County District Court - 1st District
   CV-019509-14/NA     1/4/2016             Nassau County District Court - 1st District
   CV-019510-14/NA     1/4/2016             Nassau County District Court - 1st District
   CV-019525-14/NA     1/4/2016             Nassau County District Court - 1st District
   CV-019533-14/NA     1/4/2016             Nassau County District Court - 1st District
   CV-006915-15/NA     1/4/2016             Nassau County District Court - 1st District
   CV-009532-15/NA     1/4/2016             Nassau County District Court - 1st District
   CV-009548-15/NA     1/4/2016             Nassau County District Court - 1st District
   CV-009549-15/NA     1/4/2016             Nassau County District Court - 1st District




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   Index Number        Next Date            Venue
   CV-009562-15/NA     1/4/2016             Nassau County District Court - 1st District
   CV-009570-15/NA     1/4/2016             Nassau County District Court - 1st District
   CV-009571-15/NA     1/4/2016             Nassau County District Court - 1st District
   CV-009937-15/NA     1/4/2016             Nassau County District Court - 1st District
   CV-009940-15/NA     1/4/2016             Nassau County District Court - 1st District
   CV-019305-14/NA     1/11/2016            Nassau County District Court - 1st District
   CV-019307-14/NA     1/11/2016            Nassau County District Court - 1st District
   CV-019308-14/NA     1/11/2016            Nassau County District Court - 1st District
   CV-019309-14/NA     1/11/2016            Nassau County District Court - 1st District
   CV-019313-14/NA     1/11/2016            Nassau County District Court - 1st District
   CV-019319-14/NA     1/11/2016            Nassau County District Court - 1st District
   CV-019329-14/NA     1/11/2016            Nassau County District Court - 1st District
   CV-019330-14/NA     1/11/2016            Nassau County District Court - 1st District
   CV-019343-14/NA     1/11/2016            Nassau County District Court - 1st District
   CV-019346-14/NA     1/11/2016            Nassau County District Court - 1st District
   CV-019405-14/NA     1/11/2016            Nassau County District Court - 1st District
   CV-019410-14/NA     1/11/2016            Nassau County District Court - 1st District
   CV-019418-14/NA     1/11/2016            Nassau County District Court - 1st District
   CV-019421-14/NA     1/11/2016            Nassau County District Court - 1st District
   CV-019429-14/NA     1/11/2016            Nassau County District Court - 1st District
   CV-019440-14/NA     1/11/2016            Nassau County District Court - 1st District
   CV-019446-14/NA     1/11/2016            Nassau County District Court - 1st District
   CV-019448-14/NA     1/11/2016            Nassau County District Court - 1st District
   CV-019449-14/NA     1/11/2016            Nassau County District Court - 1st District
   CV-019505-14/NA     1/11/2016            Nassau County District Court - 1st District
   CV-019513-14/NA     1/11/2016            Nassau County District Court - 1st District
   CV-019514-14/NA     1/11/2016            Nassau County District Court - 1st District
   CV-019516-14/NA     1/11/2016            Nassau County District Court - 1st District
   CV-019523-14/NA     1/11/2016            Nassau County District Court - 1st District
   CV-009530-15/NA     1/11/2016            Nassau County District Court - 1st District
   CV-009551-15/NA     1/11/2016            Nassau County District Court - 1st District
   CV-009572-15/NA     1/11/2016            Nassau County District Court - 1st District




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                  Exhibit A - Pending Matters Between Harvey FCPTA and Allstate




   Index Number        Next Date            Venue
   CV-009573-15/NA     1/11/2016            Nassau County District Court - 1st District
   CV-019397-14/NA     1/12/2016            Nassau County District Court - 1st District
   CV-019401-14/NA     1/12/2016            Nassau County District Court - 1st District
   CV-019423-14/NA     1/12/2016            Nassau County District Court - 1st District
   CV-019443-14/NA     1/12/2016            Nassau County District Court - 1st District
   CV-019506-14/NA     1/12/2016            Nassau County District Court - 1st District
   CV-019317-14/NA     1/15/2016            Nassau County District Court - 1st District
   CV-019326-14/NA     1/15/2016            Nassau County District Court - 1st District
   CV-019442-14/NA     1/15/2016            Nassau County District Court - 1st District
   CV-019455-14/NA     1/15/2016            Nassau County District Court - 1st District
   CV-719770-12/BX     1/19/2016            Bronx County Civil Court
   CV-726586-12/BX     1/19/2016            Bronx County Civil Court
   CV-726599-12/BX     1/19/2016            Bronx County Civil Court
   CV-019412-14/NA     1/19/2016            Nassau County District Court - 1st District
   CV-019425-14/NA     1/19/2016            Nassau County District Court - 1st District
   CV-019450-14/NA     1/19/2016            Nassau County District Court - 1st District
   CV-712227-14/BX     1/20/2016            Bronx County Civil Court
   CV-005029-15/NA     2/1/2016             Nassau County District Court - 1st District
   CV-005032-15/NA     2/1/2016             Nassau County District Court - 1st District
   CV-005043-15/NA     2/1/2016             Nassau County District Court - 1st District
   CV-005046-15/NA     2/1/2016             Nassau County District Court - 1st District
   CV-019328-14/NA     2/2/2016             Nassau County District Court - 1st District
   CV-019529-14/NA     2/2/2016             Nassau County District Court - 1st District
   CV-005047-15/NA     2/2/2016             Nassau County District Court - 1st District
   CV-726590-12/BX     2/5/2016             Bronx County Civil Court
   CV-726597-12/BX     2/5/2016             Bronx County Civil Court
   CV-726600-12/BX     2/5/2016             Bronx County Civil Court
   CV-726602-12/BX     2/5/2016             Bronx County Civil Court
   CV-005042-15/NA     2/9/2016             Nassau County District Court - 1st District
   CV-701551-12/BX     2/29/2016            Bronx County Civil Court
   CV-019320-14/NA     2/29/2016            Nassau County District Court - 1st District
   CV-019345-14/NA     2/29/2016            Nassau County District Court - 1st District




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                    Exhibit A - Pending Matters Between Harvey FCPTA and Allstate




   Index Number          Next Date            Venue
   CV-019411-14/NA       2/29/2016            Nassau County District Court - 1st District
   CV-702458-15/BX       3/4/2016             Bronx County Civil Court
   CV-726598-12/BX       3/18/2016            Bronx County Civil Court
   CV-005030-15/NA       3/22/2016            Nassau County District Court - 1st District
   CV-705086-13/BX       3/23/2016            Bronx County Civil Court
   CV-705087-13/BX       3/23/2016            Bronx County Civil Court
   CV-711511-13/BX       3/24/2016            Bronx County Civil Court
   CV-711560-13/BX       3/24/2016            Bronx County Civil Court
   CV-708102-13/BX       3/25/2016            Bronx County Civil Court
   CV-708114-13/BX       3/25/2016            Bronx County Civil Court
   CV-019341-14/NA       3/31/2016            Nassau County District Court - 1st District
   CV-05946-11/BX        4/8/2016             Bronx County Civil Court
   CV-059554-11/BX       4/8/2016             Bronx County Civil Court
   CV-711457-13/BX       4/8/2016             Bronx County Civil Court
   CV-711561-13/BX       4/8/2016             Bronx County Civil Court
   CV-711646-13/BX       4/8/2016             Bronx County Civil Court
   CV-711650-13/BX       4/8/2016             Bronx County Civil Court
   CV-723483-12/BX       4/12/2016            Bronx County Civil Court
   CV-723486-12/BX       4/12/2016            Bronx County Civil Court
   CV-703302-12/BX       4/13/2016            Bronx County Civil Court
   CV-705085-13/BX       4/21/2016            Bronx County Civil Court
   CV-711878-13/BX       4/22/2016            Bronx County Civil Court
   CV-716255-13/BX       5/5/2016             Bronx County Civil Court
   CV-711458-13/BX       5/6/2016             Bronx County Civil Court
   CV-708118-13/BX       5/9/2016             Bronx County Civil Court
   CV-711456-13/BX       5/9/2016             Bronx County Civil Court
   CV-711565-13/BX       5/9/2016             Bronx County Civil Court
   CV-711643-13/BX       5/9/2016             Bronx County Civil Court
   CV-711876-13/BX       5/9/2016             Bronx County Civil Court
   CV-708100-13/BX       5/10/2016            Bronx County Civil Court
   CV-710708-13/BX       5/10/2016            Bronx County Civil Court
   CV-711644-13/BX       5/10/2016            Bronx County Civil Court




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   Index Number        Next Date            Venue
   CV-711645-13/BX     5/10/2016            Bronx County Civil Court
   CV-710709-13/BX     5/11/2016            Bronx County Civil Court
   CV-710711-13/BX     5/11/2016            Bronx County Civil Court
   CV-711509-13/BX     5/11/2016            Bronx County Civil Court
   CV-711510-13/BX     5/11/2016            Bronx County Civil Court
   CV-711517-13/BX     5/11/2016            Bronx County Civil Court
   CV-708009-13/BX     5/12/2016            Bronx County Civil Court
   CV-711872-13/BX     5/25/2016            Bronx County Civil Court
   CV-711897-13/BX     5/25/2016            Bronx County Civil Court
   CV-711898-13/BX     5/25/2016            Bronx County Civil Court
   CV-708101-13/BX     5/27/2016            Bronx County Civil Court
   CV-711899-13/BX     6/3/2016             Bronx County Civil Court
   CV-711896-13/BX     6/8/2016             Bronx County Civil Court
   CV-059557-11/BX     6/9/2016             Bronx County Civil Court
   CV-716249-13/BX     6/27/2016            Bronx County Civil Court
   CV-716252-13/BX     6/27/2016            Bronx County Civil Court
   CV-718088-13/BX     6/27/2016            Bronx County Civil Court
   CV-718311-13/BX     7/1/2016             Bronx County Civil Court
   CV-718314-13/BX     7/1/2016             Bronx County Civil Court
   CV-708113-13/BX     7/6/2016             Bronx County Civil Court
   CV-708115-13/BX     7/6/2016             Bronx County Civil Court
   CV-708116-13/BX     7/6/2016             Bronx County Civil Court
   CV-710710-13/BX     7/6/2016             Bronx County Civil Court
   CV-716258-13/BX     7/14/2016            Bronx County Civil Court
   CV-718091-13/BX     7/14/2016            Bronx County Civil Court
   CV-708117-13/BX     7/15/2016            Bronx County Civil Court
   CV-718064-13/BX     7/15/2016            Bronx County Civil Court
   CV-716250-13/BX     7/18/2016            Bronx County Civil Court
   CV-718108-13/BX     7/18/2016            Bronx County Civil Court
   CV-718309-13/BX     7/18/2016            Bronx County Civil Court
   CV-718310-13/BX     7/18/2016            Bronx County Civil Court
   CV-718312-13/BX     7/18/2016            Bronx County Civil Court




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                  Exhibit A - Pending Matters Between Harvey FCPTA and Allstate




   Index Number        Next Date            Venue
   CV-718313-13/BX     7/18/2016            Bronx County Civil Court
   CV-708094-13/BX     7/19/2016            Bronx County Civil Court
   CV-708095-13/BX     7/19/2016            Bronx County Civil Court
   CV-701137-14/BX     7/19/2016            Bronx County Civil Court
   CV-711879-13/BX     7/25/2016            Bronx County Civil Court
   CV-716254-13/BX     7/25/2016            Bronx County Civil Court
   CV-716257-13/BX     7/25/2016            Bronx County Civil Court
   CV-716251-13/BX     7/27/2016            Bronx County Civil Court
   CV-718316-13/BX     7/29/2016            Bronx County Civil Court
   CV-718319-13/BX     7/29/2016            Bronx County Civil Court
   CV-701193-14/BX     8/4/2016             Bronx County Civil Court
   CV-718089-13/BX     8/29/2016            Bronx County Civil Court
   CV-716256-13/BX     8/30/2016            Bronx County Civil Court
   CV-718109-13/BX     8/30/2016            Bronx County Civil Court
   CV-706293-14/BX     9/6/2016             Bronx County Civil Court
   CV-706292-14/BX     9/9/2016             Bronx County Civil Court
   CV-701192-14/BX     9/12/2016            Bronx County Civil Court
   CV-718090-13/BX     9/13/2016            Bronx County Civil Court
   CV-711769-13/BX     9/19/2016            Bronx County Civil Court
   CV-711873-13/BX     9/23/2016            Bronx County Civil Court
   CV-711877-13/BX     9/23/2016            Bronx County Civil Court
   CV-716253-13/BX     9/23/2016            Bronx County Civil Court
   CV-716259-13/BX     9/23/2016            Bronx County Civil Court
   CV-718308-13/BX     10/6/2016            Bronx County Civil Court
   CV-711767-13/BX     10/7/2016            Bronx County Civil Court
   CV-711768-13/BX     10/7/2016            Bronx County Civil Court
   CV-706303-14/BX     10/26/2016           Bronx County Civil Court
   CV-706301-14/BX     10/27/2016           Bronx County Civil Court
   CV-711900-13/BX     11/17/2016           Bronx County Civil Court
   CV-701194-14/BX     12/5/2016            Bronx County Civil Court
   CV-059548-11/BX                          Bronx County Civil Court
   CV-059549-11/BX                          Bronx County Civil Court




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                  Exhibit A - Pending Matters Between Harvey FCPTA and Allstate




   Index Number        Next Date            Venue
   CV-059550-11/BX                          Bronx County Civil Court
   CV-059553-11/BX                          Bronx County Civil Court
   CV-718092-13/BX                          Bronx County Civil Court
   CV-706302-14/BX                          Bronx County Civil Court
   CV-723484-12/BX                          Bronx County Civil Court
   CV-723574-12/BX                          Bronx County Civil Court
   CV-723575-12/BX                          Bronx County Civil Court
   CV-019404-14/NA                          Nassau County District Court - 1st District
   CV-723485-12/BX                          Bronx County Civil Court
   CV-059552-11/BX                          Bronx County Civil Court
   CV-059555-11/BX                          Bronx County Civil Court
   CV-019398-14/NA                          Nassau County District Court - 1st District
   CV-019512-14/NA                          Nassau County District Court - 1st District
   CV-019532-14/NA                          Nassau County District Court - 1st District
   CV-703300-12/BX                          Bronx County Civil Court
   CV-703301-12/BX                          Bronx County Civil Court
   CV-019507-14/NA                          Nassau County District Court - 1st District
   CV-059545-11/BX                          Bronx County Civil Court
   CV-059547-11/BX                          Bronx County Civil Court
   CV-059551-11/BX                          Bronx County Civil Court
   CV-059556-11/BX                          Bronx County Civil Court
   CV-726601-12/BX                          Bronx County Civil Court
   CV-701136-14/BX                          Bronx County Civil Court
   CV-701138-14/BX                          Bronx County Civil Court
   CV-701139-14/BX                          Bronx County Civil Court
   CV-701208-14/BX                          Bronx County Civil Court
   CV-717818-14/BX                          Bronx County Civil Court
   CV-709230-15/BX                          Bronx County Civil Court
   CV-709232-15/BX                          Bronx County Civil Court
   CV-713059-15/BX                          Bronx County Civil Court
   CV-713061-15/BX                          Bronx County Civil Court
   CV-713062-15/BX                          Bronx County Civil Court




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                  Exhibit A - Pending Matters Between Harvey FCPTA and Allstate




   Index Number        Next Date            Venue
   CV-713063-15/BX                          Bronx County Civil Court
   CV-713064-15/BX                          Bronx County Civil Court
   CV-713065-15/BX                          Bronx County Civil Court
   CV-713066-15/BX                          Bronx County Civil Court
   CV-713067-15/BX                          Bronx County Civil Court
   CV-713068-15/BX                          Bronx County Civil Court
   CV-713069-15/BX                          Bronx County Civil Court
   CV-713070-15/BX                          Bronx County Civil Court
   CV-713082-15/BX                          Bronx County Civil Court
   CV-713083-15/BX                          Bronx County Civil Court
   CV-713084-15/BX                          Bronx County Civil Court
   CV-713085-15/BX                          Bronx County Civil Court
   CV-713086-15/BX                          Bronx County Civil Court
   CV-713131-15/BX                          Bronx County Civil Court
   CV-714718-15/BX                          Bronx County Civil Court
   CV-714719-15/BX                          Bronx County Civil Court
   CV-714720-15/BX                          Bronx County Civil Court
   CV-019322-14/NA                          Nassau County District Court - 1st District
   CV-019342-14/NA                          Nassau County District Court - 1st District
   CV-019396-14/NA                          Nassau County District Court - 1st District
   CV-019521-14/NA                          Nassau County District Court - 1st District
   CV-005031-15/NA                          Nassau County District Court - 1st District
   CV-005045-15/NA                          Nassau County District Court - 1st District
   CV-006488-15/NA                          Nassau County District Court - 1st District
   CV-006908-15/NA                          Nassau County District Court - 1st District
   CV-006909-15/NA                          Nassau County District Court - 1st District
   CV-009533-15/NA                          Nassau County District Court - 1st District
   CV-009534-15/NA                          Nassau County District Court - 1st District
   CV-009535-15/NA                          Nassau County District Court - 1st District
   CV-009550-15/NA                          Nassau County District Court - 1st District
   CV-009563-15/NA                          Nassau County District Court - 1st District
   CV-009936-15/NA                          Nassau County District Court - 1st District




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                  Exhibit A - Pending Matters Between Harvey FCPTA and Allstate




   Index Number        Next Date            Venue
   CV-009938-15/NA                          Nassau County District Court - 1st District
   CV-200740-15/NA                          Nassau County District Court - 1st District
   CV-200740-15/NA                          Nassau County District Court - 1st District




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                    EXHIBIT B
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                          Exhibit B - Outstanding Claim Amounts




       Claim Number   Total Charged      Amount Committed         Date Received
      0177474467              $736.78                $0.00                3/25/2011
      0177474467              $133.96                $0.00                3/29/2011
      0171553746              $163.73                $0.00                5/13/2011
      0196057079              $254.65                $0.00                5/13/2011
      0196057079              $609.84              $488.56                5/13/2011
      0165374380              $267.92                $0.00                5/20/2011
      0195678461            $1,249.64              $813.38                5/20/2011
      0197061096            $1,071.68              $702.08                5/20/2011
      0177509964              $602.82              $383.76                5/23/2011
      0181411299              $254.65              $155.56                5/23/2011
      0181411299              $546.11              $254.60                5/23/2011
      0187061049               $80.38               $72.88                5/23/2011
      0197789308            $1,574.32              $965.58                5/23/2011
      3636037461              $163.73               $42.56                5/23/2011
      3636037461              $168.09              $107.94                5/23/2011
      0168918712              $602.82                $0.00                5/25/2011
      0179665939            $1,071.68                $0.00                5/25/2011
      0190318667            $1,004.70              $638.40                5/25/2011
      0196057079              $870.74              $553.28                5/26/2011
      0168700813              $468.86                $0.00                 6/1/2011
      0171553746              $870.74              $553.67                 6/1/2011
      0177474467              $803.76                $0.00                 6/2/2011
      0181411299              $669.80              $614.04                 6/6/2011
      3636037461              $127.58                $0.00                 6/6/2011
      3636037461              $866.59              $739.01                 6/6/2011
      0160306460              $133.96                $0.00                 6/8/2011
      0160306460              $133.96                $0.00                 6/8/2011
      0160306460              $133.96                $0.00                 6/8/2011
      0160306460              $468.86                $0.00                 6/8/2011
      0179521982              $870.74               $35.06                 6/8/2011
      0187465356              $803.76              $510.72                 6/8/2011
      0195678461              $602.82              $383.04                6/10/2011
      0196057079              $196.18               $76.18                6/10/2011
      0196057079              $191.19              $157.77                6/10/2011
      0181458282              $736.78                $0.00                6/13/2011
      3636037461              $201.69                $0.00                6/13/2011
      0171939135              $803.76                $0.00                6/14/2011
      0196057079              $191.19                $0.00                6/14/2011
      0196057079              $196.18                $0.00                6/14/2011
      0179665939               $80.38                $0.00                6/15/2011
      0181411299              $204.27              $105.18                6/15/2011
      0187061049               $60.00               $45.00                6/15/2011
      0187061049               $80.38               $72.88                6/15/2011




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                          Exhibit B - Outstanding Claim Amounts




       Claim Number   Total Charged      Amount Committed         Date Received
      0187061049               $80.38               $72.88                6/15/2011
      0196057079               $98.09               $38.09                6/15/2011
      0205203219              $118.47               $59.94                6/15/2011
      3636037461               $60.00                $0.00                6/15/2011
      3636037461               $60.00                $0.00                6/15/2011
      3636037461               $50.38                $0.00                6/16/2011
      3636037461              $903.03                $0.00                6/16/2011
      3636037461              $866.59                $0.00                6/16/2011
      3636037461              $789.82                $0.00                6/16/2011
      0181411299              $136.18               $70.12                6/17/2011
      0197061096            $1,004.70              $700.78                6/17/2011
      0167102771              $803.76              $669.80                6/20/2011
      0171088198              $669.80                $0.00                6/20/2011
      0177509964              $736.78              $508.64                6/20/2011
      0197789308              $532.83              $531.88                6/20/2011
      0197789308              $937.72              $595.84                6/20/2011
      0200103612              $500.55              $486.74                6/21/2011
      0200103612              $769.07              $755.26                6/21/2011
      0177474467              $736.78                $0.00                6/22/2011
      0202070132              $594.72              $371.28                6/22/2011
      0202070132              $930.89              $629.80                6/22/2011
      0204899271              $385.28                $0.00                6/22/2011
      0205203219            $1,071.68              $638.40                6/23/2011
      0205203219            $1,170.93              $727.16                6/23/2011
      0167625698              $468.86                $0.00                6/24/2011
      0196057079              $535.84              $340.48                6/24/2011
      0196057079              $803.26              $510.72                6/24/2011
      0181411299              $870.74              $838.82                6/27/2011
      0186604070              $610.00              $212.80                6/27/2011
      0168918712              $602.82                $0.00                6/29/2011
      0171553746              $602.82                $0.00                6/29/2011
      0187061049              $602.82              $383.04                6/29/2011
      0187061049              $602.82              $383.04                6/29/2011
      0190318667              $133.96               $85.12                6/29/2011
      0190318667            $1,339.60              $680.96                6/29/2011
      0195678461              $133.96               $42.56                 7/1/2011
      0195678461              $133.96               $42.56                 7/1/2011
      0195678461              $133.96               $85.12                 7/1/2011
      0195678461              $133.96               $85.12                 7/1/2011
      0195678461              $133.96               $85.12                 7/1/2011
      0195678461              $133.96               $85.12                 7/1/2011
      3636037461            $1,473.56              $516.61                 7/6/2011
      0203626964              $877.22              $625.10                 7/7/2011
      0204824940              $565.10              $369.74                 7/7/2011




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                          Exhibit B - Outstanding Claim Amounts




       Claim Number   Total Charged      Amount Committed         Date Received
      0204824940              $747.90               $468.16                7/7/2011
      0177474467              $163.73                 $0.00                7/8/2011
      0179665939              $163.73                 $0.00                7/8/2011
      0187061049              $163.73               $123.86                7/8/2011
      0205203219              $206.34               $151.20                7/8/2011
      0205203219              $687.51               $467.55                7/8/2011
      3636037461              $473.99               $194.29                7/8/2011
      3636037461            $1,205.64             $1,142.28                7/8/2011
      0171553746              $205.13                 $0.00               7/11/2011
      0181458282              $535.34                 $0.00               7/11/2011
      3636037461               $63.73                $26.76               7/11/2011
      3636037461              $133.96                $66.98               7/11/2011
      3636037461              $382.38               $219.82               7/11/2011
      0160306460              $401.88                 $0.00               7/13/2011
      0160306460              $401.88                 $0.00               7/13/2011
      0179521982              $803.76                 $0.00               7/13/2011
      0181411299              $460.45               $175.30               7/14/2011
      0205203219              $514.72               $462.22               7/14/2011
      3636037461              $128.09                $35.06               7/14/2011
      3636037461               $90.00                $67.50               7/14/2011
      0205246985              $689.17               $127.68               7/18/2011
      0205246985              $535.84               $297.92               7/18/2011
      0205246985              $635.11               $357.42               7/18/2011
      0205246985              $735.22               $382.33               7/18/2011
      0206763443              $204.55                 $0.00               7/18/2011
      0206763443               $70.12                $42.56               7/18/2011
      0206763443              $204.55               $103.74               7/18/2011
      0177509964              $718.80                $85.12               7/19/2011
      0205246985              $118.47                $64.50               7/19/2011
      0181411299              $602.82               $383.04               7/21/2011
      0196057079              $509.30                 $0.00               7/21/2011
      0171553746              $535.84                 $0.00               7/25/2011
      0171553746              $334.90                 $0.00               7/25/2011
      0187061049              $669.80               $620.96               7/25/2011
      0187061049              $803.76               $754.92               7/25/2011
      0205203219              $133.96                $92.10               7/25/2011
      0205203219              $133.96                $92.48               7/25/2011
      0205203219              $133.96                $92.48               7/25/2011
      0205203219              $133.96                $92.48               7/25/2011
      0205203219              $133.96                $92.48               7/25/2011
      0205203219              $133.96                $92.48               7/25/2011
      0205203219              $133.96                $92.48               7/25/2011
      0205203219              $133.96                $92.48               7/25/2011
      0205203219              $133.96                $92.48               7/25/2011




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                          Exhibit B - Outstanding Claim Amounts




       Claim Number   Total Charged      Amount Committed         Date Received
      0190318667              $803.76               $255.36               7/26/2011
      0195678461              $983.58                 $0.00               7/26/2011
      0202321253              $692.76               $510.72               7/27/2011
      0186028833            $1,808.46                 $0.00               7/29/2011
      0197789308              $669.80               $383.04               7/29/2011
      0197789308              $803.76               $510.72               7/29/2011
      0202321253            $1,551.36                 $0.00               7/29/2011
      0195678461              $133.96                $85.12                8/1/2011
      0195678461              $133.96                $85.12                8/1/2011
      0195678461              $133.96                $85.12                8/1/2011
      0195678461              $133.96                $85.12                8/1/2011
      0195678461              $133.96                $85.12                8/1/2011
      0195678461              $133.96                $85.12                8/1/2011
      0197061096              $736.78               $468.16                8/2/2011
      0177474467              $602.82                 $0.00                8/3/2011
      0196057079            $1,004.70               $638.40                8/3/2011
      0171553746              $205.13               $119.66                8/8/2011
      0187061049               $63.73                $31.47                8/8/2011
      0205203219              $191.19               $161.90                8/8/2011
      3636037461              $127.46                $95.76                8/8/2011
      3636037461              $127.46               $108.84                8/9/2011
      3636037461              $870.74               $828.50                8/9/2011
      0181411299            $1,338.33               $893.76               8/10/2011
      3636037461            $1,138.66             $1,082.48               8/10/2011
      0171553746              $669.80                 $0.00               8/16/2011
      0187061049              $669.80               $425.60               8/16/2011
      0187061049              $736.77               $468.16               8/16/2011
      0187061049              $736.78               $468.16               8/16/2011
      0204824940            $1,205.64               $766.08               8/16/2011
      0181411299              $535.84               $340.48               8/17/2011
      0181411299              $669.80               $425.60               8/17/2011
      0181458282              $602.82                 $0.00               8/17/2011
      0165374380            $1,004.70                 $0.00               8/18/2011
      0181013681              $535.84                 $0.00               8/18/2011
      0187465356              $334.90                 $0.00               8/18/2011
      0187465356              $937.72                $85.12               8/18/2011
      0167102771              $401.88                 $0.00               8/22/2011
      0179665939            $1,071.68                 $0.00               8/23/2011
      0171553746               $30.00                 $0.00               8/24/2011
      0181411299              $424.72               $280.48               8/24/2011
      0187061049               $90.00                $89.97               8/24/2011
      0195678461              $468.86                 $0.00               8/24/2011
      0195678461              $468.86               $297.92               8/24/2011
      0200103612              $267.92               $170.24               8/24/2011




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       Claim Number   Total Charged      Amount Committed         Date Received
      0200103612              $401.88              $255.36                8/24/2011
      0200103612              $401.88              $255.36                8/24/2011
      0200103612              $535.84              $340.48                8/24/2011
      0200103612              $535.84              $340.48                8/24/2011
      0200103612              $669.80              $383.04                8/24/2011
      0205203219               $76.18               $70.12                8/24/2011
      0205203219              $401.88              $255.36                8/24/2011
      0205203219              $669.80              $297.92                8/24/2011
      0205246985               $30.00               $13.94                8/24/2011
      0205246985              $535.84              $340.48                8/24/2011
      0205246985              $803.76              $510.72                8/24/2011
      3636037461               $98.09               $35.06                8/24/2011
      3636037461               $98.09               $35.06                8/24/2011
      0177474467              $736.78                $0.00                8/30/2011
      0196057079            $1,421.68              $918.82                8/30/2011
      0197061096            $1,004.70              $542.48                8/30/2011
      0202321253              $635.03              $468.16                8/30/2011
      0210335709              $214.85              $181.99                8/30/2011
      0171553746              $127.46                $0.00                 9/1/2011
      0181411299              $509.84              $340.48                 9/1/2011
      0196057079              $127.46                $0.00                 9/1/2011
      0205203219              $318.65                $0.00                 9/1/2011
      0179521982              $163.73                $0.00                 9/6/2011
      0200103612               $12.61                $0.00                 9/6/2011
      0200103612              $127.46               $92.57                 9/6/2011
      0200103612              $264.85              $114.58                 9/6/2011
      0212850796              $163.73               $88.69                 9/6/2011
      0212850796              $127.46              $105.18                 9/6/2011
      0190318667              $602.82                $0.00                 9/7/2011
      0203626964              $695.60              $221.63                 9/7/2011
      0203626964              $734.76              $501.89                 9/7/2011
      0210335709              $186.56              $165.50                 9/7/2011
      0197789308              $803.76                $0.00                9/12/2011
      0212850796              $100.00               $67.14                9/12/2011
      0181411299            $1,205.64              $723.52                9/16/2011
      0181013681              $736.78                $0.00                9/19/2011
      0187061049              $602.82               $42.56                9/19/2011
      0187061049              $602.82               $85.12                9/19/2011
      0187061049              $602.82              $255.36                9/19/2011
      0212850796            $1,438.87              $897.40                9/19/2011
      0187061049              $849.62              $553.28                9/20/2011
      0205246985            $1,205.64              $766.08                9/26/2011
      0179665939              $133.96                $0.00                9/27/2011
      0179665939              $133.96                $0.00                9/27/2011




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       Claim Number   Total Charged      Amount Committed         Date Received
      0179665939              $133.96                 $0.00               9/27/2011
      0179665939              $133.96                 $0.00               9/27/2011
      0179665939              $133.96                 $0.00               9/27/2011
      0179665939              $133.96                 $0.00               9/27/2011
      0200103612              $661.72               $425.60               9/27/2011
      0200103612            $1,138.66               $680.96               9/27/2011
      0205203219              $870.74                 $0.00               9/27/2011
      0210335709              $294.27               $225.18               9/27/2011
      0211683875              $320.96               $212.80               9/27/2011
      0211683875              $535.84               $340.48               9/27/2011
      0211683875              $727.74               $472.90               9/27/2011
      0212189914              $803.76               $468.16               9/27/2011
      0212189914              $903.03               $599.48               9/27/2011
      0181411299              $128.09                $35.06               9/28/2011
      0181411299              $136.18                $70.12               9/28/2011
      0187061049               $30.00                $29.99               9/28/2011
      0196057079               $68.09                 $0.00               9/28/2011
      0200103612               $80.38                $50.38               9/28/2011
      0200103612              $535.84               $297.92               9/28/2011
      0203626964            $1,004.02               $489.92               9/28/2011
      0204824940              $535.84               $340.48               9/28/2011
      0204824940              $669.80               $425.60               9/28/2011
      0205203219               $68.09                $35.06               9/28/2011
      0205246985               $68.09                $35.06               9/28/2011
      0218034569              $186.56               $120.50               9/28/2011
      0218034569              $186.56               $120.50               9/28/2011
      0210335709            $1,689.60             $1,174.18               9/29/2011
      0179665939              $127.46                 $0.00               9/30/2011
      0181411299              $417.16                $42.56               9/30/2011
      0196057079              $870.74                 $0.00               9/30/2011
      0196057079              $208.58               $161.90               9/30/2011
      0200103612              $127.46                $62.94               9/30/2011
      0200103612              $162.24                $76.14               9/30/2011
      0200103612              $162.24                $76.14               9/30/2011
      0200103612              $127.46               $105.18               9/30/2011
      0200103612              $162.24               $113.44               9/30/2011
      0202321253               $57.73                $42.56               9/30/2011
      0202321253              $115.46                $85.12               9/30/2011
      0202321253              $115.46                $85.12               9/30/2011
      0202321253              $115.46                $85.12               9/30/2011
      0202321253              $115.46                $97.12               9/30/2011
      0205203219               $81.12                $56.72               9/30/2011
      0205203219              $127.46               $105.18               9/30/2011
      0205203219              $144.85               $109.31               9/30/2011




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       Claim Number   Total Charged      Amount Committed         Date Received
      0205203219              $162.24              $118.38                9/30/2011
      0205246985              $127.46                $0.00                9/30/2011
      0143707602            $1,027.00                $0.00                10/3/2011
      0177474467              $602.82                $0.00                10/3/2011
      0203626964              $822.76               $42.56                10/3/2011
      0210335709              $967.61              $208.82                10/3/2011
      0212850796              $191.19              $127.62                10/3/2011
      0203626964              $950.52              $407.66                10/5/2011
      0203626964            $1,221.48              $564.34                10/5/2011
      0212850796            $1,438.87                $0.00                10/5/2011
      0211683875              $407.09                $0.00                10/6/2011
      0211683875              $407.09              $166.94                10/6/2011
      0218034569              $505.60              $322.60                10/6/2011
      0218034569              $505.60              $322.60                10/6/2011
      3635228756              $262.24              $180.58                10/6/2011
      0197061096              $870.74              $586.80                10/7/2011
      0212850796              $736.78              $468.16                10/7/2011
      0187061049              $858.14                $0.00              10/11/2011
      0181013681              $133.96                $0.00              10/17/2011
      0181013681              $133.96                $0.00              10/17/2011
      0181013681              $133.96                $0.00              10/17/2011
      0181013681               $66.98                $0.00              10/17/2011
      0202321253              $519.57              $377.09              10/17/2011
      0181411299              $995.71              $510.72              10/19/2011
      0179665939              $468.36                $0.00              10/24/2011
      0179521982              $937.72                $0.00              10/25/2011
      0179521982              $803.76                $0.00              10/25/2011
      0212850796              $267.92              $170.24              10/25/2011
      0212850796              $267.92              $170.24              10/25/2011
      0181411299               $68.09               $35.06              10/26/2011
      0196057079              $892.32                $0.00              10/26/2011
      0200103612              $401.88                $0.00              10/26/2011
      0200103612              $535.84              $127.68              10/26/2011
      0200103612              $383.90              $247.86              10/26/2011
      0200103612              $454.92              $297.92              10/26/2011
      0203626964              $118.12                $0.00              10/26/2011
      0203626964              $118.12                $0.00              10/26/2011
      0203626964              $118.12                $0.00              10/26/2011
      0203626964              $118.12                $0.00              10/26/2011
      0203626964              $118.12                $0.00              10/26/2011
      0203626964              $118.12                $0.00              10/26/2011
      0203626964              $118.12                $0.00              10/26/2011
      0204824940              $803.76              $510.72              10/26/2011
      0205203219              $133.96                $0.00              10/26/2011




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       Claim Number   Total Charged      Amount Committed         Date Received
      0205203219              $133.96                $0.00              10/26/2011
      0205203219              $133.96                $0.00              10/26/2011
      0205203219              $133.96                $0.00              10/26/2011
      0205203219              $133.96                $0.00              10/26/2011
      0205203219              $133.96                $0.00              10/26/2011
      0205203219              $133.96                $0.00              10/26/2011
      0205203219               $68.09               $35.06              10/26/2011
      0211683875              $267.92              $170.24              10/26/2011
      0211683875              $669.80              $425.60              10/26/2011
      0212189914              $387.91              $255.36              10/26/2011
      0212189914              $669.80              $425.60              10/26/2011
      0218034569              $340.45              $175.30              10/26/2011
      0218034569              $408.54              $210.36              10/26/2011
      0218034569              $748.99              $385.66              10/26/2011
      0217148501              $118.47               $50.38              10/27/2011
      0210335709            $1,071.68              $874.34              10/28/2011
      0210335709            $1,170.95              $899.74              10/28/2011
      0210335709               $66.98               $42.56              10/31/2011
      0210335709              $133.96               $85.12              10/31/2011
      0210335709              $133.96               $85.12              10/31/2011
      0210335709              $133.96               $85.12              10/31/2011
      0210335709              $133.96               $85.12              10/31/2011
      0210335709              $133.96               $85.12              10/31/2011
      0210335709              $133.96               $85.12              10/31/2011
      0210335709              $133.96               $85.12              10/31/2011
      0210335709              $133.96               $85.12              10/31/2011
      0210335709              $133.96               $85.12              10/31/2011
      0210335709              $133.96               $85.12              10/31/2011
      0196057079               $68.09                $0.00                11/1/2011
      0181458282              $535.84                $0.00                11/2/2011
      0196057079              $133.96                $0.00                11/2/2011
      0196057079              $133.96                $0.00                11/2/2011
      0196057079              $133.96                $0.00                11/2/2011
      0196057079              $133.96                $0.00                11/2/2011
      0196057079              $133.96                $0.00                11/2/2011
      0217148501              $369.96              $223.44                11/2/2011
      0217148501              $669.80              $383.04                11/2/2011
      0217148501              $874.35              $584.61                11/2/2011
      0218034569              $635.11              $397.32                11/2/2011
      0218034569              $635.11              $429.24                11/2/2011
      0218034569              $803.76              $489.44                11/2/2011
      0218034569              $937.72              $595.84                11/2/2011
      0218034569              $937.72              $595.84                11/2/2011
      0218034569              $937.72              $595.84                11/2/2011




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       Claim Number   Total Charged      Amount Committed         Date Received
      0218644912              $649.26               $303.30               11/2/2011
      0218644912              $535.84               $361.60               11/2/2011
      0218644912              $623.94               $383.04               11/2/2011
      0212189914            $1,687.62             $1,203.80               11/3/2011
      0212850796              $118.47               $107.94               11/3/2011
      0220538771              $588.88               $369.10               11/3/2011
      0220538771              $565.10               $369.74               11/3/2011
      0220538771              $822.22               $482.10               11/3/2011
      0181411299              $162.24                $47.28               11/7/2011
      0181411299               $81.12                $47.28               11/7/2011
      0181411299              $162.24                $94.56               11/7/2011
      0197061096              $602.82               $383.04               11/7/2011
      0211683875              $973.44               $848.97               11/7/2011
      0200103612              $973.44                 $0.00               11/8/2011
      0210335709            $1,216.80               $594.43               11/8/2011
      0218034569            $1,216.80               $680.64               11/8/2011
      0218034569            $1,216.80               $694.82               11/8/2011
      0179521982              $535.84                 $0.00               11/9/2011
      0179521982               $81.12                 $0.00               11/9/2011
      0205203219              $324.48               $226.88               11/9/2011
      0212189914               $81.12                $56.72               11/9/2011
      3635228756              $324.48                 $0.00               11/9/2011
      0200103612              $454.92                 $0.00             11/15/2011
      0200103612              $535.84               $340.48             11/15/2011
      0203626964              $531.54                 $0.00             11/15/2011
      0212189914            $1,004.70               $510.72             11/15/2011
      0212850796              $133.46                $85.12             11/15/2011
      0212850796              $133.96                $85.12             11/15/2011
      0212850796              $133.96                $85.12             11/15/2011
      0212850796              $133.96                $85.12             11/15/2011
      0212850796              $133.96                $85.12             11/15/2011
      0217148501              $461.20               $199.30             11/16/2011
      0219069572              $262.24               $152.44             11/16/2011
      0219069572              $535.84               $410.18             11/16/2011
      0219069572              $803.76               $560.49             11/16/2011
      0219069572            $3,929.26               $628.41             11/16/2011
      0220538771              $505.60               $350.74             11/16/2011
      0220969877              $133.96                $85.12             11/17/2011
      0220969877              $133.96                $85.12             11/17/2011
      0220969877              $133.96                $85.12             11/17/2011
      0220969877              $133.96                $85.12             11/17/2011
      0220969877              $133.26                $85.12             11/17/2011
      0220969877              $133.96               $106.24             11/17/2011
      0220969877              $519.24               $306.06             11/17/2011




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       Claim Number   Total Charged      Amount Committed         Date Received
      0212850796            $1,054.56              $553.02              11/18/2011
      0223947086              $100.00               $67.14              11/18/2011
      0223947086              $343.36              $209.16              11/18/2011
      0181411299               $66.98               $42.56              11/21/2011
      0181411299              $133.96               $85.12              11/21/2011
      0181411299              $133.96               $85.12              11/21/2011
      0181411299              $133.96               $85.12              11/21/2011
      0181411299              $133.96               $85.12              11/21/2011
      0181411299              $133.96               $85.12              11/21/2011
      0181411299              $133.96               $85.12              11/21/2011
      0181411299              $133.96               $85.12              11/21/2011
      0203626964            $1,135.68                $0.00              11/21/2011
      0143707602            $1,084.56                $0.00              11/22/2011
      0204824940              $401.88              $255.36              11/22/2011
      0204824940              $669.80              $594.56              11/22/2011
      0205203219              $602.82                $0.00              11/22/2011
      0213205727              $100.00               $67.14              11/22/2011
      0179665939              $535.84                $0.00              11/25/2011
      0211683875            $1,272.62              $808.64              11/25/2011
      0213205727              $100.00                $0.00              11/25/2011
      0213205727              $100.00                $0.00              11/25/2011
      0219138187              $343.36              $209.16              11/25/2011
      0210335709            $1,205.64              $766.08              11/28/2011
      0181411299              $481.25              $458.81                12/1/2011
      0196057079              $181.32                $0.00                12/1/2011
      0200103612              $324.48                $0.00                12/2/2011
      0205203219               $68.09                $0.00                12/2/2011
      0205203219              $243.36              $170.16                12/2/2011
      0210335709              $892.32              $456.07                12/2/2011
      0212189914               $81.12                $0.00                12/2/2011
      0218034569              $973.44              $538.84                12/2/2011
      0218034569              $892.32              $623.92                12/2/2011
      0218034569            $1,540.54              $978.88                12/2/2011
      3635228756              $324.48              $226.88                12/2/2011
      0187061049            $1,272.62                $0.00                12/5/2011
      0187061049            $1,272.62                $0.00                12/5/2011
      0187061049            $1,339.60                $0.00                12/5/2011
      0196057079              $401.88                $0.00                12/5/2011
      0196057079              $468.86                $0.00                12/5/2011
      0203626964              $505.68              $139.96                12/5/2011
      0211683875              $162.24              $118.38                12/5/2011
      0211683875              $162.24              $118.38                12/5/2011
      0211683875              $162.24              $118.38                12/5/2011
      0211683875              $162.24              $118.38                12/5/2011




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       Claim Number   Total Charged      Amount Committed         Date Received
      0212850796               $81.12                $56.72               12/5/2011
      0217148501            $1,071.68               $680.96               12/5/2011
      0218034569              $105.66                $51.23               12/5/2011
      0218034569              $136.18                $70.12               12/5/2011
      0218034569              $126.18                $70.12               12/5/2011
      0218034569              $160.80                $83.57               12/5/2011
      0218034569              $136.18                $85.12               12/5/2011
      0218034569              $153.75                $85.12               12/5/2011
      0218034569              $171.32               $102.46               12/5/2011
      0218034569              $990.07               $571.41               12/5/2011
      0218034569            $1,473.56               $936.32               12/5/2011
      0219069572               $66.98                $42.56               12/5/2011
      0219069572              $133.96                $50.30               12/5/2011
      0219069572              $133.96                $85.12               12/5/2011
      0219069572              $133.96                $85.12               12/5/2011
      0219069572              $133.96                $85.12               12/5/2011
      0219069572              $133.96                $85.12               12/5/2011
      0220538771              $162.24                $85.12               12/5/2011
      0220538771              $648.96               $340.48               12/5/2011
      0223947086              $162.24                 $0.00               12/5/2011
      0223947086              $413.03               $395.26               12/5/2011
      0181411299              $324.48                 $0.00               12/6/2011
      0181411299              $162.24                $56.72               12/6/2011
      0181411299              $162.24               $113.44               12/6/2011
      0181411299              $163.24               $113.44               12/6/2011
      0212189914              $588.88               $372.24               12/6/2011
      0218644912              $535.84               $340.48               12/6/2011
      0218644912              $602.82               $383.04               12/6/2011
      0220538771              $267.92               $170.24               12/6/2011
      0220538771            $1,339.60               $851.20               12/6/2011
      0213205727              $131.42               $118.15               12/7/2011
      0219069572              $146.04                $61.60               12/7/2011
      0220969877              $146.04               $146.03               12/7/2011
      0223649112              $588.96               $415.69               12/7/2011
      0223649112              $890.08               $587.55               12/7/2011
      0223649112            $1,208.82               $688.37               12/7/2011
      0223933201              $608.68               $441.49               12/7/2011
      0200103612              $468.86                 $0.00               12/8/2011
      0212850796              $736.78               $468.16               12/8/2011
      0223933201               $81.12                $56.72               12/8/2011
      Z6091065-021          $2,592.80              $659.52                12/8/2011
      0223649112              $891.86               $433.80             12/12/2011
      0223649112            $2,247.75             $1,675.42             12/12/2011
      0223947086            $1,438.87             $1,009.44             12/12/2011




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       Claim Number   Total Charged      Amount Committed         Date Received
      0224044610            $1,237.93              $738.74              12/12/2011
      0218654093              $535.84              $397.04              12/13/2011
      0218654093            $1,071.68              $907.52              12/13/2011
      0219138187               $81.12               $56.72              12/13/2011
      0223933201              $535.84              $494.76              12/13/2011
      0223933201            $1,036.99              $950.92              12/13/2011
      0200103612              $162.24                $0.00              12/14/2011
      0200103612              $162.24                $0.00              12/14/2011
      0200103612              $162.24                $0.00              12/14/2011
      0205203219              $162.24              $113.44              12/14/2011
      0205203219              $162.24              $113.44              12/14/2011
      0219138187              $535.84              $340.48              12/16/2011
      0219138187              $565.10              $369.74              12/16/2011
      0219138187              $623.94              $383.04              12/16/2011
      0203626964              $478.30              $244.40              12/20/2011
      0203626964              $811.20              $567.20              12/20/2011
      0202321253              $577.30                $0.00              12/21/2011
      0219069572              $870.74              $553.28              12/22/2011
      3635228756              $241.12                $0.00              12/26/2011
      0143707602              $730.08              $510.48              12/27/2011
      0211683875              $803.76              $510.72              12/27/2011
      0220969877            $1,004.70              $638.40              12/27/2011
      0143707602            $1,287.91                $0.00              12/28/2011
      0217148501              $794.64              $417.88              12/28/2011
      0219138187              $128.47               $80.37              12/28/2011
      0222485278            $1,071.68              $680.96              12/28/2011
      0222485278            $1,304.91              $827.94              12/28/2011
      0225520865              $937.72              $595.84              12/28/2011
      0225520865            $1,036.99              $642.04              12/28/2011
      Z6091065-021            $433.96               $85.12              12/28/2011
      0219138187              $602.82              $361.92              12/29/2011
      0179521982              $803.76                $0.00              12/30/2011
      0196057079              $736.78                $0.00              12/30/2011
      0204824940              $751.20              $553.83              12/30/2011
      0204824940              $890.08              $637.92              12/30/2011
      0213205727              $423.00              $255.36              12/30/2011
      0213205727              $535.84              $340.48              12/30/2011
      0213205727              $565.10              $341.12              12/30/2011
      0220538771              $535.84              $340.48              12/30/2011
      0220538771              $736.78              $425.60              12/30/2011
      0220538771              $892.32              $623.92              12/30/2011
      0223649112            $1,612.64              $425.60              12/30/2011
      0223649112              $690.92              $425.60              12/30/2011
      0220567150            $1,089.52              $831.63                 1/3/2012




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       Claim Number   Total Charged      Amount Committed         Date Received
      0230462368            $1,639.81             $1,163.48                1/3/2012
      0181411299              $720.38                 $0.00                1/5/2012
      0205203219              $736.78                 $0.00                1/5/2012
      0213205727              $546.63               $505.35                1/5/2012
      0217148501              $870.74               $553.28                1/5/2012
      0218034569              $334.90               $212.80                1/5/2012
      0218034569              $669.80               $425.60                1/5/2012
      0218034569            $1,151.70               $468.16                1/5/2012
      0218034569              $989.79               $510.72                1/5/2012
      0218034569              $937.72               $532.00                1/5/2012
      0218034569            $1,339.60               $808.64                1/5/2012
      0222485278              $646.11               $363.23                1/5/2012
      0222485278            $1,009.93               $558.07                1/5/2012
      0223649112            $1,069.79               $666.56                1/5/2012
      0223933201              $720.38                 $0.00                1/5/2012
      0223947086              $505.59               $407.59                1/5/2012
      0225520865              $212.46               $149.25                1/5/2012
      0227497236              $757.01               $505.73                1/5/2012
      0230462368              $359.79               $183.74                1/5/2012
      0143707602              $702.81                 $0.00                1/9/2012
      0203626964              $151.32                 $0.00                1/9/2012
      0203626964              $135.66                 $0.00                1/9/2012
      0203626964              $105.66                $48.88                1/9/2012
      0203626964              $151.32                $67.77                1/9/2012
      0203626964              $135.66                $78.87                1/9/2012
      0203626964              $128.61                $97.76                1/9/2012
      0212189914              $736.78               $468.16                1/9/2012
      0197061096            $1,138.66               $723.52               1/10/2012
      0205203219              $567.84               $341.09               1/10/2012
      0218644912              $401.88               $255.36               1/10/2012
      0218644912              $669.80               $425.60               1/10/2012
      0218654093              $535.84               $340.48               1/10/2012
      0218654093            $1,231.88             $1,062.00               1/10/2012
      0224044610              $736.78               $425.60               1/10/2012
      0143707602              $405.60                 $0.00               1/12/2012
      0181411299              $648.96                 $0.00               1/12/2012
      0181411299            $1,406.58                 $0.00               1/12/2012
      0200103612              $486.72                 $0.00               1/12/2012
      0204824940              $405.60               $283.60               1/12/2012
      0205246985               $81.12                 $0.00               1/12/2012
      0210335709              $486.72                 $0.00               1/12/2012
      0211683875               $81.12                $56.72               1/12/2012
      0211683875              $162.24               $118.38               1/12/2012
      0211683875              $162.24               $118.38               1/12/2012




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       Claim Number   Total Charged      Amount Committed         Date Received
      0212850796              $870.74              $553.28                1/12/2012
      0213205727              $811.20              $436.44                1/12/2012
      0217148501              $577.92              $150.88                1/12/2012
      0217148501              $401.88              $255.36                1/12/2012
      0218034569            $1,135.68              $581.38                1/12/2012
      0218034569            $1,135.68              $623.92                1/12/2012
      0219069572              $669.80              $424.25                1/12/2012
      0219138187              $162.24               $76.14                1/12/2012
      0220538771              $486.72              $340.32                1/12/2012
      0222485278            $1,641.28              $889.80                1/12/2012
      0223649112            $1,216.80              $709.00                1/12/2012
      0223947086              $648.96              $340.32                1/12/2012
      0223947086            $1,473.56              $871.26                1/12/2012
      0225520865              $262.24              $138.25                1/12/2012
      0227497236              $343.36              $209.16                1/12/2012
      0228817805              $262.24              $152.43                1/12/2012
      0230462368              $830.08              $418.93                1/12/2012
      0200103612            $1,138.66                $0.00                1/17/2012
      0200103612              $669.80                $0.00                1/17/2012
      0212189914              $401.88              $255.36                1/17/2012
      0223933201              $535.84              $482.26                1/17/2012
      0225520865              $803.76              $500.08                1/17/2012
      0230462368              $468.86              $297.92                1/17/2012
      0204824940              $803.76              $170.24                1/19/2012
      0204824940              $803.76              $468.16                1/19/2012
      0213628571              $181.12               $95.72                1/20/2012
      0219069572              $162.24              $104.81                1/20/2012
      0219069572              $162.24              $118.38                1/20/2012
      0219069572              $162.24              $118.38                1/20/2012
      0219069572              $162.24              $118.38                1/20/2012
      0219069572              $162.24              $118.38                1/20/2012
      0219069572              $162.24              $129.17                1/20/2012
      0223649112            $1,272.62              $755.44                1/23/2012
      0227497236              $556.96              $354.42                1/23/2012
      0227497236              $669.80              $446.72                1/23/2012
      0227497236              $699.06              $454.86                1/23/2012
      0143707602              $486.72              $321.67                1/25/2012
      0211683875            $1,138.66              $680.96                1/25/2012
      0213205727            $1,004.70              $521.36                1/25/2012
      0218034569              $937.72              $117.04                1/25/2012
      0218034569            $1,071.68              $148.96                1/25/2012
      0219138187            $1,071.68              $595.84                1/25/2012
      0220969877            $1,071.68              $680.96                1/25/2012
      0167102771              $137.58                $0.00                1/27/2012




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       Claim Number   Total Charged      Amount Committed         Date Received
      0167102771              $140.24                $0.00                1/27/2012
      0167102771              $124.92                $0.00                1/27/2012
      0167102771              $124.92                $0.00                1/27/2012
      0167102771               $30.54                $0.00                1/27/2012
      0218644912              $862.25              $468.16                1/27/2012
      0196057079              $669.80                $0.00                1/30/2012
      0203626964              $590.60                $0.00                1/30/2012
      0203626964              $486.72              $340.32                1/30/2012
      0220567150              $461.84              $340.48                1/30/2012
      0212189914              $535.84              $340.48                1/31/2012
      0222485278              $535.84              $266.00                1/31/2012
      0222485278              $811.20              $453.76                1/31/2012
      0222485278              $803.76              $510.72                1/31/2012
      0205203219              $669.80                $0.00                 2/1/2012
      0213628571              $274.65              $155.56                 2/1/2012
      0217148501              $602.82              $383.04                 2/1/2012
      0219069572              $730.08              $510.48                 2/1/2012
      0200103612              $567.84                $0.00                 2/3/2012
      0203626964               $27.57               $10.00                 2/3/2012
      0203626964              $128.61              $107.76                 2/3/2012
      0205203219               $78.09                $0.00                 2/3/2012
      0213205727              $156.18              $140.10                 2/3/2012
      0218034569              $468.54              $255.36                 2/3/2012
      0218034569              $628.54              $255.36                 2/3/2012
      0219069572               $78.09               $75.05                 2/3/2012
      0220538771              $162.24               $56.72                 2/3/2012
      0220538771              $133.96               $64.00                 2/3/2012
      0220538771              $133.96               $85.12                 2/3/2012
      0220538771              $133.96               $85.12                 2/3/2012
      0220538771              $133.96               $85.12                 2/3/2012
      0220538771              $133.96               $85.12                 2/3/2012
      0220538771              $133.96               $85.12                 2/3/2012
      0220538771              $162.24              $113.44                 2/3/2012
      0220538771              $162.24              $113.44                 2/3/2012
      0220538771              $162.24              $113.44                 2/3/2012
      0220538771              $200.94              $127.68                 2/3/2012
      0220969877               $78.09               $75.05                 2/3/2012
      0222485278               $81.12               $56.72                 2/3/2012
      0222485278              $390.45               $94.45                 2/3/2012
      0223649112              $118.09               $35.06                 2/3/2012
      0223649112              $898.99              $385.66                 2/3/2012
      0223933201              $133.96                $0.00                 2/3/2012
      0223933201              $133.96                $0.00                 2/3/2012
      0223933201              $133.96                $0.00                 2/3/2012




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       Claim Number   Total Charged      Amount Committed         Date Received
      0223933201               $66.98                $0.00                 2/3/2012
      0223933201              $162.24                $0.00                 2/3/2012
      0223933201              $162.24                $0.00                 2/3/2012
      0223933201              $162.24                $0.00                 2/3/2012
      0223933201              $162.24                $0.00                 2/3/2012
      0223933201               $81.12                $0.00                 2/3/2012
      0223933201               $78.09               $57.56                 2/3/2012
      0223933201              $133.96              $117.67                 2/3/2012
      0223933201              $133.96              $127.36                 2/3/2012
      0223933201              $133.96              $127.36                 2/3/2012
      0223947086               $78.09               $75.05                 2/3/2012
      0223947086              $162.24              $113.44                 2/3/2012
      0223947086              $162.24              $113.44                 2/3/2012
      0225520865               $81.12               $56.72                 2/3/2012
      0225520865              $324.16               $75.56                 2/3/2012
      0227497236              $615.72              $591.40                 2/3/2012
      0228817805              $284.65              $230.47                 2/3/2012
      0228817805              $618.96              $439.84                 2/3/2012
      0230462368              $405.60              $246.30                 2/3/2012
      0230462368              $312.36              $300.20                 2/3/2012
      0219069572              $535.84                $0.00                 2/7/2012
      0225520865              $736.78              $457.52                 2/7/2012
      0181411299              $648.96                $0.00                2/13/2012
      0212189914              $313.90              $127.68                2/13/2012
      0218654093              $401.88              $255.36                2/13/2012
      0218654093              $466.23              $297.92                2/13/2012
      3636044079               $78.09               $70.59                2/13/2012
      0196057079            $1,054.56                $0.00                2/14/2012
      0213628571               $78.09               $35.06                2/14/2012
      0213628571            $1,234.90              $780.34                2/14/2012
      0218034569              $274.27              $127.68                2/14/2012
      0220969877              $401.88              $212.80                2/14/2012
      0222485278              $156.18               $70.12                2/14/2012
      0223649112              $430.45               $59.98                2/14/2012
      0223649112              $428.54              $263.29                2/14/2012
      0223947086              $937.72              $553.28                2/14/2012
      0227497236              $234.27              $225.15                2/14/2012
      0228817805              $302.98              $180.88                2/14/2012
      0228817805            $1,405.30              $514.23                2/14/2012
      0230462368            $1,205.64              $766.08                2/14/2012
      3636044079              $128.47              $120.97                2/14/2012
      3636044079              $241.12              $133.79                2/14/2012
      0200103612              $535.84                $0.00                2/15/2012
      0200103612              $468.86                $0.00                2/15/2012




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       Claim Number   Total Charged      Amount Committed         Date Received
      0205203219              $405.60              $283.60                2/15/2012
      0211683875              $567.84              $355.14                2/15/2012
      0213205727              $243.36              $113.44                2/15/2012
      0213628571              $486.72              $228.42                2/15/2012
      0218034569              $892.32                $0.00                2/15/2012
      0218034569              $892.32              $113.44                2/15/2012
      0219138187               $81.12               $59.19                2/15/2012
      0223649112              $892.32              $567.20                2/15/2012
      0224044610              $736.78              $468.16                2/15/2012
      3636044079              $567.84              $411.86                2/15/2012
      0143707602              $405.60              $283.60                2/16/2012
      0225520865              $567.84              $354.50                2/16/2012
      0204824940              $669.80                $0.00                2/20/2012
      0217148501              $577.92              $170.16                2/20/2012
      0227497236              $133.96                $0.00                2/20/2012
      0227497236              $133.96                $0.00                2/20/2012
      0227497236              $133.96                $0.00                2/20/2012
      0227497236               $66.98                $0.00                2/20/2012
      0227497236              $162.24               $56.72                2/20/2012
      0227497236               $81.12               $56.72                2/20/2012
      0227497236              $162.24               $76.14                2/20/2012
      0227497236              $133.96               $77.62                2/20/2012
      0227497236              $133.96               $77.62                2/20/2012
      0227497236              $133.96               $77.62                2/20/2012
      0227497236              $133.96               $84.37                2/20/2012
      0227497236              $162.24               $94.79                2/20/2012
      0227497236              $162.24               $94.79                2/20/2012
      0227497236              $162.24              $113.44                2/20/2012
      0227497236              $162.24              $113.44                2/20/2012
      0227497236              $162.24              $113.44                2/20/2012
      0227497236              $162.24              $113.44                2/20/2012
      0230462368              $648.96              $341.86                2/20/2012
      3635582426              $375.17                $0.00                2/20/2012
      0143707602              $118.09                $0.00                2/21/2012
      0143707602              $116.18                $0.00                2/21/2012
      0143707602              $118.09                $0.00                2/21/2012
      0143707602              $116.18                $0.00                2/21/2012
      0143707602              $118.09                $0.00                2/21/2012
      0143707602              $136.18                $0.00                2/21/2012
      0181411299              $405.60                $0.00                2/21/2012
      0204824940               $81.12               $56.72                2/21/2012
      0204824940              $162.24              $113.44                2/21/2012
      0204824940              $162.24              $113.44                2/21/2012
      0204824940              $162.24              $113.44                2/21/2012




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       Claim Number   Total Charged      Amount Committed         Date Received
      0204824940              $162.24              $113.44                2/21/2012
      0211683875              $324.48              $236.76                2/21/2012
      0211683875              $803.76              $510.72                2/21/2012
      0218034569            $1,071.68                $0.00                2/21/2012
      0218034569            $1,071.68                $0.00                2/21/2012
      0220567150              $750.49              $553.28                2/21/2012
      0223649112            $1,607.52              $946.96                2/21/2012
      0223947086              $162.24              $113.44                2/21/2012
      0223947086              $162.24              $113.44                2/21/2012
      0223947086              $162.24              $118.38                2/21/2012
      0205203219              $318.65                $0.00                2/22/2012
      0227344958              $699.06              $454.86                2/22/2012
      0227344958              $891.86              $553.28                2/22/2012
      0230720815            $1,438.87              $939.96                2/22/2012
      0196057079              $870.74                $0.00                2/24/2012
      0228817805              $567.84              $378.39                2/24/2012
      0213628571              $274.27              $105.18                2/27/2012
      0232875146              $233.23              $144.62                2/27/2012
      0223933201              $116.18              $116.17                2/28/2012
      0223933201              $116.18              $116.17                2/28/2012
      0223933201              $118.09              $118.07                2/28/2012
      0223933201              $118.09              $118.07                2/28/2012
      0223933201              $118.09              $118.07                2/28/2012
      0223933201              $133.75              $133.74                2/28/2012
      0179665939              $291.19                $0.00                2/29/2012
      0179665939               $80.38                $0.00                2/29/2012
      0179665939           $10,275.17                $0.00                2/29/2012
      0202321253              $692.76                $0.00                2/29/2012
      0203626964              $730.08              $511.04                2/29/2012
      0205203219              $602.82                $0.00                2/29/2012
      0205203219              $602.82                $0.00                2/29/2012
      0213628571              $648.96                $0.00                2/29/2012
      0217148501              $803.76                $0.00                2/29/2012
      0217148501              $803.76              $468.16                2/29/2012
      0218034569              $648.96                $0.00                2/29/2012
      0218034569              $730.08                $0.00                2/29/2012
      0219069572              $730.08              $512.95                2/29/2012
      0219069572              $620.80              $530.88                2/29/2012
      0220567150              $648.96              $344.33                2/29/2012
      0222485278              $162.24              $113.44                2/29/2012
      0222485278              $162.24              $113.44                2/29/2012
      0222485278              $162.24              $113.44                2/29/2012
      0222485278              $162.24              $113.44                2/29/2012
      0222485278              $162.24              $113.44                2/29/2012




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       Claim Number   Total Charged      Amount Committed         Date Received
      0222485278              $669.80               $319.20               2/29/2012
      0222485278              $736.78               $404.32               2/29/2012
      0223947086            $1,499.80             $1,253.36               2/29/2012
      0225520865               $81.12                $56.72               2/29/2012
      0225520865              $162.24               $113.44               2/29/2012
      0225520865              $162.24               $113.44               2/29/2012
      0225520865              $162.24               $113.44               2/29/2012
      0205203219              $648.96               $453.76                3/2/2012
      0220538771              $937.72               $764.80                3/2/2012
      0224044610              $602.82               $383.04                3/2/2012
      0143707602              $567.84               $397.04                3/5/2012
      0203626964              $472.48                 $0.00                3/5/2012
      0204824940              $730.08               $510.48                3/5/2012
      0211683875              $324.48               $170.24                3/5/2012
      0213205727              $648.96                 $0.00                3/5/2012
      0213205727              $736.78                 $0.00                3/5/2012
      0213205727              $803.76               $255.36                3/5/2012
      0220538771              $648.96                 $0.00                3/5/2012
      0222485278              $666.63               $175.30                3/5/2012
      0223649112              $736.78               $468.16                3/6/2012
      0225520865              $274.27                $48.51                3/6/2012
      0225520865            $1,488.66               $940.10                3/6/2012
      0218644912              $669.80                 $0.00                3/7/2012
      0223649112              $892.32               $467.94                3/7/2012
      0197061096              $669.80                 $0.00               3/12/2012
      0212189914              $892.32               $343.60               3/12/2012
      0220969877              $400.98                 $0.00               3/12/2012
      0223933201              $535.84                 $0.00               3/12/2012
      0223947086              $811.20               $473.76               3/12/2012
      0227497236            $1,004.70               $478.80               3/12/2012
      0227497236              $811.20               $510.48               3/12/2012
      0228817805               $81.12                $56.72               3/12/2012
      0228817805              $162.24               $105.57               3/12/2012
      0228817805              $162.24               $113.44               3/12/2012
      0228817805              $162.24               $113.44               3/12/2012
      0228817805              $937.72               $595.84               3/12/2012
      0230462368              $892.32               $634.17               3/12/2012
      0230462368            $1,071.68               $680.96               3/12/2012
      0230462368            $1,071.68               $680.96               3/12/2012
      0218654093            $1,071.68               $680.96               3/13/2012
      0223649112              $938.99               $369.49               3/13/2012
      0204824940              $133.96                 $0.00               3/16/2012
      0204824940              $133.96                 $0.00               3/16/2012
      0204824940              $133.96                 $0.00               3/16/2012




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       Claim Number   Total Charged      Amount Committed         Date Received
      0204824940              $133.96                $0.00                3/16/2012
      0204824940              $133.96                $0.00                3/16/2012
      0213205727               $78.09               $35.06                3/16/2012
      0213205727              $105.66               $51.23                3/16/2012
      0213205727              $128.61               $53.95                3/16/2012
      0213628571              $133.96               $42.56                3/16/2012
      0213628571              $133.96               $85.12                3/16/2012
      0213628571              $133.96               $85.12                3/16/2012
      0213628571              $133.96               $85.12                3/16/2012
      0213628571              $133.96               $85.12                3/16/2012
      0213628571              $133.96               $85.12                3/16/2012
      0203626964              $312.36                $0.00                3/19/2012
      0213205727              $102.24                $0.00                3/19/2012
      0213205727              $162.24                $0.00                3/19/2012
      0213205727              $241.12                $0.00                3/19/2012
      0213205727              $162.24                $0.00                3/19/2012
      0213628571              $162.24                $0.00                3/19/2012
      0213628571              $162.24                $0.00                3/19/2012
      0213628571              $162.24               $85.12                3/19/2012
      0218034569              $354.27                $0.00                3/19/2012
      0218034569              $576.84                $0.00                3/19/2012
      0218034569              $567.84                $0.00                3/19/2012
      0218034569              $803.76                $0.00                3/19/2012
      0218034569              $803.76                $0.00                3/19/2012
      0218034569              $390.45               $85.12                3/19/2012
      0220538771              $162.24                $0.00                3/19/2012
      0220538771              $162.24                $0.00                3/19/2012
      0220538771              $162.24                $0.00                3/19/2012
      0220538771              $162.24                $0.00                3/19/2012
      0220538771               $66.98               $42.56                3/19/2012
      0220538771              $133.96               $85.12                3/19/2012
      0220538771              $133.96               $85.12                3/19/2012
      0220538771              $133.96               $85.12                3/19/2012
      0220538771              $133.96               $85.12                3/19/2012
      0220538771              $133.96               $85.12                3/19/2012
      0211683875              $162.24                $0.00                3/20/2012
      0211683875              $324.48                $0.00                3/20/2012
      0219069572              $486.72                $0.00                3/20/2012
      0219069572               $81.12                $0.00                3/20/2012
      0230462368              $312.36              $300.24                3/21/2012
      0234630895              $669.80              $361.92                3/22/2012
      0234630895            $1,162.57              $792.24                3/22/2012
      0211683875              $486.72                $0.00                3/23/2012
      0218654093              $535.84              $340.48                3/23/2012




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       Claim Number   Total Charged      Amount Committed         Date Received
      0220567150              $346.38              $255.36                3/23/2012
      0220567150              $519.57              $297.92                3/23/2012
      0223649112              $234.27              $105.18                3/23/2012
      0223649112              $648.96              $113.44                3/23/2012
      0223947086              $602.82                $0.00                3/23/2012
      0196057079              $602.82                $0.00                3/26/2012
      0220567150              $811.20              $504.24                3/26/2012
      0223649112            $1,071.68              $234.08                3/26/2012
      0224044610              $669.80              $425.60                3/26/2012
      0225520865              $468.54              $159.13                3/26/2012
      0227344958              $256.94              $250.88                3/26/2012
      0227497236              $468.54              $210.36                3/26/2012
      3636044079              $312.36              $152.36                3/26/2012
      3636044079            $1,216.80              $924.00                3/26/2012
      0222485278              $468.54                $0.00                3/27/2012
      0196057079              $678.96                $0.00                 4/2/2012
      0212189914              $669.80                $0.00                 4/2/2012
      0219069572              $567.84                $0.00                 4/2/2012
      0219069572              $736.78                $0.00                 4/2/2012
      0220567150              $405.60                $0.00                 4/2/2012
      0222485278              $486.72              $226.88                 4/2/2012
      0228817805              $870.74              $553.28                 4/2/2012
      0210335709              $669.80                $0.00                 4/3/2012
      0210335709              $669.80                $0.00                 4/3/2012
      0222485278              $133.96                $0.00                 4/3/2012
      0222485278              $133.96                $0.00                 4/3/2012
      0222485278              $133.96                $0.00                 4/3/2012
      0222485278              $133.96                $0.00                 4/3/2012
      0222485278              $133.96               $31.92                 4/3/2012
      0222485278              $133.96               $74.48                 4/3/2012
      0222485278              $133.96               $74.48                 4/3/2012
      0222485278              $133.96               $85.12                 4/3/2012
      0223649112              $390.45               $35.06                 4/3/2012
      0213205727              $133.96                $0.00                 4/6/2012
      0213205727              $133.96                $0.00                 4/6/2012
      0213205727              $133.96                $0.00                 4/6/2012
      0213205727              $133.96                $0.00                 4/6/2012
      0213205727               $66.98                $0.00                 4/6/2012
      0213205727               $27.57               $16.17                 4/6/2012
      0213205727              $105.66               $51.23                 4/6/2012
      0213205727              $128.61               $53.95                 4/6/2012
      0213205727              $128.61               $53.95                 4/6/2012
      0213628571              $669.80              $425.60                 4/6/2012
      0220538771              $537.84                $0.00                 4/6/2012




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       Claim Number   Total Charged      Amount Committed         Date Received
      0212850796              $730.08              $510.48                 4/9/2012
      0213628571              $243.36                $0.00                 4/9/2012
      0213628571               $27.57               $16.17                 4/9/2012
      0213628571              $105.66               $51.23                 4/9/2012
      0213628571              $128.61               $53.95                 4/9/2012
      0213628571              $128.61              $123.95                 4/9/2012
      0218034569              $234.27                $0.00                 4/9/2012
      0218034569              $253.75                $0.00                 4/9/2012
      0222485278              $390.45                $0.00                 4/9/2012
      0223947086              $602.82                $0.00                 4/9/2012
      0223947086              $811.20              $567.20                 4/9/2012
      0225520865              $937.72                $0.00                 4/9/2012
      0225520865            $1,054.56              $255.24                 4/9/2012
      0227497236              $486.72                $0.00                 4/9/2012
      0227497236               $78.09                $0.00                 4/9/2012
      0230462368              $736.78              $148.96                 4/9/2012
      0236605747              $256.94              $120.50                 4/9/2012
      0236605747              $284.65              $155.56                 4/9/2012
      0236605747              $362.74              $190.62                 4/9/2012
      0239701005              $390.45               $77.92                 4/9/2012
      0239701005              $390.45              $175.30                 4/9/2012
      0212850796            $1,272.62              $776.72                4/10/2012
      0219138187            $1,205.64                $0.00                4/10/2012
      0227344958            $1,339.60              $851.20                4/11/2012
      0227497236              $133.96                $0.00                4/11/2012
      0227497236              $133.96                $0.00                4/11/2012
      0227497236              $133.96                $0.00                4/11/2012
      0227497236              $133.96                $0.00                4/11/2012
      0227497236              $133.96                $0.00                4/11/2012
      0227497236              $133.96                $0.00                4/11/2012
      0227497236               $66.98                $0.00                4/11/2012
      0228817805               $81.12               $56.72                4/11/2012
      0228817805              $162.24              $113.44                4/11/2012
      0228817805              $162.24              $113.44                4/11/2012
      0228817805              $162.24              $113.44                4/11/2012
      0228817805              $162.24              $113.44                4/11/2012
      0218644912              $870.74                $0.00                4/12/2012
      0219138187            $9,945.60              $609.81                4/14/2012
      0224044610              $736.78              $425.60                4/14/2012
      0227344958            $1,154.56              $464.19                4/14/2012
      0230462368              $730.08              $113.44                4/14/2012
      0234630895              $435.60              $300.34                4/14/2012
      0234630895              $556.72              $362.58                4/14/2012
      0204824940              $730.08                $0.00                4/16/2012




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       Claim Number   Total Charged      Amount Committed         Date Received
      0205203219            $1,135.68              $794.08                4/16/2012
      0211683875           $89,232.00                $0.00                4/16/2012
      0211683875              $133.96                $0.00                4/16/2012
      0211683875              $133.96                $0.00                4/16/2012
      0211683875              $133.96                $0.00                4/16/2012
      0211683875              $133.96                $0.00                4/16/2012
      0211683875              $133.96                $0.00                4/16/2012
      0211683875              $133.96                $0.00                4/16/2012
      0211683875              $133.96                $0.00                4/16/2012
      0211683875               $66.98                $0.00                4/16/2012
      0211683875              $133.96               $85.12                4/16/2012
      0218654093              $133.96               $85.12                4/16/2012
      0218654093              $133.96               $85.12                4/16/2012
      0218654093              $133.96               $85.12                4/16/2012
      0218654093              $133.96               $85.12                4/16/2012
      0220538771               $21.12                $0.00                4/16/2012
      0220538771              $133.96               $85.12                4/16/2012
      0220538771              $133.96               $85.12                4/16/2012
      0220538771              $151.94              $106.24                4/16/2012
      0220538771              $133.96              $106.24                4/16/2012
      0220538771              $133.96              $127.36                4/16/2012
      0220538771              $942.84              $891.76                4/16/2012
      0223649112              $390.45                $0.00                4/16/2012
      0223649112              $700.08                $0.00                4/16/2012
      0223649112              $401.88                $0.00                4/16/2012
      0223649112              $803.76                $0.00                4/16/2012
      0228817805              $267.92              $127.68                4/16/2012
      0234630895              $535.84              $340.48                4/16/2012
      0234630895              $669.80              $383.04                4/16/2012
      0239701005              $346.38              $255.36                4/16/2012
      0236605747              $830.08              $549.48                4/17/2012
      0218034569              $811.20                $0.00                4/18/2012
      0218034569              $811.20                $0.00                4/18/2012
      0218034569              $669.80                $0.00                4/18/2012
      0218034569              $669.80                $0.00                4/18/2012
      0222485278              $708.96                $0.00                4/18/2012
      0236605747              $800.08              $532.74                4/18/2012
      0241095784            $1,235.68              $833.08                4/18/2012
      0203626964              $973.44              $680.64                4/23/2012
      0204824940              $405.60                $0.00                4/23/2012
      0204824940              $736.78                $0.00                4/23/2012
      0220567150              $692.76                $0.00                4/23/2012
      0220567150              $730.08              $493.74                4/23/2012
      0227344958              $669.80              $487.61                4/23/2012




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       Claim Number   Total Charged      Amount Committed         Date Received
      0230462368              $116.18                $0.00                4/23/2012
      0230462368              $118.09                $0.00                4/23/2012
      3636044079              $118.09              $103.09                4/23/2012
      3636044079              $116.18              $108.68                4/23/2012
      3636044079              $803.76              $480.72                4/23/2012
      0143707602              $312.36               $70.12                4/27/2012
      0222485278              $390.45                $0.00                4/27/2012
      0236605747              $234.27              $105.18                4/27/2012
      0236605747              $312.36              $140.24                4/27/2012
      0236605747              $385.41              $155.56                4/27/2012
      0241095784              $472.84              $120.50                4/27/2012
      0143707602              $811.20                $0.00                4/30/2012
      0143707602            $1,460.16              $794.08                4/30/2012
      0205203219              $937.72                $0.00                4/30/2012
      0219069572              $156.18                $0.00                4/30/2012
      0220969877              $803.76                $0.00                4/30/2012
      0236605747              $312.36              $140.24                4/30/2012
      0236605747            $1,073.44              $719.64                4/30/2012
      0213628571              $486.72                $0.00                 5/1/2012
      0241095784              $736.28              $383.04                 5/1/2012
      0241095784            $1,045.87              $599.48                 5/1/2012
      3636044079            $1,054.56              $795.92                 5/1/2012
      0233025329              $102.24               $64.59                 5/4/2012
      0233025329              $162.24              $113.44                 5/4/2012
      0233025329              $162.24              $126.69                 5/4/2012
      0233025329              $727.84              $484.89                 5/4/2012
      0236605747              $324.48              $226.88                 5/4/2012
      0236605747              $648.96              $467.01                 5/4/2012
      0218644912              $535.84                $0.00                 5/7/2012
      0227344958              $401.88              $364.26                 5/7/2012
      0203626964              $128.61                $0.00                 5/8/2012
      0203626964              $105.66                $0.00                 5/8/2012
      0203626964               $78.09                $0.00                 5/8/2012
      0212850796              $162.24              $113.44                 5/8/2012
      0212850796              $162.24              $113.44                 5/8/2012
      0212850796              $162.24              $113.44                 5/8/2012
      0212850796              $162.24              $113.44                 5/8/2012
      0213628571              $234.27              $105.18                 5/8/2012
      0218034569              $486.72                $0.00                 5/8/2012
      0218034569              $162.24                $0.00                 5/8/2012
      0218034569              $162.24                $0.00                 5/8/2012
      0218034569              $162.24                $0.00                 5/8/2012
      0218034569              $870.74                $0.00                 5/8/2012
      0219069572              $162.24                $0.00                 5/8/2012




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       Claim Number   Total Charged      Amount Committed         Date Received
      0219069572              $162.24                $0.00                 5/8/2012
      0219069572              $162.24                $0.00                 5/8/2012
      0219069572              $162.24                $0.00                 5/8/2012
      0219069572              $162.24                $0.00                 5/8/2012
      0220538771              $162.24                $0.00                 5/8/2012
      0220538771              $162.24                $0.00                 5/8/2012
      0220538771              $162.24                $0.00                 5/8/2012
      0220538771              $162.24                $0.00                 5/8/2012
      0220538771              $162.24                $0.00                 5/8/2012
      0220538771               $81.12                $0.00                 5/8/2012
      0220538771              $535.84              $255.36                 5/8/2012
      0222485278              $648.96                $0.00                 5/8/2012
      0225520865              $892.32                $0.00                 5/8/2012
      0225520865              $669.80                $0.00                 5/8/2012
      0227344958              $811.20                $0.00                 5/8/2012
      0230462368              $162.24                $0.00                 5/8/2012
      0230462368              $162.24                $0.00                 5/8/2012
      0230462368              $162.24                $0.00                 5/8/2012
      0230462368              $162.24                $0.00                 5/8/2012
      0233025329            $1,189.04              $963.98                 5/8/2012
      0236605747              $162.24              $113.44                 5/8/2012
      0236605747              $162.24              $113.44                 5/8/2012
      0236605747              $162.24              $113.44                 5/8/2012
      0236605747              $162.24              $113.44                 5/8/2012
      0236605747              $683.74              $361.76                 5/8/2012
      0236605747              $750.72              $393.68                 5/8/2012
      0236605747              $905.80              $414.96                 5/8/2012
      0236605747            $1,003.42              $465.50                 5/8/2012
      0236605747            $1,124.72              $595.68                 5/8/2012
      0236605747            $1,125.88              $625.30                 5/8/2012
      0236605747            $1,125.88              $656.86                 5/8/2012
      0236605747            $1,195.50              $739.32                 5/8/2012
      0212850796              $803.76              $468.16                 5/9/2012
      0218654093              $602.82                $0.00                 5/9/2012
      0219069572              $602.82                $0.00                 5/9/2012
      0222485278            $1,138.66                $0.00                 5/9/2012
      0211683875              $648.96                $0.00                5/11/2012
      0211683875              $468.86                $0.00                5/11/2012
      0213628571              $803.76              $439.54                5/11/2012
      0223649112              $234.27                $0.00                5/11/2012
      0241095784              $323.85                $0.00                5/11/2012
      0241095784              $636.21              $239.13                5/11/2012
      3636044079              $234.27                $0.00                5/11/2012
      0213628571              $405.60                $0.00                5/14/2012




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       Claim Number   Total Charged      Amount Committed         Date Received
      0220567150              $404.11                $0.00                5/14/2012
      0220567150              $730.08              $510.48                5/14/2012
      0223649112              $730.08                $0.00                5/14/2012
      0234630895              $760.08                $0.00                5/14/2012
      0234630895              $937.72              $595.84                5/14/2012
      0236605747              $162.24               $64.59                5/14/2012
      0236605747              $162.24              $105.57                5/14/2012
      0236605747              $162.24              $113.44                5/14/2012
      0236605747              $162.24              $113.44                5/14/2012
      0236605747              $183.36              $134.56                5/14/2012
      0236605747              $162.24              $139.94                5/14/2012
      0236605747              $162.24              $139.94                5/14/2012
      0236605747              $241.12              $144.57                5/14/2012
      0239701005            $1,135.68              $477.92                5/14/2012
      0239701005              $808.22              $608.45                5/14/2012
      0230462368              $405.60                $0.00                5/17/2012
      0236605747              $405.60              $283.51                5/17/2012
      0240086579              $683.74              $411.66                5/17/2012
      0240086579              $706.24              $454.86                5/17/2012
      0240086579              $911.30              $520.90                5/17/2012
      0220538771              $468.86              $297.92                5/21/2012
      0220969877              $669.80                $0.00                5/21/2012
      0224044610              $736.78                $0.00                5/21/2012
      3636044079              $162.24                $0.00                5/21/2012
      3636044079              $162.24               $69.97                5/21/2012
      3636044079              $162.24              $139.94                5/21/2012
      3636044079              $162.24              $139.94                5/21/2012
      0204824940              $486.72                $0.00                5/22/2012
      0204824940              $436.94                $0.00                5/22/2012
      0223649112              $133.96                $0.00                5/22/2012
      0223649112              $133.96                $0.00                5/22/2012
      0223649112              $133.96                $0.00                5/22/2012
      0223649112              $133.96                $0.00                5/22/2012
      0223649112              $133.96                $0.00                5/22/2012
      0223649112              $133.96                $0.00                5/22/2012
      0223649112              $133.96                $0.00                5/22/2012
      0223649112               $66.98                $0.00                5/22/2012
      0228817805              $669.80                $0.00                5/22/2012
      0228817805              $892.32              $669.42                5/22/2012
      3636044079              $736.78              $191.04                5/22/2012
      0218034569              $401.88                $0.00                5/23/2012
      0218034569              $468.86                $0.00                5/23/2012
      0213628571              $390.45              $175.30                5/25/2012
      0218034569              $973.44                $0.00                5/25/2012




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       Claim Number   Total Charged      Amount Committed         Date Received
      0223649112              $156.18                $0.00                5/25/2012
      0225520865              $128.61                $0.00                5/25/2012
      0225520865               $27.57                $0.00                5/25/2012
      0236605747              $543.74              $139.39                5/25/2012
      0236605747              $390.45              $175.30                5/25/2012
      0236605747            $1,280.54              $918.82                5/25/2012
      0241095784              $323.85              $149.27                5/25/2012
      3636044079              $156.18                $0.00                5/25/2012
      0196057079            $1,127.86                $0.00                5/29/2012
      0205203219              $637.88                $0.00                5/29/2012
      0219069572               $78.09               $75.06                5/29/2012
      0220538771              $162.24                $0.00                5/29/2012
      0220538771              $162.24                $0.00                5/29/2012
      0220538771              $162.24                $0.00                5/29/2012
      0220567150              $486.72              $340.32                5/29/2012
      0222485278              $468.54                $0.00                5/29/2012
      0223947086              $870.74                $0.00                5/29/2012
      0223947086              $973.44              $739.20                5/29/2012
      0227344958              $648.96                $0.00                5/29/2012
      0227344958              $468.86                $0.00                5/29/2012
      0233025329              $234.27              $105.18                5/29/2012
      0233025329              $567.84              $397.04                5/29/2012
      0233025329            $1,004.70              $638.40                5/29/2012
      0236605747              $803.76              $457.52                5/29/2012
      0241111368               $13.94                $0.00                5/30/2012
      0241111368              $133.96               $71.18                5/30/2012
      0241111368              $133.96               $85.12                5/30/2012
      0241111368              $133.96               $85.12                5/30/2012
      0241111368              $133.96               $85.12                5/30/2012
      0241111368              $133.96               $85.12                5/30/2012
      0241111368              $134.01               $85.12                5/30/2012
      0241111368              $133.96               $85.12                5/30/2012
      0241111368              $133.96               $85.12                5/30/2012
      0241111368              $133.96               $85.12                5/30/2012
      0241111368              $133.96               $85.12                5/30/2012
      0241111368              $112.84               $85.12                5/30/2012
      0241111368              $133.96               $99.06                5/30/2012
      0241111368              $133.96               $99.06                5/30/2012
      0241111368              $133.96               $99.06                5/30/2012
      0241111368              $170.40              $100.44                5/30/2012
      0241111368              $415.82              $255.36                5/30/2012
      0241111368            $1,376.04              $880.46                5/30/2012
      0211683875            $1,138.66                $0.00                5/31/2012
      0241111368              $535.84              $340.48                5/31/2012




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       Claim Number   Total Charged      Amount Committed         Date Received
      0241111368              $572.28              $390.86                5/31/2012
      0241111368              $683.74              $425.60                5/31/2012
      0218034569              $115.14                $0.00                 6/1/2012
      0230462368               $78.09                $0.00                 6/1/2012
      0233025329              $116.18                $0.00                 6/1/2012
      0233025329              $118.09                $0.00                 6/1/2012
      0233025329               $78.09               $35.06                 6/1/2012
      0236605747              $156.18               $70.12                 6/1/2012
      0236605747              $162.24              $113.44                 6/1/2012
      0236605747              $162.24              $113.44                 6/1/2012
      0236605747              $162.24              $113.44                 6/1/2012
      0236605747              $162.24              $113.44                 6/1/2012
      0236605747              $162.24              $113.44                 6/1/2012
      0241111368            $1,221.73                $0.00                 6/1/2012
      0241111368              $992.32              $521.12                 6/1/2012
      0241111368              $992.32              $521.12                 6/1/2012
      0241111368              $888.85              $569.17                 6/1/2012
      0241111368              $909.37              $588.06                 6/1/2012
      0143707602              $116.18                $0.00                 6/4/2012
      0143707602               $40.00                $0.00                 6/4/2012
      0236605747               $81.12               $56.72                 6/4/2012
      0236605747              $162.24              $113.44                 6/4/2012
      0236605747              $162.24              $113.44                 6/4/2012
      0236605747              $162.24              $113.44                 6/4/2012
      0236605747              $162.24              $113.44                 6/4/2012
      0236605747              $162.24              $113.44                 6/4/2012
      0239701005            $1,541.28              $494.74                 6/4/2012
      0241095784               $81.12               $46.20                 6/4/2012
      0241095784              $162.24               $92.40                 6/4/2012
      0241095784              $162.24               $92.40                 6/4/2012
      0241095784              $171.12               $92.40                 6/4/2012
      0241095784            $1,406.58              $893.76                 6/4/2012
      0236605747            $1,071.68              $532.00                 6/5/2012
      0236605747              $973.44              $564.64                 6/5/2012
      0239701005              $519.57              $341.39                 6/5/2012
      0241111368            $1,235.68              $648.74                 6/5/2012
      0243105186              $535.84              $521.90                 6/5/2012
      0243105186              $635.11              $621.17                 6/5/2012
      0244951786               $57.57               $16.17                 6/5/2012
      0244951786              $125.66               $51.23                 6/5/2012
      0244951786              $108.61               $53.95                 6/5/2012
      0244951786              $148.99              $104.33                 6/5/2012
      0222485278              $870.74                $0.00                 6/7/2012
      0230462368              $324.48                $0.00                 6/7/2012




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       Claim Number   Total Charged      Amount Committed         Date Received
      0239701005               $78.09               $35.06                 6/7/2012
      0219069572              $648.96                $0.00                 6/8/2012
      0219069572              $669.80                $0.00                 6/8/2012
      0222485278              $811.20                $0.00                 6/8/2012
      0225520865              $602.82                $0.00                 6/8/2012
      0211683875              $133.96                $0.00                6/11/2012
      0211683875              $133.96                $0.00                6/11/2012
      0211683875              $133.96                $0.00                6/11/2012
      0211683875              $133.96                $0.00                6/11/2012
      0213628571              $870.74              $553.28                6/11/2012
      0220538771              $162.24                $0.00                6/11/2012
      0220538771              $162.24                $0.00                6/11/2012
      0220538771              $162.24                $0.00                6/11/2012
      0220567150              $692.76                $0.00                6/11/2012
      0223649112              $116.18                $0.00                6/11/2012
      0223649112              $118.09                $0.00                6/11/2012
      0225520865              $648.96                $0.00                6/11/2012
      0228817805              $162.24              $113.44                6/11/2012
      0228817805              $162.24              $113.44                6/11/2012
      0228817805              $162.24              $113.44                6/11/2012
      0234630895               $81.12               $48.85                6/11/2012
      0234630895              $162.24               $97.70                6/11/2012
      0234630895              $162.24               $97.70                6/11/2012
      0234630895              $162.24               $97.70                6/11/2012
      0234630895              $162.24               $97.70                6/11/2012
      0234630895              $162.24              $105.57                6/11/2012
      0234630895              $162.24              $113.44                6/11/2012
      0234630895              $730.08              $510.48                6/11/2012
      0234630895              $870.74              $553.28                6/11/2012
      0236605747              $118.09                $0.00                6/11/2012
      0236605747              $116.18               $35.06                6/11/2012
      0211683875              $730.08                $0.00                6/12/2012
      0212850796              $803.76               $42.56                6/12/2012
      0212850796              $567.84              $113.44                6/12/2012
      0241095784              $340.86              $202.35                6/14/2012
      0241111368              $468.54              $293.28                6/14/2012
      0241111368              $468.54              $293.28                6/14/2012
      0241111368              $468.54              $293.28                6/14/2012
      0245313549               $10.00                $0.00                6/14/2012
      0245313549               $57.57               $23.67                6/14/2012
      0245313549              $108.61               $61.45                6/14/2012
      0245313549              $128.61               $61.45                6/14/2012
      0245313549              $125.66               $66.23                6/14/2012
      0245313549              $125.66               $66.23                6/14/2012




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       Claim Number   Total Charged      Amount Committed         Date Received
      0245313549              $105.66               $66.23                6/14/2012
      0245313549              $148.99               $90.71                6/14/2012
      0245313549              $148.99               $90.71                6/14/2012
      0143707602              $973.44              $677.15                6/15/2012
      0223947086              $401.88                $0.00                6/15/2012
      0223947086              $405.60              $283.60                6/15/2012
      0213628571              $892.32                $0.00                6/19/2012
      0223649112              $973.44                $0.00                6/19/2012
      0234630895              $232.24                $0.00                6/19/2012
      0245368345              $440.83              $225.68                6/19/2012
      0236605747              $803.76              $191.52                6/20/2012
      0236605747              $803.76              $425.60                6/20/2012
      0223649112              $133.96                $0.00                6/21/2012
      0223649112              $133.96                $0.00                6/21/2012
      0223649112              $133.96                $0.00                6/21/2012
      0223649112              $133.96                $0.00                6/21/2012
      0223649112              $133.96                $0.00                6/21/2012
      0223649112              $133.96                $0.00                6/21/2012
      0223649112              $133.96                $0.00                6/21/2012
      0236605747              $162.24                $0.00                6/21/2012
      0236605747              $162.24                $0.00                6/21/2012
      0236605747              $162.24               $99.26                6/21/2012
      0244951786              $102.24               $83.36                6/21/2012
      0244951786              $162.24              $116.75                6/21/2012
      0244951786              $162.24              $116.75                6/21/2012
      0244951786              $162.24              $124.48                6/21/2012
      0244951786              $432.30              $126.74                6/21/2012
      0244951786              $241.12              $144.57                6/21/2012
      0213628571              $312.36              $140.24                6/22/2012
      0220567150              $892.32                $0.00                6/22/2012
      0233025329            $1,004.00              $638.40                6/22/2012
      0241095784              $234.27              $105.18                6/22/2012
      0245313549              $312.36              $170.24                6/22/2012
      0245368345              $362.74              $190.62                6/22/2012
      0245368345              $920.08              $606.20                6/22/2012
      0245368345              $911.20              $606.20                6/22/2012
      0245466800              $830.08              $549.48                6/22/2012
      0245791082              $518.92              $468.48                6/22/2012
      0223649112              $156.18                $0.00                6/25/2012
      0233025329              $811.20              $496.37                6/25/2012
      0234630895              $669.80              $425.60                6/25/2012
      0236605747              $567.84              $113.44                6/25/2012
      0236605747            $1,004.70              $138.32                6/25/2012
      0239701005              $750.49              $425.60                6/25/2012




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       Claim Number   Total Charged      Amount Committed         Date Received
      0241111368              $811.20               $534.09               6/25/2012
      0241111368              $811.20               $567.20               6/25/2012
      0241111368              $811.20               $567.20               6/25/2012
      0246851430              $440.83               $225.68               6/25/2012
      0241111368              $312.36               $195.52               6/26/2012
      0241111368              $312.36               $195.52               6/26/2012
      0241111368              $312.36               $195.52               6/26/2012
      0244951786              $200.94               $117.04               6/26/2012
      0244951786              $669.80               $361.76               6/26/2012
      0244951786              $903.03               $567.56               6/26/2012
      0245313549               $66.98                $42.56               6/26/2012
      0245313549              $133.96                $85.12               6/26/2012
      0245313549              $133.96                $85.12               6/26/2012
      0245313549              $133.96                $85.12               6/26/2012
      0245313549              $133.96                $85.12               6/26/2012
      0245313549              $133.96                $85.12               6/26/2012
      0245313549              $133.96                $85.12               6/26/2012
      0245313549              $133.96                $85.12               6/26/2012
      0245313549              $133.96                $85.12               6/26/2012
      0245313549              $133.96                $85.12               6/26/2012
      0245313549              $133.96                $85.12               6/26/2012
      0245313549              $133.96                $85.12               6/26/2012
      0245313549              $133.96                $85.12               6/26/2012
      0245313549              $133.96                $85.12               6/26/2012
      0245313549              $133.96                $85.12               6/26/2012
      0245313549              $233.23               $173.88               6/26/2012
      0245313549            $1,113.46               $795.34               6/27/2012
      0245368345              $669.80               $436.24               6/27/2012
      0245368345              $803.76               $514.02               6/27/2012
      0245368345              $765.82               $578.34               6/27/2012
      0245368345            $1,376.04               $880.46               6/27/2012
      0245368345            $1,215.28             $1,048.70               6/27/2012
      0212850796              $760.08                 $0.00               6/29/2012
      0234630895              $567.84               $341.95               6/29/2012
      0241095784            $1,071.68               $638.40               6/29/2012
      0245313549              $183.36               $121.31               6/29/2012
      0245313549              $667.84               $297.78               6/29/2012
      0245313549              $727.84               $484.89               6/29/2012
      0245313549              $911.20               $606.20               6/29/2012
      0245791082              $992.32               $662.92               6/29/2012
      0246851430              $183.36               $121.31               6/29/2012
      0246851430              $890.08               $598.33               6/29/2012
      3636044079              $937.72                 $0.00               6/29/2012
      3636044079              $892.32                 $0.00               6/29/2012




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       Claim Number   Total Charged      Amount Committed         Date Received
      0227344958              $870.74                $0.00                 7/2/2012
      0227344958              $892.32                $0.00                 7/2/2012
      0228817805              $690.92                $0.00                 7/2/2012
      0228817805              $486.72                $0.00                 7/2/2012
      0236605747              $973.44              $680.64                 7/2/2012
      0239701005              $811.20              $259.20                 7/2/2012
      0241095784              $811.20              $567.20                 7/2/2012
      0243105186              $535.84              $369.92                 7/2/2012
      0243105186              $535.84              $369.92                 7/2/2012
      0245313549              $870.74              $489.44                 7/2/2012
      0245313549            $1,036.99              $510.72                 7/2/2012
      0245466800              $669.80              $404.32                 7/2/2012
      0245466800            $1,036.99              $610.12                 7/2/2012
      0245313549              $903.03                $0.00                 7/3/2012
      0245313549              $669.80                $0.00                 7/3/2012
      0245313549              $602.82                $0.00                 7/3/2012
      0245313549              $535.84              $297.92                 7/3/2012
      0245313549              $769.07              $340.48                 7/3/2012
      0245313549              $669.80              $383.04                 7/3/2012
      0245791082              $415.82              $287.12                 7/5/2012
      0245791082              $438.32              $295.26                 7/5/2012
      0245791082              $535.84              $372.40                 7/5/2012
      0245791082              $535.84              $383.04                 7/5/2012
      0225520865              $133.96                $0.00                 7/6/2012
      0225520865              $133.96                $0.00                 7/6/2012
      0225520865              $133.96                $0.00                 7/6/2012
      0225520865              $133.96                $0.00                 7/6/2012
      0236605747               $81.12               $42.54                 7/6/2012
      0236605747              $162.24               $85.08                 7/6/2012
      0240086579               $81.12               $56.72                 7/6/2012
      0240086579              $162.24              $113.44                 7/6/2012
      0240086579              $162.24              $113.44                 7/6/2012
      0240086579              $162.24              $113.44                 7/6/2012
      0240086579              $162.24              $113.44                 7/6/2012
      0240086579              $162.24              $113.44                 7/6/2012
      0240086579              $162.24              $113.44                 7/6/2012
      0240086579              $162.24              $113.44                 7/6/2012
      0241111368               $66.98               $42.56                 7/6/2012
      0241111368              $133.96               $74.48                 7/6/2012
      0241111368              $133.96               $74.48                 7/6/2012
      0241111368              $133.96               $74.48                 7/6/2012
      0241111368              $133.96               $74.48                 7/6/2012
      0241111368              $133.96               $74.48                 7/6/2012
      0241111368              $133.96               $74.48                 7/6/2012




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       Claim Number   Total Charged      Amount Committed         Date Received
      0241111368              $133.96               $74.48                 7/6/2012
      0241111368              $133.96               $74.48                 7/6/2012
      0241111368              $133.96               $74.48                 7/6/2012
      0241111368              $133.96               $85.12                 7/6/2012
      0241111368              $133.96               $85.12                 7/6/2012
      0241111368              $133.96               $85.12                 7/6/2012
      0241111368              $133.96               $85.12                 7/6/2012
      0241111368              $133.96               $85.12                 7/6/2012
      0241111368              $133.96               $85.12                 7/6/2012
      0241111368              $401.88              $223.44                 7/6/2012
      0241111368              $535.84              $297.92                 7/6/2012
      0241111368              $468.86              $297.92                 7/6/2012
      0241111368              $535.84              $319.20                 7/6/2012
      0241111368              $669.80              $361.76                 7/6/2012
      0241111368              $669.80              $372.40                 7/6/2012
      0241111368              $937.72              $585.20                 7/6/2012
      0213628571              $535.84              $212.80                 7/9/2012
      0220567150              $115.46                $0.00                 7/9/2012
      0220567150              $115.46                $0.00                 7/9/2012
      0220567150              $115.46                $0.00                 7/9/2012
      0220567150              $115.46                $0.00                 7/9/2012
      0220567150              $115.46                $0.00                 7/9/2012
      0220567150               $57.73                $0.00                 7/9/2012
      0223947086              $535.84                $0.00                 7/9/2012
      0223947086               $81.12               $62.24                 7/9/2012
      0223947086              $162.24              $124.48                 7/9/2012
      0223947086              $162.24              $124.48                 7/9/2012
      0223947086              $162.24              $124.48                 7/9/2012
      0224044610              $133.96                $0.00                 7/9/2012
      0224044610              $133.96                $0.00                 7/9/2012
      0224044610              $113.96                $0.00                 7/9/2012
      0224044610              $133.96                $0.00                 7/9/2012
      0224044610              $133.96                $0.00                 7/9/2012
      0224044610              $133.96                $0.00                 7/9/2012
      0224044610               $66.98                $0.00                 7/9/2012
      0240086579              $602.82              $266.00                 7/9/2012
      0240086579              $803.76              $383.04                 7/9/2012
      0245368345              $156.18               $70.12                 7/9/2012
      0245368345              $234.27              $105.18                 7/9/2012
      0245466800              $241.12                $0.00                 7/9/2012
      0245466800              $162.24                $0.00                 7/9/2012
      0245466800              $162.24                $0.00                 7/9/2012
      0245466800              $162.24                $0.00                 7/9/2012
      0245466800              $102.24                $0.00                 7/9/2012




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       Claim Number   Total Charged      Amount Committed         Date Received
      0245466800               $81.12               $56.72                 7/9/2012
      0245466800              $162.24               $99.26                 7/9/2012
      0222485278              $937.72                $0.00                7/10/2012
      0225520865              $567.84                $0.00                7/10/2012
      0236605747            $1,071.68               $74.48                7/10/2012
      0241095784              $234.27              $114.27                7/10/2012
      0241111368              $405.60              $212.70                7/10/2012
      0241111368              $405.60              $212.70                7/10/2012
      0241111368              $405.60              $226.88                7/10/2012
      0245313549              $312.36              $170.24                7/10/2012
      0245791082              $312.36              $195.52                7/10/2012
      0246851430              $549.78              $255.36                7/12/2012
      0246851430              $669.80              $319.20                7/12/2012
      0246851430              $787.05              $471.64                7/12/2012
      0220538771              $133.96                $0.00                7/13/2012
      0220538771              $133.96                $0.00                7/13/2012
      0220538771              $133.96                $0.00                7/13/2012
      0220538771               $66.98                $0.00                7/13/2012
      0220538771              $803.76                $0.00                7/13/2012
      0222485278              $468.54                $0.00                7/13/2012
      0223649112              $648.96                $0.00                7/13/2012
      0223947086              $156.18                $0.00                7/13/2012
      0236605747              $118.09                $0.00                7/13/2012
      0236605747              $116.18                $0.00                7/13/2012
      0236605747               $40.00                $0.00                7/13/2012
      0236605747              $116.18                $0.00                7/13/2012
      0236605747               $40.00                $0.00                7/13/2012
      0236605747              $870.64                $0.00                7/13/2012
      0236605747              $782.64                $0.00                7/13/2012
      0236605747              $116.18               $35.06                7/13/2012
      0245313549              $390.45              $212.80                7/13/2012
      0245368345              $156.18               $41.04                7/13/2012
      0222485278              $730.08                $0.00                7/16/2012
      0244951786              $648.96              $497.92                7/16/2012
      0143707602              $162.24              $135.72                7/17/2012
      0143707602              $162.24              $135.72                7/17/2012
      0143707602              $162.24              $135.72                7/17/2012
      0143707602              $162.24              $135.72                7/17/2012
      0218654093            $1,479.04                $0.00                7/17/2012
      0246851430               $81.12               $56.72                7/17/2012
      0246851430              $162.24              $113.44                7/17/2012
      0246851430              $162.24              $113.44                7/17/2012
      0220538771              $162.24                $0.00                7/20/2012
      0220538771              $162.24                $0.00                7/20/2012




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       Claim Number   Total Charged      Amount Committed         Date Received
      0220538771              $162.24                $0.00                7/20/2012
      0220538771              $162.24                $0.00                7/20/2012
      0220538771              $162.24                $0.00                7/20/2012
      0220567150              $162.24                $0.00                7/20/2012
      0220567150              $162.24                $0.00                7/20/2012
      0220567150              $162.24                $0.00                7/20/2012
      0220567150              $162.24                $0.00                7/20/2012
      0220567150               $81.12                $0.00                7/20/2012
      0233025329              $736.78              $414.96                7/20/2012
      0233025329              $567.84              $500.85                7/20/2012
      0236605747              $133.96                $0.00                7/20/2012
      0236605747              $133.96                $0.00                7/20/2012
      0236605747              $105.16                $0.00                7/20/2012
      0236605747              $133.96                $0.00                7/20/2012
      0236605747               $66.98                $0.00                7/20/2012
      3636044079              $162.24                $0.00                7/20/2012
      3636044079              $162.24                $0.00                7/20/2012
      3636044079              $162.24                $0.00                7/20/2012
      3636044079               $81.12                $0.00                7/20/2012
      0234204105              $162.24                $0.00                7/23/2012
      0234204105              $162.24                $0.00                7/23/2012
      0234204105              $162.24                $0.00                7/23/2012
      0234204105              $162.24                $0.00                7/23/2012
      0234204105              $162.24              $124.48                7/23/2012
      0236605747              $730.08                $0.00                7/23/2012
      0236605747              $892.32                $0.00                7/23/2012
      0239701005              $648.96                $0.00                7/23/2012
      0241111368              $312.36              $195.52                7/23/2012
      0244951786               $78.09                $0.00                7/23/2012
      0244951786               $66.98               $42.56                7/23/2012
      0244951786              $133.96               $63.84                7/23/2012
      0244951786              $133.96               $63.84                7/23/2012
      0244951786              $133.96               $63.84                7/23/2012
      0244951786              $133.96               $74.48                7/23/2012
      0244951786              $133.96               $85.12                7/23/2012
      0244951786              $133.96               $85.12                7/23/2012
      0244951786              $133.96               $85.12                7/23/2012
      0244951786              $133.96               $85.12                7/23/2012
      0245313549              $128.47                $0.00                7/23/2012
      0245313549              $128.47               $85.44                7/23/2012
      0245313549              $535.84              $340.48                7/23/2012
      0245313549              $669.80              $425.60                7/23/2012
      0245368345              $602.82              $340.48                7/23/2012
      0245368345              $669.80              $425.60                7/23/2012




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       Claim Number   Total Charged      Amount Committed         Date Received
      0245368345            $1,339.60              $808.64                7/23/2012
      0220969877              $602.82                $0.00                7/24/2012
      0223649112              $133.96                $0.00                7/24/2012
      0223649112              $133.96                $0.00                7/24/2012
      0223649112              $133.96                $0.00                7/24/2012
      0223649112              $133.96                $0.00                7/24/2012
      0223649112              $133.96                $0.00                7/24/2012
      0223649112              $133.96                $0.00                7/24/2012
      0234204105               $30.00               $21.08                7/24/2012
      0234204105               $81.12               $62.24                7/24/2012
      0234204105              $162.24              $124.48                7/24/2012
      0234204105              $162.24              $124.48                7/24/2012
      0234204105              $162.24              $124.48                7/24/2012
      0234204105              $162.24              $124.48                7/24/2012
      0234204105              $162.24              $124.48                7/24/2012
      0234204105              $162.24              $124.48                7/24/2012
      0234204105              $171.12              $124.48                7/24/2012
      0234204105              $162.24              $124.48                7/24/2012
      0234204105              $162.24              $124.48                7/24/2012
      0234204105              $162.24              $125.13                7/24/2012
      0234204105              $162.24              $125.13                7/24/2012
      0234204105              $232.24              $146.19                7/24/2012
      0234204105              $730.08              $560.16                7/24/2012
      0234204105              $973.44              $746.88                7/24/2012
      0234630895              $736.28              $439.54                7/24/2012
      0240086579              $405.60              $283.60                7/24/2012
      0241095784              $730.08              $382.86                7/24/2012
      0241095784              $736.78              $468.16                7/24/2012
      0245313549              $400.98              $255.36                7/24/2012
      0245313549              $468.36              $297.92                7/24/2012
      0245313549              $803.76              $510.72                7/24/2012
      0245313549              $767.78              $553.28                7/24/2012
      0245313549            $4,097.42              $595.34                7/24/2012
      0245368345              $892.32              $545.22                7/24/2012
      0245368345              $973.44              $594.07                7/24/2012
      0239701005              $589.91              $438.21                7/25/2012
      0239701005            $1,134.64              $837.90                7/25/2012
      0252198022              $535.84              $297.92                7/26/2012
      0252198022              $603.19              $375.88                7/26/2012
      0252198022              $821.74              $542.64                7/26/2012
      0213628571               $78.09                $0.00                7/27/2012
      0240086579            $2,796.56                $0.00                7/27/2012
      0245313549              $567.84              $297.78                7/27/2012
      0245313549              $648.96              $340.32                7/27/2012




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       Claim Number   Total Charged      Amount Committed         Date Received
      0245313549              $811.20              $425.40                7/27/2012
      0245791082              $736.78              $468.16                7/27/2012
      3636044079              $602.82                $0.00                7/27/2012
      0239701005            $1,154.56              $776.36                7/30/2012
      0240086579              $133.96               $42.56                7/30/2012
      0240086579              $133.96               $42.56                7/30/2012
      0240086579              $133.96               $42.56                7/30/2012
      0240086579              $151.94               $42.56                7/30/2012
      0240086579              $115.98               $42.56                7/30/2012
      0240086579              $102.04               $42.56                7/30/2012
      0240086579              $133.96               $42.56                7/30/2012
      0240086579              $133.96               $42.56                7/30/2012
      0241111368               $78.09               $48.88                7/30/2012
      0241111368               $78.09               $48.88                7/30/2012
      0241111368              $108.61               $67.77                7/30/2012
      0241111368              $108.61               $67.77                7/30/2012
      0241111368              $125.66               $78.87                7/30/2012
      0241111368              $125.66               $78.87                7/30/2012
      0222485278              $156.18                $0.00                7/31/2012
      0223947086               $78.09                $0.00                7/31/2012
      0234630895              $162.24                $0.00                7/31/2012
      0234630895              $162.24                $0.00                7/31/2012
      0234630895              $162.24                $0.00                7/31/2012
      0234630895               $81.12                $0.00                7/31/2012
      0234630895              $162.24               $97.70                7/31/2012
      0236605747               $78.09                $0.00                7/31/2012
      0236605747               $78.09                $0.00                7/31/2012
      0239701005               $78.09                $0.00                7/31/2012
      0241095784               $30.52               $20.52                7/31/2012
      0241095784              $125.66               $51.23                7/31/2012
      0241111368              $234.27              $105.18                7/31/2012
      0245313549               $78.09               $35.06                7/31/2012
      0245313549              $156.18               $70.12                7/31/2012
      0245368345              $234.27               $56.67                7/31/2012
      0245368345              $312.36               $75.56                7/31/2012
      0245466800               $78.09               $35.06                7/31/2012
      0245791082              $390.45              $244.40                7/31/2012
      0245791082              $811.20              $567.20                7/31/2012
      3636044079              $156.18                $0.00                7/31/2012
      0213628571              $468.86                $0.00                 8/1/2012
      0239701005              $519.57                $0.00                 8/1/2012
      0213628571              $162.24                $0.00                 8/6/2012
      0213628571              $162.24                $0.00                 8/6/2012
      0213628571              $162.24                $0.00                 8/6/2012




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       Claim Number   Total Charged      Amount Committed         Date Received
      0213628571              $162.24                $0.00                 8/6/2012
      0213628571              $162.24                $0.00                 8/6/2012
      0213628571              $162.24                $0.00                 8/6/2012
      0213628571              $162.24                $0.00                 8/6/2012
      0213628571               $81.12                $0.00                 8/6/2012
      0227344958              $267.92                $0.00                 8/6/2012
      0233025329              $334.90                $0.00                 8/6/2012
      0233025329              $486.72              $113.44                 8/6/2012
      0236605747              $162.24                $0.00                 8/6/2012
      0236605747              $162.24                $0.00                 8/6/2012
      0236605747              $162.24                $0.00                 8/6/2012
      0236605747               $81.12                $0.00                 8/6/2012
      0236605747              $162.24               $56.72                 8/6/2012
      0236605747              $162.24              $113.44                 8/6/2012
      0241111368               $81.12               $56.72                 8/6/2012
      0241111368              $162.24               $99.26                 8/6/2012
      0241111368              $162.24              $113.44                 8/6/2012
      0241111368              $162.24              $113.44                 8/6/2012
      0241111368              $162.24              $113.44                 8/6/2012
      0241111368              $162.24              $113.44                 8/6/2012
      0241111368              $811.20              $438.02                 8/6/2012
      0245466800               $81.12               $56.72                 8/6/2012
      0245466800              $162.24              $113.44                 8/6/2012
      0245466800              $162.24              $113.44                 8/6/2012
      0245466800              $162.24              $113.44                 8/6/2012
      0245466800              $162.24              $113.44                 8/6/2012
      0245466800              $162.24              $113.44                 8/6/2012
      0245466800            $1,004.70              $532.00                 8/6/2012
      0220567150              $635.03                $0.00                 8/7/2012
      0222485278              $648.96                $0.00                 8/7/2012
      0223649112              $648.96                $0.00                 8/7/2012
      0227344958              $468.86                $0.00                 8/7/2012
      0236605747              $535.84                $0.00                 8/7/2012
      0241111368              $468.86              $297.92                 8/7/2012
      0241111368              $736.78              $351.12                 8/7/2012
      0241111368              $803.76              $383.04                 8/7/2012
      0241111368            $1,071.68              $680.96                 8/7/2012
      0243105186            $1,138.66              $786.08                 8/7/2012
      0241111368               $66.98               $42.56                 8/8/2012
      0241111368              $133.96               $85.12                 8/8/2012
      0241111368              $133.96               $85.12                 8/8/2012
      0241111368              $133.96               $85.12                 8/8/2012
      0241111368              $133.96               $85.12                 8/8/2012
      0241111368              $133.96               $85.12                 8/8/2012




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       Claim Number   Total Charged      Amount Committed         Date Received
      0241111368              $133.96               $85.12                 8/8/2012
      0241111368              $133.96               $85.12                 8/8/2012
      0241111368              $133.96               $85.12                 8/8/2012
      0241111368              $133.96               $85.12                 8/8/2012
      0241111368              $133.96               $85.12                 8/8/2012
      0241111368              $133.96               $85.12                 8/8/2012
      0223649112              $218.21                $0.00                 8/9/2012
      0246851430              $156.18               $70.12                 8/9/2012
      0246851430            $1,162.33              $623.92                 8/9/2012
      0250922911              $206.56              $120.50                 8/9/2012
      0219069572              $535.84                $0.00                8/10/2012
      0219069572            $1,216.80                $0.00                8/10/2012
      0219069572              $401.88                $0.00                8/10/2012
      0220538771              $133.96                $0.00                8/10/2012
      0220538771              $133.96                $0.00                8/10/2012
      0220538771              $133.96                $0.00                8/10/2012
      0220538771              $133.96                $0.00                8/10/2012
      0220538771               $66.98                $0.00                8/10/2012
      0224044610              $133.96                $0.00                8/10/2012
      0224044610              $133.96                $0.00                8/10/2012
      0224044610              $133.96                $0.00                8/10/2012
      0224044610               $66.98                $0.00                8/10/2012
      0224044610              $133.96                $0.00                8/10/2012
      0228817805              $133.96                $0.00                8/10/2012
      0228817805               $66.98                $0.00                8/10/2012
      0228817805              $133.96                $0.00                8/10/2012
      0241111368              $162.24               $85.08                8/10/2012
      0241111368              $162.24               $85.08                8/10/2012
      0241111368              $162.24               $85.08                8/10/2012
      0241111368              $162.24               $85.08                8/10/2012
      0241111368              $162.24               $96.22                8/10/2012
      0244951786              $162.24              $113.44                8/10/2012
      0244951786              $162.24              $113.44                8/10/2012
      0244951786              $162.24              $113.44                8/10/2012
      0244951786              $162.24              $113.44                8/10/2012
      0244951786              $162.24              $113.44                8/10/2012
      0245368345              $486.72              $340.32                8/10/2012
      0245368345              $567.84              $397.04                8/10/2012
      0250634607              $586.22                $0.00                8/10/2012
      0250922911              $148.99                $0.00                8/10/2012
      0250922911               $57.57                $0.00                8/10/2012
      0220538771              $567.84                $0.00                8/14/2012
      0223649112              $156.18                $0.00                8/14/2012
      0223649112              $156.18                $0.00                8/14/2012




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       Claim Number   Total Charged      Amount Committed         Date Received
      0228817805              $486.72                $0.00                8/14/2012
      0230462368              $468.86                $0.00                8/14/2012
      0240086579              $267.92              $170.24                8/14/2012
      0240086579              $486.72              $340.32                8/14/2012
      0241111368              $468.54              $195.52                8/14/2012
      0241111368              $468.54              $195.52                8/14/2012
      0241111368              $468.54              $293.28                8/14/2012
      0243105186            $1,073.44              $685.20                8/14/2012
      0250922911               $78.09                $0.00                8/14/2012
      0250922911               $78.09                $0.00                8/14/2012
      0250922911               $78.09                $0.00                8/14/2012
      0250922911               $78.09               $35.06                8/14/2012
      0252198022              $669.80              $425.60                8/14/2012
      0212850796              $973.44                $0.00                8/20/2012
      0212850796              $803.76                $0.00                8/20/2012
      0223649112              $669.80                $0.00                8/20/2012
      0234204105              $669.80              $340.48                8/20/2012
      0234630895              $718.80               $42.56                8/20/2012
      0236605747              $602.82                $0.00                8/20/2012
      0236605747              $669.30                $0.00                8/20/2012
      0251515986              $128.47               $78.03                8/20/2012
      0213628571              $312.36                $0.00                8/21/2012
      0222485278              $156.18                $0.00                8/21/2012
      0236605747              $648.96                $0.00                8/21/2012
      0236605747              $156.18                $0.00                8/21/2012
      0236605747              $156.18                $0.00                8/21/2012
      0240086579              $486.72                $0.00                8/21/2012
      0241095784               $30.52                $0.00                8/21/2012
      0241095784              $125.66                $0.00                8/21/2012
      0241111368               $78.09                $0.00                8/21/2012
      0241111368               $78.09                $0.00                8/21/2012
      0241111368               $78.09                $0.00                8/21/2012
      0245368345              $156.18               $37.78                8/21/2012
      0245368345              $234.27               $56.67                8/21/2012
      0245791082              $116.18                $0.00                8/21/2012
      0245791082               $40.00               $39.99                8/21/2012
      0245791082              $156.18               $97.76                8/21/2012
      0246851430               $78.09               $35.06                8/21/2012
      0251515986               $78.09               $75.06                8/21/2012
      0234204105              $730.08                $0.00                8/22/2012
      0234630895              $567.84                $0.00                8/22/2012
      0245313549              $567.84              $397.04                8/22/2012
      0245313549              $648.96              $453.76                8/22/2012
      0246851430              $937.72              $468.16                8/22/2012




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       Claim Number   Total Charged      Amount Committed         Date Received
      0220969877              $602.82                 $0.00               8/24/2012
      0223649112              $486.72                 $0.00               8/24/2012
      0241095784              $567.84               $397.04               8/24/2012
      0243105186              $602.82               $340.48               8/24/2012
      0245791082              $973.44               $658.52               8/24/2012
      3636044079              $730.08                 $0.00               8/24/2012
      3636044079              $669.80                 $0.00               8/24/2012
      0143707602              $730.08                 $0.00               8/28/2012
      0223649112              $156.18                 $0.00               8/28/2012
      0240086579              $334.90               $212.80               8/28/2012
      0241095784              $870.94                 $0.00               8/28/2012
      0241111368              $811.20                 $0.00               8/28/2012
      0241111368              $648.96                $56.72               8/28/2012
      0241111368              $811.20               $113.44               8/28/2012
      0244951786              $486.72               $340.32               8/28/2012
      0244951786            $1,071.68               $521.36               8/28/2012
      0245313549              $415.82               $234.08               8/28/2012
      0245313549              $535.84               $308.56               8/28/2012
      0245313549              $730.08               $510.48               8/28/2012
      0245313549              $767.78               $553.28               8/28/2012
      0245313549              $955.70               $590.08               8/28/2012
      0245313549            $1,485.86             $1,210.96               8/28/2012
      0245368345              $535.84               $340.48               8/28/2012
      0245368345              $592.02               $375.54               8/28/2012
      0245368345              $669.80               $425.60               8/28/2012
      0245368345              $669.80               $425.60               8/28/2012
      0245466800              $730.08                 $0.00               8/28/2012
      0245466800              $267.92                 $0.00               8/28/2012
      0245466800              $602.82                 $0.00               8/28/2012
      0245791082            $1,138.66               $723.52               8/28/2012
      0250922911              $433.80               $255.36               8/28/2012
      0250922911              $658.46               $445.03               8/28/2012
      0250922911              $803.76               $468.16               8/28/2012
      0250922911              $401.88               $247.86               8/29/2012
      0250922911            $1,438.87               $897.40               8/29/2012
      0245368345              $567.84               $397.04               8/31/2012
      0245368345              $567.84               $397.04               8/31/2012
      0251515986            $1,154.56               $776.36               8/31/2012
      0222485278              $802.32                 $0.00                9/4/2012
      0223947086            $1,138.66                 $0.00                9/4/2012
      0223947086            $1,216.80               $850.80                9/4/2012
      0227344958              $133.96                 $0.00                9/4/2012
      0227344958              $133.96                 $0.00                9/4/2012
      0227344958               $66.98                 $0.00                9/4/2012




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       Claim Number   Total Charged      Amount Committed         Date Received
      0227344958              $133.96                $0.00                 9/4/2012
      0227344958              $133.96                $0.00                 9/4/2012
      0233025329              $162.24                $0.00                 9/4/2012
      0233025329              $162.24                $0.00                 9/4/2012
      0233025329              $162.24                $0.00                 9/4/2012
      0233025329              $162.24                $0.00                 9/4/2012
      0233025329               $81.12                $0.00                 9/4/2012
      0236605747            $1,138.66                $0.00                 9/4/2012
      0236605747              $669.80                $0.00                 9/4/2012
      0236605747              $648.96                $0.00                 9/4/2012
      0240086579              $116.18                $0.00                 9/4/2012
      0240086579              $118.09                $0.00                 9/4/2012
      0240086579               $78.09                $0.00                 9/4/2012
      0246851430              $133.96               $63.84                 9/4/2012
      0246851430              $133.96               $63.84                 9/4/2012
      0246851430              $133.96               $63.84                 9/4/2012
      0246851430              $133.96               $63.84                 9/4/2012
      0246851430              $133.96               $63.84                 9/4/2012
      0246851430              $730.08              $169.74                 9/4/2012
      0220567150              $689.88                $0.00                 9/5/2012
      0225520865              $602.82                $0.00                 9/5/2012
      0227344958              $648.96                $0.00                 9/5/2012
      0213628571              $648.96                $0.00                 9/6/2012
      0213628571              $669.80                $0.00                 9/6/2012
      0233025329              $870.74                $0.00                 9/6/2012
      0236605747              $405.60                $0.00                 9/6/2012
      0236605747              $973.44                $0.00                 9/6/2012
      0239701005              $892.32                $0.00                 9/6/2012
      0239701005              $577.30                $0.00                 9/6/2012
      0241111368            $1,205.64                $0.00                 9/6/2012
      0241111368            $1,138.66                $0.00                 9/6/2012
      0241111368            $1,071.68                $0.00                 9/6/2012
      0251515986              $637.88              $418.10                 9/6/2012
      0251515986              $874.35              $584.61                 9/6/2012
      0234204105              $669.80              $361.76                 9/7/2012
      0234204105              $803.76              $439.54                 9/7/2012
      0222485278            $1,119.32                $0.00                9/11/2012
      0222485278              $602.82                $0.00                9/11/2012
      0239701005              $128.47                $0.00                9/11/2012
      0245466800              $116.18                $0.00                9/12/2012
      0245466800              $118.09                $0.00                9/12/2012
      0223649112              $234.27                $0.00                9/13/2012
      0241111368              $312.36                $0.00                9/13/2012
      0245313549              $312.36              $170.24                9/13/2012




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       Claim Number   Total Charged      Amount Committed         Date Received
      0245791082              $390.45              $244.40                9/13/2012
      0224044610              $669.80                $0.00                9/14/2012
      0245313549              $390.45              $170.24                9/14/2012
      0251515986              $312.36              $140.24                9/14/2012
      0252198022              $736.78              $468.16                9/14/2012
      0225520865            $1,081.21                $0.00                9/17/2012
      0231667031              $988.10              $617.60                9/17/2012
      0245368345              $402.88                $0.00                9/17/2012
      0245368345              $390.45                $0.00                9/17/2012
      0246851430              $567.84              $170.16                9/18/2012
      0250922911              $838.82                $0.00                9/18/2012
      0250922911              $870.74                $0.00                9/18/2012
      0120273198              $206.56                $0.00                9/19/2012
      0222485278              $312.36                $0.00                9/19/2012
      0236605747              $116.18                $0.00                9/19/2012
      0236605747               $40.00                $0.00                9/19/2012
      0236605747              $486.72              $340.32                9/19/2012
      0240086579              $312.36                $0.00                9/19/2012
      0243105186              $973.44              $811.20                9/19/2012
      0245791082              $486.72                $0.00                9/19/2012
      0223649112              $730.08                $0.00                9/20/2012
      0234630895              $602.82                $0.00                9/20/2012
      0240086579              $535.84               $42.56                9/20/2012
      0236605747              $736.78                $0.00                9/21/2012
      0241095784              $516.72                $0.00                9/21/2012
      0223649112              $803.06                $0.00                9/24/2012
      0241095784              $334.90                $0.00                9/24/2012
      0241111368              $234.27                $0.00                9/24/2012
      0241111368              $234.27                $0.00                9/24/2012
      0243105186              $937.72                $0.00                9/24/2012
      0244951786              $116.18                $0.00                9/24/2012
      0244951786              $118.09                $0.00                9/24/2012
      0250634607              $730.08                $0.00                9/24/2012
      0220969877              $133.96                $0.00                9/25/2012
      0220969877              $133.96                $0.00                9/25/2012
      0220969877              $133.96                $0.00                9/25/2012
      0220969877              $133.96                $0.00                9/25/2012
      0220969877              $133.96                $0.00                9/25/2012
      0234204105              $730.08                $0.00                9/25/2012
      0234204105              $535.84                $0.00                9/25/2012
      0241111368              $162.24                $0.00                9/25/2012
      0241111368              $162.24                $0.00                9/25/2012
      0241111368              $162.24                $0.00                9/25/2012
      0241111368              $162.24                $0.00                9/25/2012




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       Claim Number   Total Charged      Amount Committed         Date Received
      0241111368              $162.24                $0.00                9/25/2012
      0244951786              $937.72                $0.00                9/25/2012
      0255291577            $1,040.32                $0.00                9/25/2012
      0255291577              $937.72                $0.00                9/25/2012
      0143707602              $162.24                $0.00                9/26/2012
      0143707602              $162.24                $0.00                9/26/2012
      0143707602              $162.24                $0.00                9/26/2012
      0143707602              $162.24                $0.00                9/26/2012
      0244951786              $162.24                $0.00                9/26/2012
      0244951786              $162.24                $0.00                9/26/2012
      0244951786              $162.24                $0.00                9/26/2012
      0244951786              $162.24                $0.00                9/26/2012
      0244951786              $162.24                $0.00                9/26/2012
      0222485278              $133.96                $0.00                9/27/2012
      0222485278              $133.96                $0.00                9/27/2012
      0222485278              $133.96                $0.00                9/27/2012
      0222485278               $66.98                $0.00                9/27/2012
      0234204105              $602.82              $287.28                9/27/2012
      0234204105              $602.82              $319.20                9/27/2012
      0234204105              $602.82              $329.84                9/27/2012
      0234204105              $688.26              $358.94                9/27/2012
      0234204105              $736.78              $361.76                9/27/2012
      0236605747              $234.27                $0.00                9/27/2012
      0241111368              $162.24                $0.00                9/27/2012
      0241111368              $162.24                $0.00                9/27/2012
      0241111368              $162.24                $0.00                9/27/2012
      0241111368               $81.12                $0.00                9/27/2012
      0241111368              $162.24                $0.00                9/27/2012
      0241111368              $811.20                $0.00                9/27/2012
      0241111368              $730.08                $0.00                9/27/2012
      0245313549              $892.32                $0.00                9/27/2012
      0245313549            $1,054.56                $0.00                9/27/2012
      0245313549              $590.60                $0.00                9/27/2012
      0245313549              $162.24               $99.26                9/27/2012
      0245313549              $162.24              $105.57                9/27/2012
      0245313549              $162.24              $113.44                9/27/2012
      0245313549              $162.24              $113.44                9/27/2012
      0245313549              $162.24              $113.44                9/27/2012
      0245368345            $1,138.66                $0.00                9/27/2012
      0245368345              $892.32                $0.00                9/27/2012
      0245368345              $892.32                $0.00                9/27/2012
      0245368345            $1,071.68                $0.00                9/27/2012
      0245791082              $803.76                $0.00                9/27/2012
      0245791082              $267.92                $0.00                9/27/2012




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       Claim Number   Total Charged      Amount Committed         Date Received
      0245791082              $162.24                $0.00                9/27/2012
      0245791082              $162.24                $0.00                9/27/2012
      0245791082              $162.24                $0.00                9/27/2012
      0246851430              $669.10                $0.00                9/27/2012
      0251515986              $162.24                $0.00                9/27/2012
      0251515986              $162.24                $0.00                9/27/2012
      0251515986              $162.24                $0.00                9/27/2012
      0251515986               $81.12                $0.00                9/27/2012
      0251515986              $162.24                $0.00                9/27/2012
      0251515986              $133.96                $0.00                9/27/2012
      0251515986              $133.96                $0.00                9/27/2012
      0251515986              $133.96                $0.00                9/27/2012
      0251515986              $133.96                $0.00                9/27/2012
      0251515986              $133.96                $0.00                9/27/2012
      0251515986              $133.96                $0.00                9/27/2012
      0251515986              $133.96                $0.00                9/27/2012
      0251515986              $133.96                $0.00                9/27/2012
      0251515986               $66.98                $0.00                9/27/2012
      0251515986              $133.96                $0.00                9/27/2012
      3636044079              $133.96                $0.00                9/27/2012
      3636044079              $133.96                $0.00                9/27/2012
      3636044079              $133.96                $0.00                9/27/2012
      3636044079              $133.96                $0.00                9/27/2012
      3636044079               $66.98                $0.00                9/27/2012
      3636044079              $162.24                $0.00                9/27/2012
      3636044079              $162.24                $0.00                9/27/2012
      3636044079              $162.24                $0.00                9/27/2012
      3636044079               $81.12                $0.00                9/27/2012
      0231667031              $669.80                $0.00                10/1/2012
      0233025329              $937.02                $0.00                10/1/2012
      0236605747              $535.84                $0.00                10/1/2012
      0236605747              $535.84               $42.56                10/1/2012
      0239701005              $519.57                $0.00                10/1/2012
      0243105186            $1,054.56               $60.00                10/1/2012
      0245313549              $401.88                $0.00                10/1/2012
      0245313549              $535.84                $0.00                10/1/2012
      0245313549              $468.86                $0.00                10/1/2012
      0245313549              $468.86              $266.00                10/1/2012
      0245313549              $535.84              $308.56                10/1/2012
      0245313549              $669.80              $340.48                10/1/2012
      0245466800              $803.76                $0.00                10/1/2012
      0233025329              $648.96                $0.00                10/2/2012
      0236605747              $567.84                $0.00                10/2/2012
      0245466800              $730.08                $0.00                10/2/2012




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       Claim Number   Total Charged      Amount Committed         Date Received
      0246851430               $78.09                $0.00                10/2/2012
      0254090780            $1,103.97                $0.00                10/3/2012
      0222485278              $648.96                $0.00                10/5/2012
      0213628571              $234.27                $0.00                10/9/2012
      0219069572            $1,216.80                $0.00                10/9/2012
      0219069572              $669.80                $0.00                10/9/2012
      0222485278               $78.09                $0.00                10/9/2012
      0223649112              $156.18                $0.00                10/9/2012
      0223947086               $78.09                $0.00                10/9/2012
      0227344958              $162.24                $0.00                10/9/2012
      0227344958              $162.24                $0.00                10/9/2012
      0227344958              $162.24                $0.00                10/9/2012
      0227344958              $162.24                $0.00                10/9/2012
      0227344958              $162.24                $0.00                10/9/2012
      0236605747              $107.95                $0.00                10/9/2012
      0239701005              $730.08                $0.00                10/9/2012
      0239701005               $78.09                $0.00                10/9/2012
      0240086579              $118.09                $0.00                10/9/2012
      0240086579              $116.18                $0.00                10/9/2012
      0241095784               $78.09                $0.00                10/9/2012
      0241111368               $78.09                $0.00                10/9/2012
      0241111368              $156.18                $0.00                10/9/2012
      0243105186               $78.09                $0.00                10/9/2012
      0245368345              $116.18                $0.00                10/9/2012
      0245368345              $118.09                $0.00                10/9/2012
      0245368345              $312.36                $0.00                10/9/2012
      0250634607              $133.96                $0.00                10/9/2012
      0250634607              $133.96                $0.00                10/9/2012
      0250634607              $133.96                $0.00                10/9/2012
      0250634607              $133.96                $0.00                10/9/2012
      0250634607              $133.96                $0.00                10/9/2012
      0250634607              $162.24                $0.00                10/9/2012
      0250634607              $162.24                $0.00                10/9/2012
      0250634607              $133.96                $0.00                10/9/2012
      0250634607              $133.96                $0.00                10/9/2012
      0250634607              $133.96                $0.00                10/9/2012
      0251515986              $234.27                $0.00                10/9/2012
      0223947086              $736.78                $0.00              10/10/2012
      0241111368            $1,004.70                $0.00              10/10/2012
      0241111368              $870.74               $21.12              10/10/2012
      0231667031              $128.47                $0.00              10/12/2012
      0236605747              $133.96                $0.00              10/12/2012
      0236605747              $133.96                $0.00              10/12/2012
      0236605747              $133.96                $0.00              10/12/2012




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       Claim Number   Total Charged      Amount Committed         Date Received
      0236605747              $133.96                $0.00              10/12/2012
      0236605747              $133.96                $0.00              10/12/2012
      0236605747              $133.96                $0.00              10/12/2012
      0256763293              $206.56                $0.00              10/12/2012
      0257964742              $281.86                $0.00              10/12/2012
      0257964742              $572.28                $0.00              10/12/2012
      0258394963              $148.99                $0.00              10/12/2012
      0258394963              $125.66                $0.00              10/12/2012
      0258394963              $108.61                $0.00              10/12/2012
      0258394963               $57.57                $0.00              10/12/2012
      0259034189              $148.99                $0.00              10/12/2012
      0259034189              $125.66                $0.00              10/12/2012
      0259034189               $10.00                $0.00              10/12/2012
      0223649112              $730.08                $0.00              10/16/2012
      0250922911              $736.78                $0.00              10/16/2012
      0256763293              $838.96                $0.00              10/16/2012
      0256763293              $482.80                $0.00              10/16/2012
      0256763293            $1,376.04                $0.00              10/16/2012
      0256763293            $1,438.87                $0.00              10/16/2012
      0256763293              $468.86                $0.00              10/16/2012
      0258394963              $911.20                $0.00              10/16/2012
      0143707602               $81.12               $56.72              10/17/2012
      0143707602              $162.24              $113.44              10/17/2012
      0143707602              $162.24              $113.44              10/17/2012
      0202321253              $505.60                $0.00              10/17/2012
      0236605747              $811.20                $0.00              10/17/2012
      0240086579              $669.80                $0.00              10/17/2012
      0243105186              $468.86                $0.00              10/17/2012
      0255291577            $1,479.04                $0.00              10/17/2012
      0255291577              $535.84                $0.00              10/17/2012
      0256763293              $830.08                $0.00              10/17/2012
      0256763293              $830.08                $0.00              10/17/2012
      0256763293              $669.80                $0.00              10/17/2012
      0256763293              $669.80                $0.00              10/17/2012
      0256763293              $501.15                $0.00              10/17/2012
      0257964742              $162.24                $0.00              10/17/2012
      0257964742              $162.24                $0.00              10/17/2012
      0257964742              $162.24                $0.00              10/17/2012
      0257964742              $162.24                $0.00              10/17/2012
      0257964742              $162.24                $0.00              10/17/2012
      0257964742               $21.12                $0.00              10/17/2012
      0257964742              $241.12                $0.00              10/17/2012
      0250922911              $736.78                $0.00              10/18/2012
      0250922911              $736.78                $0.00              10/18/2012




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       Claim Number   Total Charged      Amount Committed         Date Received
      0234630895              $133.96                $0.00              10/19/2012
      0234630895              $133.96                $0.00              10/19/2012
      0234630895              $151.94                $0.00              10/19/2012
      0234630895              $133.96                $0.00              10/19/2012
      0234630895              $133.96                $0.00              10/19/2012
      0234630895              $162.24                $0.00              10/19/2012
      0234630895              $162.24                $0.00              10/19/2012
      0234630895              $162.24                $0.00              10/19/2012
      0234630895              $162.24                $0.00              10/19/2012
      0234630895               $81.12                $0.00              10/19/2012
      0234630895              $162.24                $0.00              10/19/2012
      0236605747              $162.24                $0.00              10/19/2012
      0236605747              $162.24                $0.00              10/19/2012
      0236605747              $162.24                $0.00              10/19/2012
      0236605747              $162.24                $0.00              10/19/2012
      0236605747              $162.24                $0.00              10/19/2012
      0236605747              $133.96                $0.00              10/19/2012
      0236605747               $66.98                $0.00              10/19/2012
      0236605747              $133.96                $0.00              10/19/2012
      0236605747              $133.96                $0.00              10/19/2012
      0255291577              $148.99                $0.00              10/19/2012
      0255291577               $57.57                $0.00              10/19/2012
      0220567150              $486.72                $0.00              10/22/2012
      0245368345              $803.76                $0.00              10/22/2012
      0245368345              $535.84                $0.00              10/22/2012
      0245368345              $267.92                $0.00              10/22/2012
      0256763293              $362.74                $0.00              10/22/2012
      0223649112              $535.84                $0.00              10/23/2012
      0245313549              $401.88                $0.00              10/23/2012
      0245313549              $334.90                $0.00              10/23/2012
      0252198022              $937.72                $0.00              10/23/2012
      0220969877              $133.96                $0.00              10/24/2012
      0220969877              $133.96                $0.00              10/24/2012
      0220969877              $133.96                $0.00              10/24/2012
      0241111368              $648.96                $0.00              10/24/2012
      0241111368              $486.72                $0.00              10/24/2012
      0241111368              $811.20                $0.00              10/24/2012
      0245368345              $486.72                $0.00              10/24/2012
      0245368345              $558.96                $0.00              10/24/2012
      0241111368              $118.09                $0.00              10/25/2012
      0241111368              $116.18                $0.00              10/25/2012
      0241111368              $108.61                $0.00              10/25/2012
      0241111368              $125.66                $0.00              10/25/2012
      0241111368              $118.09                $0.00              10/25/2012




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       Claim Number   Total Charged      Amount Committed         Date Received
      0241111368              $116.18                $0.00              10/25/2012
      0245313549              $162.24              $113.44              10/25/2012
      0245313549              $162.24              $113.44              10/25/2012
      0245313549              $162.24              $113.44              10/25/2012
      0245313549              $162.24              $113.44              10/25/2012
      0245313549              $162.24              $113.44              10/25/2012
      0244951786              $736.78                $0.00              10/26/2012
      0143707602              $324.48              $226.88              10/29/2012
      0222485278              $405.60                $0.00              10/29/2012
      0236605747              $602.82                $0.00              10/29/2012
      0244951786              $648.96                $0.00              10/29/2012
      3636044079              $567.84                $0.00              10/29/2012
      0236605747              $648.96                $0.00              10/30/2012
      0245313549              $590.60                $0.00              10/30/2012
      3636044079              $602.82                $0.00              10/30/2012
      0231667031              $952.82                $0.00              10/31/2012
      0258394963              $133.96                $0.00              10/31/2012
      0258394963              $133.96                $0.00              10/31/2012
      0258394963              $133.96                $0.00              10/31/2012
      0258394963              $133.96                $0.00              10/31/2012
      0258394963              $133.96                $0.00              10/31/2012
      0258394963               $13.94                $0.00              10/31/2012
      0258394963              $133.96                $0.00              10/31/2012
      0258394963              $133.96                $0.00              10/31/2012
      0258394963              $133.96                $0.00              10/31/2012
      0258394963              $133.96                $0.00              10/31/2012
      0258394963              $170.40                $0.00              10/31/2012
      0231667031              $181.12                $0.00                11/2/2012
      0239701005              $115.46                $0.00                11/2/2012
      0239701005              $115.46                $0.00                11/2/2012
      0239701005              $115.46                $0.00                11/2/2012
      0239701005              $115.46                $0.00                11/2/2012
      0251515986              $870.74                $0.00                11/2/2012
      0222485278              $803.76                $0.00                11/5/2012
      0250634607              $334.90                $0.00                11/5/2012
      0223649112              $234.27                $0.00                11/6/2012
      0227344958              $567.84                $0.00                11/6/2012
      0241111368              $486.72                $0.00                11/6/2012
      0241111368              $405.60                $0.00                11/6/2012
      0241111368              $486.72                $0.00                11/6/2012
      0245313549              $133.96                $0.00                11/6/2012
      0245313549              $133.96                $0.00                11/6/2012
      0245313549              $133.96                $0.00                11/6/2012
      0245313549              $133.96                $0.00                11/6/2012




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       Claim Number   Total Charged      Amount Committed         Date Received
      0245313549              $133.96                $0.00                11/6/2012
      0245313549              $133.96                $0.00                11/6/2012
      0245313549               $66.98                $0.00                11/6/2012
      0251515986            $1,054.56                $0.00                11/6/2012
      0241111368              $669.80                $0.00                11/7/2012
      0241111368              $669.80                $0.00                11/7/2012
      0241111368              $535.84                $0.00                11/7/2012
      0241111368              $133.96                $0.00                11/7/2012
      0241111368              $133.96                $0.00                11/7/2012
      0241111368              $133.96                $0.00                11/7/2012
      0241111368              $133.96                $0.00                11/7/2012
      0241111368              $133.96                $0.00                11/7/2012
      0241111368              $133.96                $0.00                11/7/2012
      0241111368              $133.96                $0.00                11/7/2012
      0241111368              $133.96                $0.00                11/7/2012
      0241111368              $133.96                $0.00                11/7/2012
      0241111368              $937.72                $0.00                11/7/2012
      0250922911              $133.96                $0.00                11/7/2012
      0250922911              $133.96                $0.00                11/7/2012
      0250922911              $133.96                $0.00                11/7/2012
      0250922911              $133.96                $0.00                11/7/2012
      0250922911              $133.96                $0.00                11/7/2012
      0250922911              $133.96                $0.00                11/7/2012
      0254090780              $267.92                $0.00                11/8/2012
      0245313549              $730.08              $510.48                11/9/2012
      0259034189              $911.20                $0.00                11/9/2012
      0223947086              $892.32                $0.00              11/13/2012
      0223947086              $602.82                $0.00              11/13/2012
      0227344958              $567.84                $0.00              11/13/2012
      0243105186              $401.88                $0.00              11/13/2012
      0255291577              $803.76                $0.00              11/13/2012
      0256763293              $156.18                $0.00              11/13/2012
      0259034189              $616.76                $0.00              11/15/2012
      0236605747              $401.88                $0.00              11/19/2012
      0246851430              $468.86                $0.00              11/19/2012
      0246851430              $567.84                $0.00              11/19/2012
      0260911755              $992.32                $0.00              11/19/2012
      0223649112              $267.92                $0.00              11/20/2012
      0236605747              $234.27                $0.00              11/20/2012
      0236605747              $405.60                $0.00              11/20/2012
      0245313549              $535.84                $0.00              11/20/2012
      0245313549              $243.36              $170.16              11/20/2012
      0245313549              $486.72              $340.32              11/20/2012
      0245368345              $669.80                $0.00              11/20/2012




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       Claim Number   Total Charged      Amount Committed         Date Received
      0256763293              $669.80                $0.00              11/20/2012
      0256763293              $200.94                $0.00              11/20/2012
      0256763293              $535.84                $0.00              11/20/2012
      0256763293            $1,272.62                $0.00              11/20/2012
      0256763293              $401.88                $0.00              11/20/2012
      0256763293              $535.84                $0.00              11/20/2012
      0256763293              $535.84                $0.00              11/20/2012
      0245368345              $486.72                $0.00              11/21/2012
      0245368345              $648.96                $0.00              11/21/2012
      0256763293              $892.32                $0.00              11/23/2012
      0256763293              $973.44                $0.00              11/23/2012
      0256763293              $973.44                $0.00              11/23/2012
      0260911755              $597.01                $0.00              11/26/2012
      0143707602              $567.84                $0.00              11/27/2012
      0227344958              $567.84                $0.00              11/27/2012
      0227344958            $1,071.68                $0.00              11/27/2012
      0257964742              $937.72                $0.00              11/27/2012
      0263081101              $440.83                $0.00              11/27/2012
      0222485278              $234.27                $0.00              11/28/2012
      0231667031              $162.24                $0.00              11/28/2012
      0234630895              $133.96                $0.00              11/28/2012
      0234630895              $133.96                $0.00              11/28/2012
      0234630895              $133.96                $0.00              11/28/2012
      0234630895              $133.96                $0.00              11/28/2012
      0234630895               $66.98                $0.00              11/28/2012
      0241111368              $312.36                $0.00              11/28/2012
      0241111368              $312.36                $0.00              11/28/2012
      0241111368              $312.36                $0.00              11/28/2012
      0241111368              $781.20                $0.00              11/28/2012
      0241111368              $811.20                $0.00              11/28/2012
      0241111368              $781.20                $0.00              11/28/2012
      0259034189              $648.96                $0.00              11/28/2012
      0260911755              $162.24                $0.00              11/28/2012
      0260911755              $162.24                $0.00              11/28/2012
      0260911755              $162.24                $0.00              11/28/2012
      0263081101              $284.65                $0.00              11/28/2012
      0231667031              $468.86                $0.00              11/29/2012
      0244951786              $401.88                $0.00              11/29/2012
      0252198022              $803.76              $510.72              11/29/2012
      0259034189              $334.90                $0.00              11/29/2012
      0260911755              $706.24                $0.00              11/29/2012
      0260911755            $1,033.74                $0.00              11/29/2012
      0261993521              $572.28                $0.00              11/29/2012
      0261993521              $616.76                $0.00              11/29/2012




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       Claim Number   Total Charged      Amount Committed         Date Received
      3636044079              $324.48                $0.00                12/3/2012
      0239701005              $115.46                $0.00                12/4/2012
      0239701005              $115.46                $0.00                12/4/2012
      0239701005              $115.46                $0.00                12/4/2012
      0239701005               $57.73                $0.00                12/4/2012
      0239701005              $115.46                $0.00                12/4/2012
      0245313549              $133.96                $0.00                12/4/2012
      0245313549              $133.96                $0.00                12/4/2012
      0245313549               $66.98                $0.00                12/4/2012
      0245313549              $133.96                $0.00                12/4/2012
      0245313549              $133.96                $0.00                12/4/2012
      0250922911              $736.78                $0.00                12/4/2012
      0250922911              $736.78                $0.00                12/4/2012
      0251515986              $803.76                $0.00                12/4/2012
      0262484801              $162.24                $0.00                12/4/2012
      0262484801              $162.24                $0.00                12/4/2012
      0262484801              $162.24                $0.00                12/4/2012
      0262484801               $21.12                $0.00                12/4/2012
      0262484801              $162.24                $0.00                12/4/2012
      0262484801              $162.24                $0.00                12/4/2012
      0262484801              $162.24                $0.00                12/4/2012
      0262484801              $241.12                $0.00                12/4/2012
      0223649112              $156.18                $0.00                12/5/2012
      0239701005              $811.20                $0.00                12/5/2012
      0245313549              $567.84                $0.00                12/5/2012
      0254090780              $602.82                $0.00                12/5/2012
      0256763293              $156.18                $0.00                12/5/2012
      0262484801              $362.74                $0.00                12/5/2012
      0222485278              $468.86                $0.00                12/6/2012
      0241111368            $1,138.66                $0.00                12/6/2012
      0241111368            $1,138.66                $0.00                12/6/2012
      0241111368            $1,071.68                $0.00                12/6/2012
      0256763293              $234.27                $0.00                12/6/2012
      0263081101            $1,036.99                $0.00                12/6/2012
      0263081101              $602.82                $0.00                12/6/2012
      0263081101              $903.03                $0.00                12/6/2012
      0263081101              $736.78                $0.00                12/6/2012
      0263081101              $854.14                $0.00                12/6/2012
      0263081101            $1,073.44                $0.00                12/6/2012
      0222485278               $81.12                $0.00                12/7/2012
      0222485278              $162.24                $0.00                12/7/2012
      0222485278              $162.24                $0.00                12/7/2012
      0222485278              $162.24                $0.00                12/7/2012
      0244951786              $133.96                $0.00                12/7/2012




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       Claim Number   Total Charged      Amount Committed         Date Received
      0244951786               $66.98                $0.00                12/7/2012
      0245313549              $133.96                $0.00                12/7/2012
      0245313549              $133.96                $0.00                12/7/2012
      0245313549              $133.96                $0.00                12/7/2012
      0245313549              $419.25                $0.00                12/7/2012
      0245313549              $133.96                $0.00                12/7/2012
      0245313549              $133.96                $0.00                12/7/2012
      0251515986              $162.24                $0.00                12/7/2012
      0251515986              $162.24                $0.00                12/7/2012
      0251515986              $162.24                $0.00                12/7/2012
      0251515986              $162.24                $0.00                12/7/2012
      0220567150              $115.46                $0.00              12/10/2012
      0220567150               $57.73                $0.00              12/10/2012
      0244951786              $162.24                $0.00              12/10/2012
      0244951786              $162.24                $0.00              12/10/2012
      0244951786              $162.24                $0.00              12/10/2012
      0244951786              $162.24                $0.00              12/10/2012
      0244951786              $162.24                $0.00              12/10/2012
      0244951786              $162.24                $0.00              12/10/2012
      0245313549              $162.24                $0.00              12/10/2012
      0245313549              $162.24                $0.00              12/10/2012
      0245313549              $162.24                $0.00              12/10/2012
      0245313549               $81.12                $0.00              12/10/2012
      0245368345              $133.96                $0.00              12/10/2012
      0245368345              $133.96                $0.00              12/10/2012
      0245368345              $133.96                $0.00              12/10/2012
      0245368345              $133.96                $0.00              12/10/2012
      0245368345              $133.96                $0.00              12/10/2012
      0245368345              $133.96                $0.00              12/10/2012
      0245368345              $133.96                $0.00              12/10/2012
      0245368345              $133.96                $0.00              12/10/2012
      0263081101               $21.12                $0.00              12/10/2012
      0263081101              $241.12                $0.00              12/10/2012
      0263081101              $162.24                $0.00              12/10/2012
      0220567150               $81.12                $0.00              12/11/2012
      0223947086              $648.96                $0.00              12/11/2012
      0223947086              $468.86                $0.00              12/11/2012
      0227344958              $162.24                $0.00              12/11/2012
      0227344958              $162.24                $0.00              12/11/2012
      0236605747              $133.96                $0.00              12/11/2012
      0236605747              $133.96                $0.00              12/11/2012
      0243105186              $133.96                $0.00              12/11/2012
      0243105186              $133.96                $0.00              12/11/2012
      0243105186              $133.96                $0.00              12/11/2012




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       Claim Number   Total Charged      Amount Committed         Date Received
      0245368345              $162.24                $0.00              12/11/2012
      0245368345              $162.24                $0.00              12/11/2012
      0252198022              $133.96               $85.12              12/11/2012
      0252198022              $133.96               $85.12              12/11/2012
      0252198022              $133.96               $85.12              12/11/2012
      0262484801              $750.72                $0.00              12/12/2012
      0262484801            $1,108.12                $0.00              12/12/2012
      0256763293              $648.96                $0.00              12/14/2012
      0256763293              $567.84                $0.00              12/14/2012
      0256763293              $567.84                $0.00              12/14/2012
      0256763293              $567.84                $0.00              12/14/2012
      0261993521            $1,301.88                $0.00              12/17/2012
      0261993521            $1,301.88                $0.00              12/17/2012
      0261993521               $50.38                $0.00              12/17/2012
      0245313549              $486.72                $0.00              12/18/2012
      0245313549              $405.60                $0.00              12/18/2012
      0245368345              $162.24                $0.00              12/18/2012
      0254090780              $401.88                $0.00              12/18/2012
      0245313549              $468.86                $0.00              12/20/2012
      0245313549              $334.90                $0.00              12/20/2012
      0241111368              $243.36                $0.00              12/27/2012
      0241111368              $486.72                $0.00              12/27/2012
      0241111368            $2,577.71                $0.00              12/27/2012
      0241111368              $243.36                $0.00              12/27/2012
      0241111368              $486.72                $0.00              12/27/2012
      0241111368              $243.36                $0.00              12/27/2012
      0245368345              $468.86                $0.00              12/27/2012
      0245368345              $236.00                $0.00              12/27/2012
      0245368345              $405.60                $0.00              12/28/2012
      0245368345              $156.18                $0.00              12/28/2012
      0245368345              $486.72                $0.00              12/28/2012
      0256763293              $535.68                $0.00              12/28/2012
      0256763293              $535.76                $0.00              12/28/2012
      0256763293              $334.90                $0.00              12/28/2012
      0256763293              $535.84                $0.00              12/28/2012
      0256763293              $267.92                $0.00              12/28/2012
      0256763293              $535.76                $0.00              12/28/2012
      0256763293              $736.62                $0.00              12/28/2012
      0262484801              $730.08                $0.00              12/28/2012
      0263081101              $602.82                $0.00              12/28/2012
      0263081101              $535.84                $0.00              12/28/2012
      0227344958              $602.82                $0.00              12/31/2012
      0241111368              $312.36                $0.00              12/31/2012
      0241111368              $312.36                $0.00              12/31/2012




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       Claim Number   Total Charged      Amount Committed         Date Received
      0257964742              $602.82                $0.00              12/31/2012
      0259034189              $468.62                $0.00              12/31/2012
      0260911755              $162.24                $0.00              12/31/2012
      0260911755              $162.24                $0.00              12/31/2012
      0260911755              $162.24                $0.00              12/31/2012
      0260911755              $162.24                $0.00              12/31/2012
      0260911755               $81.12                $0.00              12/31/2012
      0263081101              $405.60                $0.00              12/31/2012
      0260911755            $1,205.64                $0.00                 1/3/2013
      0245313549            $1,541.28              $680.64                 1/7/2013
      0263081101              $116.18                $0.00                 1/7/2013
      0263081101              $116.18                $0.00                 1/7/2013
      0263081101               $40.00                $0.00                 1/7/2013
      0263081101              $118.09                $0.00                 1/7/2013
      0263081101               $78.09                $0.00                 1/7/2013
      0245313549              $602.62                $0.00                 1/8/2013
      0256763293              $162.24                $0.00                 1/8/2013
      0256763293              $162.24                $0.00                 1/8/2013
      0256763293              $162.24                $0.00                 1/8/2013
      0256763293              $162.24                $0.00                 1/8/2013
      0256763293              $162.24                $0.00                 1/8/2013
      0270101009              $736.34                $0.00                 1/8/2013
      0270101009            $1,036.87                $0.00                 1/8/2013
      0220567150              $971.95                $0.00                 1/9/2013
      0245368345              $736.66                $0.00                 1/9/2013
      0245368345              $401.76                $0.00                 1/9/2013
      0255291577              $892.32                $0.00                 1/9/2013
      0255291577              $803.76                $0.00                 1/9/2013
      0257964742              $334.90                $0.00                 1/9/2013
      0262484801            $1,069.10                $0.00                 1/9/2013
      0270101009              $634.99                $0.00                 1/9/2013
      0270101009              $401.64                $0.00                 1/9/2013
      0270101009              $669.60                $0.00                 1/9/2013
      0270101009              $992.32                $0.00                 1/9/2013
      0270101009              $992.32                $0.00                 1/9/2013
      0241111368            $1,071.68                $0.00                1/11/2013
      0241111368            $1,071.68                $0.00                1/11/2013
      0241111368            $1,071.68                $0.00                1/11/2013
      0250922911              $602.82                $0.00                1/11/2013
      0250922911              $602.82                $0.00                1/11/2013
      0251515986              $669.80                $0.00                1/11/2013
      0259034189              $401.64                $0.00                1/11/2013
      0259034189              $486.72                $0.00                1/11/2013
      0231667031              $401.88                $0.00                1/14/2013




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       Claim Number   Total Charged      Amount Committed         Date Received
      0231667031              $334.90                $0.00                1/14/2013
      0245368345              $567.84                $0.00                1/14/2013
      0245368345              $405.60                $0.00                1/14/2013
      0252198022              $401.88              $212.80                1/14/2013
      0252198022              $535.84              $340.48                1/14/2013
      0254090780              $535.52                $0.00                1/14/2013
      0261993521            $1,283.90                $0.00                1/14/2013
      0261993521            $1,084.90                $0.00                1/14/2013
      0268644549              $518.86                $0.00                1/14/2013
      0223947086              $468.86                $0.00                1/16/2013
      0245313549              $567.84                $0.00                1/16/2013
      0245313549              $567.84                $0.00                1/16/2013
      0246851430              $602.82                $0.00                1/16/2013
      0263081101              $468.86                $0.00                1/16/2013
      0263081101              $730.08                $0.00                1/16/2013
      0268608536              $183.36                $0.00                1/17/2013
      0268608536              $890.08                $0.00                1/17/2013
      0250634607              $162.24                $0.00                1/18/2013
      0250634607              $162.24                $0.00                1/18/2013
      0250634607              $162.24                $0.00                1/18/2013
      0263081101              $133.96                $0.00                1/18/2013
      0263081101              $133.96                $0.00                1/18/2013
      0263081101               $66.98                $0.00                1/18/2013
      0263081101              $133.96                $0.00                1/18/2013
      0263081101              $133.96                $0.00                1/18/2013
      0263081101              $133.96                $0.00                1/18/2013
      0263081101              $133.96                $0.00                1/18/2013
      0263081101              $123.16                $0.00                1/18/2013
      0263081101              $133.96                $0.00                1/18/2013
      0241111368              $973.44                $0.00                1/22/2013
      0241111368              $963.44                $0.00                1/22/2013
      0241111368              $162.24                $0.00                1/22/2013
      0241111368              $162.24                $0.00                1/22/2013
      0241111368              $162.24                $0.00                1/22/2013
      0241111368              $162.24                $0.00                1/22/2013
      0241111368              $162.24                $0.00                1/22/2013
      0241111368              $162.24                $0.00                1/22/2013
      0245313549              $133.88                $0.00                1/22/2013
      0245313549              $133.88                $0.00                1/22/2013
      0245313549              $133.88                $0.00                1/22/2013
      0245313549              $133.88                $0.00                1/22/2013
      0245313549              $133.92                $0.00                1/22/2013
      0245313549              $133.88                $0.00                1/22/2013
      0245313549               $66.94                $0.00                1/22/2013




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       Claim Number   Total Charged      Amount Committed         Date Received
      0245313549              $133.88                $0.00                1/22/2013
      0245313549              $133.88                $0.00                1/22/2013
      0245313549              $133.92                $0.00                1/22/2013
      0245313549              $133.88                $0.00                1/22/2013
      0260911755              $162.24                $0.00                1/22/2013
      0260911755              $162.24                $0.00                1/22/2013
      0260911755              $162.24                $0.00                1/22/2013
      0260911755              $162.24                $0.00                1/22/2013
      0260911755               $81.12                $0.00                1/22/2013
      0268644549              $162.24                $0.00                1/22/2013
      0268644549              $162.24                $0.00                1/22/2013
      0268644549              $162.24                $0.00                1/22/2013
      0268644549               $21.12                $0.00                1/22/2013
      0268644549              $162.24                $0.00                1/22/2013
      0268644549              $241.12                $0.00                1/22/2013
      0223947086              $486.72                $0.00                1/23/2013
      0270559099               $80.88                $0.00                1/23/2013
      0270559099            $1,375.24                $0.00                1/23/2013
      0260911755            $1,272.10                $0.00                1/29/2013
      0263081101              $468.86                $0.00                1/29/2013
      0263081101              $162.24                $0.00                1/29/2013
      0263081101              $162.24                $0.00                1/29/2013
      0263081101              $162.24                $0.00                1/29/2013
      0263081101              $162.24                $0.00                1/29/2013
      0263081101               $81.12                $0.00                1/29/2013
      0268644549              $911.20                $0.00                1/29/2013
      0270101009              $206.50                $0.00                1/29/2013
      0202321253              $505.60                $0.00                1/30/2013
      0244951786              $133.96                $0.00                1/30/2013
      0245313549              $405.60                $0.00                1/30/2013
      0245313549              $405.60                $0.00                1/30/2013
      0245313549              $590.60                $0.00                1/30/2013
      0245313549              $730.08              $510.48                1/30/2013
      0256763293              $567.84                $0.00                1/30/2013
      0256763293              $401.64                $0.00                1/30/2013
      0256763293              $567.84                $0.00                1/30/2013
      0256763293              $401.64                $0.00                1/30/2013
      0256763293              $567.84                $0.00                1/30/2013
      0256763293              $870.22                $0.00                1/30/2013
      0256763293              $870.22                $0.00                1/30/2013
      0268001419              $830.08                $0.00                1/30/2013
      0268001419              $100.00                $0.00                1/30/2013
      0268644549              $561.54                $0.00                1/30/2013
      0268644549            $1,743.32                $0.00                1/30/2013




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       Claim Number   Total Charged      Amount Committed         Date Received
      0269621420            $1,188.36                $0.00                1/30/2013
      0270101009              $736.34                $0.00                1/30/2013
      0270101009              $567.84                $0.00                1/30/2013
      0270101009              $567.84                $0.00                1/30/2013
      0257964742            $1,840.38                $0.00                 2/4/2013
      0231660951              $597.01                $0.00                 2/5/2013
      0231667031              $334.90                $0.00                 2/5/2013
      0241111368              $535.60                $0.00                 2/5/2013
      0241111368              $535.52                $0.00                 2/5/2013
      0241111368              $312.36                $0.00                 2/5/2013
      0241111368              $486.72                $0.00                 2/5/2013
      0241111368              $937.24                $0.00                 2/5/2013
      0241111368              $234.27                $0.00                 2/5/2013
      0241111368              $567.84                $0.00                 2/5/2013
      0241111368              $648.96                $0.00                 2/5/2013
      0241111368              $334.70                $0.00                 2/5/2013
      0241111368              $624.72                $0.00                 2/5/2013
      0241111368              $669.48                $0.00                 2/5/2013
      0245313549              $669.40                $0.00                 2/5/2013
      0245368345              $486.72                $0.00                 2/5/2013
      0245368345              $486.72                $0.00                 2/5/2013
      0250634607              $803.52                $0.00                 2/5/2013
      0250634607              $602.46                $0.00                 2/5/2013
      0250634607              $567.84                $0.00                 2/5/2013
      0252198022              $911.20                $0.00                 2/5/2013
      0254090780              $401.64                $0.00                 2/5/2013
      0256763293              $373.92                $0.00                 2/5/2013
      0268001419              $518.92                $0.00                 2/5/2013
      0245368345              $468.08                $0.00                 2/6/2013
      0245368345              $669.40                $0.00                 2/6/2013
      0268644549              $648.96                $0.00                 2/7/2013
      0259034189              $567.84                $0.00                 2/8/2013
      0260911755              $324.48                $0.00                 2/8/2013
      0268001419              $518.96                $0.00                 2/8/2013
      0268001419            $1,338.80               $13.94                 2/8/2013
      0257964742              $602.46                $0.00                2/13/2013
      0261993521              $270.02                $0.00                2/13/2013
      0261993521              $269.94                $0.00                2/13/2013
      0261993521              $380.88                $0.00                2/13/2013
      0261993521              $380.88                $0.00                2/13/2013
      0261993521              $380.88                $0.00                2/13/2013
      0261993521              $380.88                $0.00                2/13/2013
      0261993521              $269.94                $0.00                2/13/2013
      0261993521              $269.94                $0.00                2/13/2013




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       Claim Number   Total Charged      Amount Committed         Date Received
      0263081101              $602.82                $0.00                2/13/2013
      0263081101              $468.86                $0.00                2/13/2013
      0263081101              $162.24                $0.00                2/13/2013
      0263081101              $162.24                $0.00                2/13/2013
      0263081101              $162.24                $0.00                2/13/2013
      0263081101              $162.24                $0.00                2/13/2013
      0263081101              $162.24                $0.00                2/13/2013
      0270101009               $66.94                $0.00                2/13/2013
      0270101009              $133.88                $0.00                2/13/2013
      0270101009              $133.88                $0.00                2/13/2013
      0270101009              $133.88                $0.00                2/13/2013
      0270101009              $133.88                $0.00                2/13/2013
      0270101009              $133.88                $0.00                2/13/2013
      0270101009              $133.88                $0.00                2/13/2013
      0270101009              $133.88                $0.00                2/13/2013
      0246851430              $133.88                $0.00                2/18/2013
      0246851430               $66.94                $0.00                2/18/2013
      0246851430              $133.88                $0.00                2/18/2013
      0246851430              $133.38                $0.00                2/18/2013
      0257964742              $162.24                $0.00                2/18/2013
      0257964742               $81.12                $0.00                2/18/2013
      0257964742              $162.24                $0.00                2/18/2013
      0268608536              $162.24                $0.00                2/18/2013
      0268608536              $162.24                $0.00                2/18/2013
      0268608536              $162.24                $0.00                2/18/2013
      0268608536              $162.24                $0.00                2/18/2013
      0268608536              $162.24                $0.00                2/18/2013
      0268608536              $162.24                $0.00                2/18/2013
      0268608536              $162.24                $0.00                2/18/2013
      0268608536              $162.24                $0.00                2/18/2013
      0268608536              $162.24                $0.00                2/18/2013
      0245368345              $334.70                $0.00                2/20/2013
      0245368345              $334.70                $0.00                2/20/2013
      0252198022              $803.40                $0.00                2/20/2013
      0259034189              $736.34                $0.00                2/20/2013
      0268608536            $1,004.10                $0.00                2/20/2013
      0268644549            $1,204.92                $0.00                2/20/2013
      0270559099            $1,073.44                $0.00                2/20/2013
      0270559099              $937.16                $0.00                2/20/2013
      0231660951              $108.61                $0.00                2/22/2013
      0231660951              $125.66                $0.00                2/22/2013
      0231660951               $50.38                $0.00                2/22/2013
      0231660951              $118.09                $0.00                2/22/2013
      0231660951               $88.09                $0.00                2/22/2013




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       Claim Number   Total Charged      Amount Committed         Date Received
      0231660951              $116.18                $0.00                2/22/2013
      0231660951              $148.99                $0.00                2/22/2013
      0231660951              $125.66                $0.00                2/22/2013
      0234204105              $535.84                $0.00                2/22/2013
      0245313549              $535.52                $0.00                2/22/2013
      0245313549              $468.58                $0.00                2/22/2013
      0245313549              $162.24                $0.00                2/22/2013
      0245313549              $162.24                $0.00                2/22/2013
      0245313549               $81.12                $0.00                2/22/2013
      0245313549              $162.24                $0.00                2/22/2013
      0245313549              $162.24                $0.00                2/22/2013
      0245313549               $81.12                $0.00                2/22/2013
      0245313549               $81.12               $56.72                2/22/2013
      0245313549              $162.24              $113.44                2/22/2013
      0245313549              $352.34              $113.44                2/22/2013
      0245313549              $162.24              $113.44                2/22/2013
      0245313549              $162.24              $113.44                2/22/2013
      0255291577              $324.48                $0.00                2/22/2013
      0255291577              $535.84                $0.00                2/22/2013
      0256763293              $486.72                $0.00                2/22/2013
      0256763293              $405.60                $0.00                2/22/2013
      0256763293              $486.72                $0.00                2/22/2013
      0268001419              $811.20                $0.00                2/22/2013
      0268001419              $162.24                $0.00                2/22/2013
      0268001419              $162.24                $0.00                2/22/2013
      0268001419              $162.24                $0.00                2/22/2013
      0268001419              $162.24                $0.00                2/22/2013
      0268001419              $162.24                $0.00                2/22/2013
      0268644549            $1,297.92                $0.00                2/22/2013
      0270101009              $133.88                $0.00                2/22/2013
      0270101009              $133.88                $0.00                2/22/2013
      0270101009              $736.34                $0.00                2/22/2013
      0231660951              $132.98                $0.00                2/25/2013
      0231660951              $133.88                $0.00                2/25/2013
      0231660951              $133.88                $0.00                2/25/2013
      0231660951              $133.88                $0.00                2/25/2013
      0231660951              $133.88                $0.00                2/25/2013
      0231660951              $133.88                $0.00                2/25/2013
      0231660951              $133.88                $0.00                2/25/2013
      0231660951               $80.88                $0.00                2/25/2013
      0231660951              $133.88                $0.00                2/25/2013
      0231660951              $133.88                $0.00                2/25/2013
      0231660951              $133.88                $0.00                2/25/2013
      0231660951              $121.28                $0.00                2/25/2013




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       Claim Number   Total Charged      Amount Committed         Date Received
      0231660951              $133.88                $0.00                2/25/2013
      0231660951              $170.32                $0.00                2/25/2013
      0256763293              $133.88                $0.00                2/26/2013
      0256763293              $133.88                $0.00                2/26/2013
      0256763293              $133.88                $0.00                2/26/2013
      0256763293              $133.88                $0.00                2/26/2013
      0256763293              $133.88                $0.00                2/26/2013
      0256763293              $133.88                $0.00                2/26/2013
      0256763293              $133.88                $0.00                2/26/2013
      0256763293              $133.88                $0.00                2/26/2013
      0256763293              $133.88                $0.00                2/26/2013
      0256763293              $133.88                $0.00                2/26/2013
      0256763293              $133.88                $0.00                2/26/2013
      0256763293              $133.88                $0.00                2/26/2013
      0256763293              $133.88                $0.00                2/26/2013
      0256763293              $133.88                $0.00                2/26/2013
      0256763293              $133.88                $0.00                2/26/2013
      0256763293              $133.88                $0.00                2/26/2013
      0256763293              $133.88                $0.00                2/26/2013
      0256763293              $133.88                $0.00                2/26/2013
      0256763293              $133.88                $0.00                2/26/2013
      0256763293              $133.88                $0.00                2/26/2013
      0256763293              $133.88                $0.00                2/26/2013
      0256763293              $133.88                $0.00                2/26/2013
      0256763293              $133.88                $0.00                2/26/2013
      0256763293              $133.88                $0.00                2/26/2013
      0256763293              $133.88                $0.00                2/26/2013
      0256763293              $133.88                $0.00                2/26/2013
      0256763293              $133.88                $0.00                2/26/2013
      0256763293              $133.88                $0.00                2/26/2013
      0256763293              $133.88                $0.00                2/26/2013
      0256763293              $133.88                $0.00                2/26/2013
      0256763293              $133.88                $0.00                2/26/2013
      0256763293              $133.88                $0.00                2/26/2013
      0256763293              $133.88                $0.00                2/26/2013
      0256763293              $133.88                $0.00                2/26/2013
      0250634607              $730.08                $0.00                2/27/2013
      0263081101              $486.72                $0.00                2/27/2013
      0269621420              $803.28                $0.00                2/27/2013
      0270101009              $486.72                $0.00                2/27/2013
      0270101009              $486.72                $0.00                2/27/2013
      0273280123              $911.20                $0.00                2/27/2013
      0256763293              $803.28                $0.00                2/28/2013
      0256763293              $669.40                $0.00                2/28/2013




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       Claim Number   Total Charged      Amount Committed         Date Received
      0260911755              $567.84                $0.00                2/28/2013
      0262897498              $719.78                $0.00                2/28/2013
      0231660951              $234.27                $0.00                 3/5/2013
      0231667031              $535.84                $0.00                 3/5/2013
      0246851430              $156.18                $0.00                 3/5/2013
      0252198022              $567.84                $0.00                 3/5/2013
      0260911755              $602.46                $0.00                 3/5/2013
      0260911755              $535.52                $0.00                 3/5/2013
      0250634607            $1,137.98                $0.00                 3/8/2013
      0254090780              $602.46                $0.00                 3/8/2013
      0256763293              $197.22                $0.00                 3/8/2013
      0259034189              $648.96                $0.00                 3/8/2013
      0273280123              $611.48                $0.00                3/11/2013
      0273280123              $535.52                $0.00                3/11/2013
      0273280123              $503.60                $0.00                3/11/2013
      0245368345              $468.58                $0.00                3/12/2013
      0245368345              $133.88                $0.00                3/12/2013
      0245368345              $133.88                $0.00                3/12/2013
      0245368345              $133.88                $0.00                3/12/2013
      0245368345               $66.94                $0.00                3/12/2013
      0268001419              $162.24                $0.00                3/12/2013
      0268001419              $162.24                $0.00                3/12/2013
      0268001419              $162.24                $0.00                3/12/2013
      0268608536              $133.88                $0.00                3/12/2013
      0268608536              $133.88                $0.00                3/12/2013
      0268608536              $133.88                $0.00                3/12/2013
      0268608536              $133.88                $0.00                3/12/2013
      0268608536               $66.94                $0.00                3/12/2013
      0268644549              $162.24                $0.00                3/12/2013
      0268644549              $162.24                $0.00                3/12/2013
      0268644549              $162.24                $0.00                3/12/2013
      0260911755               $78.09                $0.00                3/13/2013
      0261993521            $1,301.64                $0.00                3/13/2013
      0261993521            $1,084.70                $0.00                3/13/2013
      0263081101              $267.92                $0.00                3/13/2013
      0263081101              $602.12                $0.00                3/13/2013
      0263081101              $567.84                $0.00                3/13/2013
      0263081101              $535.84                $0.00                3/13/2013
      0273280123              $405.60                $0.00                3/13/2013
      0278460647              $133.88                $0.00                3/14/2013
      0278460647              $133.88                $0.00                3/14/2013
      0278460647              $132.98                $0.00                3/14/2013
      0278460647              $133.96                $0.00                3/14/2013
      0278460647              $133.88                $0.00                3/14/2013




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       Claim Number   Total Charged      Amount Committed         Date Received
      0278460647              $133.88                $0.00                3/14/2013
      0278460647              $133.96                $0.00                3/14/2013
      0278460647              $133.88                $0.00                3/14/2013
      0278460647              $133.96                $0.00                3/14/2013
      0278460647              $101.96                $0.00                3/14/2013
      0278460647              $133.88                $0.00                3/14/2013
      0278460647              $133.96                $0.00                3/14/2013
      0278460647              $133.88                $0.00                3/14/2013
      0278460647              $133.88                $0.00                3/14/2013
      0278460647              $133.88                $0.00                3/14/2013
      0278460647              $133.88                $0.00                3/14/2013
      0278460647              $133.96                $0.00                3/14/2013
      0278460647              $133.92                $0.00                3/14/2013
      0278460647               $66.94                $0.00                3/14/2013
      0278460647              $133.88                $0.00                3/14/2013
      0278460647              $133.88                $0.00                3/14/2013
      0257964742            $3,332.04                $0.00                3/15/2013
      0245313549              $869.52                $0.00                3/18/2013
      0245313549              $567.84              $397.04                3/18/2013
      0252198022              $468.58                $0.00                3/18/2013
      0268608536              $648.96                $0.00                3/18/2013
      0268644549              $535.52                $0.00                3/18/2013
      0268644549              $669.40                $0.00                3/18/2013
      0231660951              $133.88                $0.00                3/19/2013
      0231660951              $116.18                $0.00                3/19/2013
      0231660951               $40.00                $0.00                3/19/2013
      0231660951              $126.88                $0.00                3/19/2013
      0231660951              $133.88                $0.00                3/19/2013
      0231660951               $95.08                $0.00                3/19/2013
      0231660951               $66.94                $0.00                3/19/2013
      0231660951              $103.18                $0.00                3/19/2013
      0231660951              $133.88                $0.00                3/19/2013
      0231660951              $133.88                $0.00                3/19/2013
      0245313549              $486.72                $0.00                3/19/2013
      0245313549              $486.72                $0.00                3/19/2013
      0246851430              $730.08                $0.00                3/19/2013
      0246851430              $468.58                $0.00                3/19/2013
      0252198022              $324.48                $0.00                3/19/2013
      0273134956              $133.88                $0.00                3/19/2013
      0273134956              $133.88                $0.00                3/19/2013
      0273134956              $133.88                $0.00                3/19/2013
      0273134956              $133.88                $0.00                3/19/2013
      0273134956              $133.88                $0.00                3/19/2013
      0273134956              $133.88                $0.00                3/19/2013




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       Claim Number   Total Charged      Amount Committed         Date Received
      0273134956              $133.88                $0.00                3/19/2013
      0273134956              $133.88                $0.00                3/19/2013
      0273134956              $133.88                $0.00                3/19/2013
      0273134956               $35.02                $0.00                3/19/2013
      0273134956              $133.88                $0.00                3/19/2013
      0273134956              $133.88                $0.00                3/19/2013
      0273134956              $133.88                $0.00                3/19/2013
      0273134956              $133.88                $0.00                3/19/2013
      0273134956              $209.84                $0.00                3/19/2013
      0273134956              $133.88                $0.00                3/19/2013
      0278460647              $937.08                $0.00                3/20/2013
      0278460647              $518.92                $0.00                3/20/2013
      0278460647            $1,539.04                $0.00                3/20/2013
      0278460647              $507.84                $0.00                3/20/2013
      0245313549              $401.64                $0.00                3/21/2013
      0245313549              $401.64                $0.00                3/21/2013
      0255291577              $602.82                $0.00                3/21/2013
      0270559099              $736.34                $0.00                3/21/2013
      0273280123              $994.70                $0.00                3/21/2013
      0270101009              $200.82                $0.00                3/25/2013
      0270101009              $535.52                $0.00                3/25/2013
      0270101009              $736.34                $0.00                3/25/2013
      0273134956              $440.83                $0.00                3/25/2013
      0271799073               $50.38                $0.00                3/26/2013
      0271799073              $284.65                $0.00                3/26/2013
      0254090780              $401.64                $0.00                3/27/2013
      0256763293              $602.46                $0.00                3/27/2013
      0256763293              $133.88                $0.00                3/27/2013
      0256763293              $133.88                $0.00                3/27/2013
      0256763293              $133.88                $0.00                3/27/2013
      0256763293               $66.94                $0.00                3/27/2013
      0256763293              $133.88                $0.00                3/27/2013
      0256763293              $669.40                $0.00                3/27/2013
      0256763293              $669.40                $0.00                3/27/2013
      0256763293              $669.40                $0.00                3/27/2013
      0259034189              $468.58                $0.00                3/27/2013
      0263081101              $156.18                $0.00                3/27/2013
      0270101009              $648.96                $0.00                3/27/2013
      0270101009              $648.96                $0.00                3/27/2013
      0271799073              $148.99                $0.00                3/27/2013
      0271799073               $50.38                $0.00                3/27/2013
      0271799073              $448.02                $0.00                3/27/2013
      0271799073            $1,389.18                $0.00                3/27/2013
      0271799073              $992.32                $0.00                3/27/2013




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       Claim Number   Total Charged      Amount Committed         Date Received
      0273000539              $830.08                $0.00                3/27/2013
      0273000539              $100.00                $0.00                3/27/2013
      0277807558              $148.99                $0.00                3/27/2013
      0277807558              $125.66                $0.00                3/27/2013
      0277807558              $108.61                $0.00                3/27/2013
      0277807558               $88.09                $0.00                3/27/2013
      0277807558              $125.66                $0.00                3/27/2013
      0278460647              $234.27                $0.00                3/27/2013
      0278460647              $567.84                $0.00                3/27/2013
      0231667031              $133.96                $0.00                 4/2/2013
      0231667031              $133.96                $0.00                 4/2/2013
      0231667031              $133.96                $0.00                 4/2/2013
      0231667031              $133.96                $0.00                 4/2/2013
      0245313549              $324.48                $0.00                 4/2/2013
      0245313549              $324.48                $0.00                 4/2/2013
      0246851430               $78.09                $0.00                 4/2/2013
      0260911755            $1,004.10                $0.00                 4/2/2013
      0260911755              $162.24              $113.44                 4/2/2013
      0260911755              $162.24              $113.44                 4/2/2013
      0260911755              $162.24              $113.44                 4/2/2013
      0260911755              $162.24              $113.44                 4/2/2013
      0268644549              $648.96                $0.00                 4/2/2013
      0273280123              $937.16                $0.00                 4/2/2013
      0273280123              $811.20                $0.00                 4/2/2013
      0277807558              $116.18                $0.00                 4/2/2013
      0277807558              $118.09                $0.00                 4/2/2013
      0277807558              $100.00                $0.00                 4/2/2013
      0277807558              $830.08                $0.00                 4/2/2013
      0278460647              $803.28                $0.00                 4/4/2013
      0255291577              $162.24                $0.00                 4/8/2013
      0255291577               $81.12                $0.00                 4/8/2013
      0255291577              $162.24                $0.00                 4/8/2013
      0255291577              $162.24                $0.00                 4/8/2013
      0255291577              $432.25                $0.00                 4/8/2013
      0256763293              $730.08                $0.00                 4/8/2013
      0256763293              $730.08                $0.00                 4/8/2013
      0256763293              $730.08                $0.00                 4/8/2013
      0245313549              $648.96              $283.60                4/10/2013
      0246851430              $486.72                $0.00                4/10/2013
      0260911755              $234.27              $202.68                4/10/2013
      0261993521            $2,169.40                $0.00                4/10/2013
      0263081101              $535.84                $0.00                4/10/2013
      0263081101              $535.84                $0.00                4/10/2013
      0263081101              $486.72                $0.00                4/10/2013




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       Claim Number   Total Charged      Amount Committed         Date Received
      0268644549            $1,137.98                $0.00                4/10/2013
      0269621420            $1,004.10                $0.00                4/10/2013
      0252198022              $535.52                $0.00                4/11/2013
      0263081101              $156.18                $0.00                4/11/2013
      0263081101               $78.09                $0.00                4/11/2013
      0268001419            $1,071.04                $0.00                4/11/2013
      0271799073              $133.88                $0.00                4/11/2013
      0271799073              $170.32                $0.00                4/11/2013
      0271799073              $133.88                $0.00                4/11/2013
      0271799073              $133.88                $0.00                4/11/2013
      0271799073              $133.88                $0.00                4/11/2013
      0271799073              $133.88                $0.00                4/11/2013
      0271799073              $133.88                $0.00                4/11/2013
      0271799073              $133.88                $0.00                4/11/2013
      0271799073              $133.88                $0.00                4/11/2013
      0271799073              $133.88                $0.00                4/11/2013
      0271799073              $133.88                $0.00                4/11/2013
      0271799073              $133.88                $0.00                4/11/2013
      0271799073              $133.88                $0.00                4/11/2013
      0271799073               $13.94                $0.00                4/11/2013
      0271799073              $133.88                $0.00                4/11/2013
      0271799073              $133.88                $0.00                4/11/2013
      0277807558              $571.96                $0.00                4/11/2013
      0277807558              $669.40                $0.00                4/11/2013
      0277807558              $549.46                $0.00                4/11/2013
      0270101009              $535.52                $0.00                4/12/2013
      0252198022              $162.24                $0.00                4/15/2013
      0252198022               $81.12                $0.00                4/15/2013
      0252198022              $162.24                $0.00                4/15/2013
      0252198022              $162.24                $0.00                4/15/2013
      0268001419               $66.94                $0.00                4/15/2013
      0268001419              $133.88                $0.00                4/15/2013
      0268001419              $133.88                $0.00                4/15/2013
      0268001419              $243.36                $0.00                4/16/2013
      0270101009              $405.60                $0.00                4/16/2013
      0270101009              $405.60                $0.00                4/16/2013
      0273000539              $705.84                $0.00                4/16/2013
      0273000539               $50.38                $0.00                4/16/2013
      0273000539              $884.16                $0.00                4/16/2013
      0277807558              $118.09                $0.00                4/16/2013
      0277807558              $116.18                $0.00                4/16/2013
      0277807558               $78.09                $0.00                4/16/2013
      0268608536              $535.52                $0.00                4/17/2013
      0245313549              $486.72                $0.00                4/18/2013




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       Claim Number   Total Charged      Amount Committed         Date Received
      0245313549              $535.52                $0.00                4/18/2013
      0245313549              $602.46                $0.00                4/18/2013
      0245313549              $486.72                $0.00                4/18/2013
      0245313549              $524.68                $0.00                4/18/2013
      0246851430              $535.52                $0.00                4/18/2013
      0259034189              $567.84                $0.00                4/18/2013
      0259034189              $669.40                $0.00                4/18/2013
      0270101009              $194.08                $0.00                4/18/2013
      0270101009              $133.88                $0.00                4/18/2013
      0270101009              $133.88                $0.00                4/18/2013
      0270101009              $133.18                $0.00                4/18/2013
      0273000539              $567.84              $397.04                4/18/2013
      0273134956              $133.88                $0.00                4/18/2013
      0273134956              $133.88                $0.00                4/18/2013
      0273134956              $133.88                $0.00                4/18/2013
      0273134956              $133.88                $0.00                4/18/2013
      0273134956              $133.88                $0.00                4/18/2013
      0273134956               $66.94                $0.00                4/18/2013
      0273134956              $133.88                $0.00                4/18/2013
      0273134956              $133.88                $0.00                4/18/2013
      0231660951              $200.82                $0.00                4/23/2013
      0231660951              $312.36                $0.00                4/23/2013
      0231660951              $669.40                $0.00                4/23/2013
      0231660951              $803.28                $0.00                4/23/2013
      0254090780              $468.58                $0.00                4/23/2013
      0255291577              $602.79                $0.00                4/23/2013
      0255291577              $405.60                $0.00                4/23/2013
      0256674417              $559.90                $0.00                4/23/2013
      0256674417              $415.60                $0.00                4/23/2013
      0260911755              $390.45              $225.30                4/23/2013
      0270559099              $669.40                $0.00                4/23/2013
      0270559099            $1,045.68                $0.00                4/23/2013
      0271799073              $892.32                $0.00                4/23/2013
      0273280123              $708.24                $0.00                4/23/2013
      0273280123              $911.20                $0.00                4/23/2013
      0256763293              $736.34                $0.00                4/30/2013
      0256763293              $669.40                $0.00                4/30/2013
      0256763293              $736.34                $0.00                4/30/2013
      0271799073              $401.64                $0.00                4/30/2013
      0271799073              $602.46                $0.00                4/30/2013
      0260911755              $937.16                $0.00                 5/1/2013
      0277807558              $669.40                $0.00                 5/1/2013
      0277807558              $468.58                $0.00                 5/1/2013
      0277807558              $648.96                $0.00                 5/1/2013




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       Claim Number   Total Charged      Amount Committed         Date Received
      0278460647              $790.09                $0.00                 5/1/2013
      0273134956              $468.58                $0.00                 5/6/2013
      0220567150              $273.36                $0.00                 5/8/2013
      0231660951              $234.27                $0.00                 5/8/2013
      0245313549              $730.08                $0.00                 5/8/2013
      0245313549              $405.60                $0.00                 5/8/2013
      0245313549              $405.60                $0.00                 5/8/2013
      0252198022              $602.46                $0.00                 5/8/2013
      0256763293              $648.96                $0.00                 5/8/2013
      0256763293              $648.96                $0.00                 5/8/2013
      0256763293              $648.96                $0.00                 5/8/2013
      0260911755              $312.36                $0.00                 5/8/2013
      0260911755              $405.60                $0.00                 5/8/2013
      0263081101              $669.80                $0.00                 5/8/2013
      0263081101              $730.08                $0.00                 5/8/2013
      0263081101              $669.80                $0.00                 5/8/2013
      0268644549            $1,071.04                $0.00                 5/8/2013
      0268644549              $892.32                $0.00                 5/8/2013
      0269621420              $669.40                $0.00                 5/8/2013
      0271799073            $1,472.68                $0.00                 5/8/2013
      0273000539              $669.40                $0.00                 5/8/2013
      0277807558              $234.27                $0.00                 5/8/2013
      0261993521            $2,386.34                $0.00                 5/9/2013
      0263081101              $567.84                $0.00                 5/9/2013
      0273280123              $736.34                $0.00                 5/9/2013
      0273280123              $811.20                $0.00                 5/9/2013
      0254090780              $133.88                $0.00                5/14/2013
      0254090780              $133.88                $0.00                5/14/2013
      0254090780              $133.88                $0.00                5/14/2013
      0259034189              $133.88                $0.00                5/14/2013
      0259034189              $133.88                $0.00                5/14/2013
      0259034189              $133.88                $0.00                5/14/2013
      0270559099              $133.88                $0.00                5/14/2013
      0270559099              $133.88                $0.00                5/14/2013
      0270559099              $133.88                $0.00                5/14/2013
      0270559099              $133.88                $0.00                5/14/2013
      0270559099              $133.88                $0.00                5/14/2013
      0271799073              $162.24                $0.00                5/14/2013
      0271799073              $162.24                $0.00                5/14/2013
      0271799073              $162.24                $0.00                5/14/2013
      0271799073              $162.24                $0.00                5/14/2013
      0271799073               $81.12                $0.00                5/14/2013
      0273134956               $78.09                $0.00                5/14/2013
      0273134956              $241.12                $0.00                5/14/2013




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       Claim Number   Total Charged      Amount Committed         Date Received
      0273134956              $162.24                $0.00                5/14/2013
      0273134956              $162.24                $0.00                5/14/2013
      0273134956              $102.24                $0.00                5/14/2013
      0273134956              $162.24                $0.00                5/14/2013
      0273134956              $162.24                $0.00                5/14/2013
      0273134956              $162.24                $0.00                5/14/2013
      0277807558              $116.18                $0.00                5/14/2013
      0277807558              $116.18                $0.00                5/14/2013
      0277807558               $40.00                $0.00                5/14/2013
      0277807558              $118.09                $0.00                5/14/2013
      0278460647              $133.88                $0.00                5/14/2013
      0278460647              $133.88                $0.00                5/14/2013
      0278460647              $133.88                $0.00                5/14/2013
      0278460647              $133.88                $0.00                5/14/2013
      0278460647              $133.88                $0.00                5/14/2013
      0278460647              $133.88                $0.00                5/14/2013
      0278460647               $66.94                $0.00                5/14/2013
      0278460647              $133.88                $0.00                5/14/2013
      0259034189              $567.84                $0.00                5/15/2013
      0268608536              $602.46                $0.00                5/15/2013
      0269621420              $468.58                $0.00                5/15/2013
      0231660951              $535.52                $0.00                5/21/2013
      0231660951              $687.38                $0.00                5/21/2013
      0245313549              $535.52                $0.00                5/21/2013
      0245313549              $243.36                $0.00                5/21/2013
      0245313549              $243.36                $0.00                5/21/2013
      0245313549              $535.52                $0.00                5/21/2013
      0245313549              $243.36                $0.00                5/21/2013
      0245313549              $602.46                $0.00                5/21/2013
      0256674417            $1,019.04                $0.00                5/21/2013
      0256763293              $401.64                $0.00                5/21/2013
      0256763293              $401.64                $0.00                5/21/2013
      0256763293              $401.64                $0.00                5/21/2013
      0270101009              $405.60                $0.00                5/21/2013
      0271799073              $736.34                $0.00                5/21/2013
      0273280123              $708.24                $0.00                5/21/2013
      0273280123              $811.20                $0.00                5/21/2013
      0281935908              $133.88                $0.00                5/21/2013
      0281935908              $133.88                $0.00                5/21/2013
      0281935908               $13.94                $0.00                5/21/2013
      0281935908              $170.32                $0.00                5/21/2013
      0281935908              $133.88                $0.00                5/21/2013
      0281935908              $133.88                $0.00                5/21/2013
      0270101009              $602.46                $0.00                5/23/2013




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                          Exhibit B - Outstanding Claim Amounts




       Claim Number   Total Charged      Amount Committed         Date Received
      0231667031              $133.96                $0.00                5/29/2013
      0231667031              $535.34                $0.00                5/29/2013
      0231667031              $133.96                $0.00                5/29/2013
      0259034189              $133.88                $0.00                5/29/2013
      0259034189               $66.94                $0.00                5/29/2013
      0259034189              $133.88                $0.00                5/29/2013
      0268644549              $162.24                $0.00                5/29/2013
      0268644549              $162.24                $0.00                5/29/2013
      0268644549              $162.24                $0.00                5/29/2013
      0268644549              $162.24                $0.00                5/29/2013
      0268644549              $162.24                $0.00                5/29/2013
      0271799073              $788.44                $0.00                5/29/2013
      0271799073              $535.52                $0.00                5/29/2013
      0277807558            $4,334.33                $0.00                5/29/2013
      0277807558              $602.46                $0.00                5/29/2013
      0246851430              $602.46                $0.00                5/30/2013
      0256674417              $648.96                $0.00                5/30/2013
      0260911755              $390.45                $0.00                5/30/2013
      0270559099              $648.96                $0.00                5/30/2013
      0273134956              $669.40                $0.00                5/30/2013
      0277807558              $648.96                $0.00                5/30/2013
      0278460647              $165.18                $0.00                5/30/2013
      0260911755              $803.28                $0.00                 6/4/2013
      0271799073              $648.96                $0.00                 6/4/2013
      0273134956              $486.72                $0.00                 6/4/2013
      0277807558              $468.54                $0.00                 6/4/2013
      0278460647              $730.08                $0.00                 6/4/2013
      0283881399              $535.52                $0.00                 6/4/2013
      0283881399              $835.65                $0.00                 6/4/2013
      0283881399               $50.38                $0.00                 6/4/2013
      0283979960              $362.74                $0.00                 6/4/2013
      0273280123              $870.22                $0.00                 6/5/2013
      0283881399              $838.96                $0.00                 6/5/2013
      0220567150              $162.24                $0.00                6/11/2013
      0231660951              $234.27                $0.00                6/11/2013
      0254090780              $401.64                $0.00                6/11/2013
      0260911755              $282.36                $0.00                6/11/2013
      0261993521            $1,952.46                $0.00                6/11/2013
      0263081101              $535.84                $0.00                6/11/2013
      0263081101              $648.96                $0.00                6/11/2013
      0263081101              $648.96                $0.00                6/11/2013
      0263081101              $468.86                $0.00                6/11/2013
      0268001419              $648.96                $0.00                6/11/2013
      0268644549            $1,004.10                $0.00                6/11/2013




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       Claim Number   Total Charged      Amount Committed         Date Received
      0273280123              $486.72                $0.00                6/11/2013
      0278460647              $669.40                $0.00                6/11/2013
      0285867107               $50.38                $0.00                6/11/2013
      0285867107              $518.92                $0.00                6/11/2013
      0283979960              $438.08                $0.00                6/13/2013
      0283979960              $535.51                $0.00                6/13/2013
      0283979960              $535.52                $0.00                6/13/2013
      0283979960              $765.58                $0.00                6/13/2013
      0283979960              $535.52                $0.00                6/13/2013
      0283979960              $571.96                $0.00                6/13/2013
      0283979960              $750.28                $0.00                6/13/2013
      0231660951            $1,071.04                $0.00                6/14/2013
      0252198022              $535.52                $0.00                6/14/2013
      0268608536              $602.46                $0.00                6/14/2013
      0270101009              $128.47                $0.00                6/14/2013
      0283979960              $234.27                $0.00                6/14/2013
      0283979960              $616.40                $0.00                6/14/2013
      0283979960            $1,241.36                $0.00                6/14/2013
      0283979960              $128.47                $0.00                6/17/2013
      0283979960              $128.47                $0.00                6/17/2013
      0283979960              $162.24                $0.00                6/19/2013
      0283979960              $162.24                $0.00                6/19/2013
      0283979960              $162.24                $0.00                6/19/2013
      0283979960              $162.24                $0.00                6/19/2013
      0283979960              $162.24                $0.00                6/19/2013
      0283979960               $21.12                $0.00                6/19/2013
      0283979960              $162.24                $0.00                6/19/2013
      0283979960              $241.12                $0.00                6/19/2013
      0231660951               $78.09                $0.00                6/20/2013
      0271799073              $133.88                $0.00                6/20/2013
      0271799073              $133.88                $0.00                6/20/2013
      0271799073              $759.68                $0.00                6/20/2013
      0271799073              $133.88                $0.00                6/20/2013
      0277807558              $156.18                $0.00                6/20/2013
      0283881399               $57.57                $0.00                6/20/2013
      0283881399              $148.99                $0.00                6/20/2013
      0273280123              $118.04                $0.00                6/25/2013
      0273280123              $118.04                $0.00                6/25/2013
      0273280123              $118.04                $0.00                6/25/2013
      0273280123              $115.34                $0.00                6/25/2013
      0260911755              $312.36                $0.00                6/27/2013
      0268644549            $1,081.21                $0.00                6/27/2013
      0270559099              $669.40                $0.00                6/27/2013
      0285867107              $992.32                $0.00                6/27/2013




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                          Exhibit B - Outstanding Claim Amounts




       Claim Number   Total Charged      Amount Committed         Date Received
      0285867107              $100.00                $0.00                6/27/2013
      0270559099              $162.24                $0.00                6/28/2013
      0270559099              $567.84                $0.00                6/28/2013
      0273134956              $648.96                $0.00                6/28/2013
      0273134956              $736.34                $0.00                6/28/2013
      0260911755              $588.52                $0.00                 7/2/2013
      0268001419              $324.48              $226.88                 7/2/2013
      0271799073              $803.28                $0.00                 7/2/2013
      0271799073              $952.32                $0.00                 7/2/2013
      0277807558              $567.84                $0.00                 7/2/2013
      0281126003            $2,940.05                $0.00                 7/2/2013
      0281126003            $1,054.48                $0.00                 7/2/2013
      0281126003              $206.56                $0.00                 7/2/2013
      0281126003              $911.20                $0.00                 7/2/2013
      0281126003              $100.00                $0.00                 7/2/2013
      0281126003               $50.38                $0.00                 7/2/2013
      0231667031              $468.86                $0.00                 7/3/2013
      0259034189              $535.52                $0.00                 7/3/2013
      0285867107              $567.89                $0.00                 7/3/2013
      0285867107            $1,338.80                $0.00                 7/3/2013
      0285867107              $324.48                $0.00                 7/3/2013
      0251515986              $535.84                $0.00                7/10/2013
      0252198022              $602.46                $0.00                7/10/2013
      0261993521            $1,301.64                $0.00                7/10/2013
      0273280123              $736.34                $0.00                7/10/2013
      0273280123              $730.08                $0.00                7/10/2013
      0283881399              $937.16                $0.00                7/10/2013
      0268644549              $162.24                $0.00                7/11/2013
      0268644549              $162.24                $0.00                7/11/2013
      0268644549              $162.24                $0.00                7/11/2013
      0271799073              $133.88                $0.00                7/15/2013
      0271799073              $133.88                $0.00                7/15/2013
      0271799073              $133.88                $0.00                7/15/2013
      0271799073              $133.88                $0.00                7/15/2013
      0271799073              $133.88                $0.00                7/15/2013
      0271799073              $133.88                $0.00                7/15/2013
      0271799073               $66.94                $0.00                7/15/2013
      0278460647              $162.24                $0.00                7/15/2013
      0278460647              $162.24                $0.00                7/15/2013
      0278460647              $162.24                $0.00                7/15/2013
      0278460647              $162.24                $0.00                7/15/2013
      0278460647              $162.24                $0.00                7/15/2013
      0231660951            $1,071.04                $0.00                7/16/2013
      0254090780              $602.46                $0.00                7/16/2013




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                          Exhibit B - Outstanding Claim Amounts




       Claim Number   Total Charged      Amount Committed         Date Received
      0260911755              $312.36                $0.00                7/16/2013
      0268644549            $1,071.04                $0.00                7/16/2013
      0283881399              $892.32                $0.00                7/16/2013
      0283881399               $78.09                $0.00                7/16/2013
      0283979960            $1,004.10                $0.00                7/16/2013
      0283979960              $748.96                $0.00                7/16/2013
      0283979960            $1,004.10                $0.00                7/16/2013
      0283979960              $730.08                $0.00                7/16/2013
      0283979960            $1,004.10                $0.00                7/16/2013
      0288691439              $992.53                $0.00                7/16/2013
      0288691439              $830.08                $0.00                7/16/2013
      0283365179              $518.96                $0.00                7/22/2013
      0259034189              $567.84                $0.00                7/23/2013
      0259034189              $602.46                $0.00                7/23/2013
      0270559099              $602.46                $0.00                7/23/2013
      0271799073              $405.60                $0.00                7/23/2013
      0273134956              $535.52                $0.00                7/23/2013
      0273134956              $730.08                $0.00                7/23/2013
      0273280123              $413.14                $0.00                7/23/2013
      0281126003              $468.58                $0.00                7/23/2013
      0281126003              $811.20                $0.00                7/23/2013
      0281126003              $468.58                $0.00                7/23/2013
      0283979960              $156.18                $0.00                7/23/2013
      0273280123              $730.08                $0.00                7/25/2013
      0263081101              $133.96                $0.00                7/30/2013
      0263081101              $133.96                $0.00                7/30/2013
      0263081101              $133.96                $0.00                7/30/2013
      0263081101              $133.96                $0.00                7/30/2013
      0263081101              $133.96                $0.00                7/30/2013
      0263081101               $66.98                $0.00                7/30/2013
      0263081101              $133.96                $0.00                7/30/2013
      0263081101              $114.95                $0.00                7/30/2013
      0263081101              $133.96                $0.00                7/30/2013
      0263081101              $133.96                $0.00                7/30/2013
      0263081101              $133.96                $0.00                7/30/2013
      0263081101               $66.98                $0.00                7/30/2013
      0270559099              $162.24                $0.00                7/30/2013
      0270559099              $162.24                $0.00                7/30/2013
      0270559099              $162.24                $0.00                7/30/2013
      0270559099              $162.24                $0.00                7/30/2013
      0270559099              $162.24                $0.00                7/30/2013
      0270559099              $162.24                $0.00                7/30/2013
      0270559099              $162.24                $0.00                7/30/2013
      0270559099              $162.24                $0.00                7/30/2013




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       Claim Number   Total Charged      Amount Committed         Date Received
      0270559099              $162.24                $0.00                7/30/2013
      0270559099              $162.24                $0.00                7/30/2013
      0271799073              $133.88                $0.00                7/30/2013
      0271799073              $133.88                $0.00                7/30/2013
      0271799073              $133.88                $0.00                7/30/2013
      0271799073              $133.88                $0.00                7/30/2013
      0271799073              $133.88                $0.00                7/30/2013
      0283979960               $78.09                $0.00                7/30/2013
      0289769258              $125.66                $0.00                7/30/2013
      0289769258               $50.38                $0.00                7/30/2013
      0289769258              $148.99                $0.00                7/30/2013
      0289769258               $10.00                $0.00                7/30/2013
      0290044403              $125.66                $0.00                7/30/2013
      0290044403               $10.00                $0.00                7/30/2013
      0290044403               $50.38                $0.00                7/30/2013
      0290044403              $148.99                $0.00                7/30/2013
      0290044403              $267.92                $0.00                7/30/2013
      0290044403              $535.84                $0.00                7/30/2013
      0290044403              $669.80                $0.00                7/30/2013
      0290044403              $236.56                $0.00                7/30/2013
      0260911755              $401.64                $0.00                7/31/2013
      0288691439              $413.14                $0.00                7/31/2013
      0288691439              $486.72                $0.00                7/31/2013
      0231667031              $535.84                $0.00                 8/6/2013
      0260911755              $234.27              $202.68                 8/6/2013
      0263081101              $811.20                $0.00                 8/6/2013
      0263081101              $811.20                $0.00                 8/6/2013
      0268001419              $486.72              $340.32                 8/6/2013
      0273280123              $620.44                $0.00                 8/6/2013
      0273280123              $567.84                $0.00                 8/6/2013
      0283881399              $648.96                $0.00                 8/6/2013
      0283881399              $602.46                $0.00                 8/6/2013
      0283979960              $648.96                $0.00                 8/6/2013
      0285867107            $1,054.56                $0.00                 8/6/2013
      0285867107              $870.22                $0.00                 8/6/2013
      0289573189              $362.74                $0.00                 8/6/2013
      0290044403              $156.18                $0.00                 8/6/2013
      0251515986              $818.34                $0.00                 8/7/2013
      0231660951              $870.22                $0.00                8/14/2013
      0260911755              $156.18              $135.12                8/14/2013
      0261993521            $2,169.40                $0.00                8/14/2013
      0267780377              $335.03                $0.00                8/14/2013
      0268644549            $1,054.56                $0.00                8/14/2013
      0283979960              $870.22                $0.00                8/14/2013




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       Claim Number   Total Charged      Amount Committed         Date Received
      0283979960              $648.96                $0.00                8/14/2013
      0231660951              $156.18                $0.00                8/15/2013
      0271799073              $973.44                $0.00                8/15/2013
      0271799073              $803.28                $0.00                8/15/2013
      0291456317              $992.32                $0.00                8/15/2013
      0291456317              $100.00                $0.00                8/15/2013
      0291456317              $911.20                $0.00                8/15/2013
      0277807558              $133.88                $0.00                8/16/2013
      0277807558              $133.88                $0.00                8/16/2013
      0277807558              $133.88                $0.00                8/16/2013
      0277807558              $133.88                $0.00                8/16/2013
      0277807558              $133.88                $0.00                8/16/2013
      0277807558              $133.88                $0.00                8/16/2013
      0277807558               $66.94                $0.00                8/16/2013
      0289573189            $1,375.24                $0.00                8/20/2013
      0289573189              $616.40                $0.00                8/20/2013
      0289769258              $803.28                $0.00                8/20/2013
      0289769258              $920.60                $0.00                8/20/2013
      0291456317              $581.38                $0.00                8/20/2013
      0291456317            $1,280.88                $0.00                8/20/2013
      0252198022              $602.46                $0.00                8/21/2013
      0254090780              $535.52                $0.00                8/21/2013
      0268644549            $1,004.10                $0.00                8/21/2013
      0270559099              $535.52                $0.00                8/21/2013
      0273134956              $648.96                $0.00                8/21/2013
      0273134956              $535.52                $0.00                8/21/2013
      0277807558              $648.96                $0.00                8/21/2013
      0278460647              $648.96                $0.00                8/21/2013
      0281126003              $567.84                $0.00                8/21/2013
      0281126003              $648.96                $0.00                8/21/2013
      0283979960              $324.48                $0.00                8/21/2013
      0283979960            $1,071.04                $0.00                8/21/2013
      0283979960            $1,004.10                $0.00                8/21/2013
      0290044403              $669.80                $0.00                8/21/2013
      0256674417              $934.12                $0.00                8/26/2013
      0256674417            $1,622.40                $0.00                8/26/2013
      0270559099              $730.08                $0.00                8/26/2013
      0291456317              $405.60                $0.00                8/26/2013
      0291456317            $1,241.36                $0.00                8/26/2013
      0291456317              $683.34                $0.00                8/26/2013
      0256674417              $206.56                $0.00                8/28/2013
      0271799073              $937.16                $0.00                8/28/2013
      0259034189              $601.56                $0.00                8/30/2013
      0259034189              $486.72                $0.00                8/30/2013




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       Claim Number   Total Charged      Amount Committed         Date Received
      0260911755              $234.27                $0.00                8/30/2013
      0268001419              $811.20              $567.20                8/30/2013
      0260911755              $803.28                $0.00                 9/4/2013
      0273134956              $133.88                $0.00                 9/4/2013
      0273134956              $133.88                $0.00                 9/4/2013
      0273134956               $66.94                $0.00                 9/4/2013
      0289769258              $156.18                $0.00                 9/4/2013
      0261993521              $206.56                $0.00                 9/5/2013
      0261993521               $50.38                $0.00                 9/5/2013
      0273280123              $567.84                $0.00                 9/5/2013
      0273280123              $736.34                $0.00                 9/5/2013
      0281126003              $736.34                $0.00                 9/5/2013
      0283881399              $937.16                $0.00                 9/5/2013
      0283881399              $730.08                $0.00                 9/5/2013
      0261993521            $1,301.64                $0.00                9/11/2013
      0254090780              $468.58                $0.00                9/13/2013
      0268001419               $81.12               $56.72                9/17/2013
      0268001419              $162.24              $113.44                9/17/2013
      0268001419              $162.24              $113.44                9/17/2013
      0268644549              $803.28                $0.00                9/17/2013
      0271799073              $892.32                $0.00                9/17/2013
      0271799073              $870.22                $0.00                9/17/2013
      0281126003              $892.32                $0.00                9/17/2013
      0281126003              $669.40                $0.00                9/17/2013
      0281126003              $892.32                $0.00                9/17/2013
      0281126003              $669.40                $0.00                9/17/2013
      0283979960              $736.34                $0.00                9/17/2013
      0283979960              $669.40                $0.00                9/17/2013
      0283979960              $669.40                $0.00                9/17/2013
      0289573189            $1,287.16                $0.00                9/17/2013
      0290044403              $669.80                $0.00                9/17/2013
      0291456317              $669.40              $170.24                9/17/2013
      0278460647              $648.96                $0.00                9/18/2013
      0260911755              $116.18                $0.00                9/23/2013
      0260911755              $118.09                $0.00                9/23/2013
      0268644549              $162.24                $0.00                9/23/2013
      0268644549              $162.24                $0.00                9/23/2013
      0268644549              $162.24                $0.00                9/23/2013
      0268644549              $162.24                $0.00                9/23/2013
      0268644549              $162.24                $0.00                9/23/2013
      0268644549              $162.24                $0.00                9/23/2013
      0268644549              $162.24                $0.00                9/23/2013
      0231660951            $4,064.05                $0.00                9/25/2013
      0260911755              $390.45                $0.00                9/25/2013




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       Claim Number   Total Charged      Amount Committed         Date Received
      0267780377              $312.36                $0.00                9/25/2013
      0270559099              $837.85                $0.00                9/25/2013
      0270559099              $669.40                $0.00                9/25/2013
      0271799073              $669.40                $0.00                9/25/2013
      0273280123              $531.18                $0.00                9/25/2013
      0283979960              $811.20                $0.00                9/25/2013
      0287406367              $133.88                $0.00                9/25/2013
      0287406367              $170.32                $0.00                9/25/2013
      0287406367              $133.88                $0.00                9/25/2013
      0287406367              $133.88                $0.00                9/25/2013
      0287406367              $133.88                $0.00                9/25/2013
      0287406367              $133.88                $0.00                9/25/2013
      0287406367              $133.88                $0.00                9/25/2013
      0287406367               $80.88                $0.00                9/25/2013
      0287406367            $1,482.97                $0.00                9/25/2013
      0289573189               $78.09                $0.00                9/25/2013
      0289769258              $669.40                $0.00                9/25/2013
      0290044403              $140.36                $0.00                9/25/2013
      0291456317              $133.88                $0.00                9/25/2013
      0291456317              $133.88                $0.00                9/25/2013
      0291456317              $648.96                $0.00                9/25/2013
      0291456317              $133.88                $0.00                9/25/2013
      0291456317              $133.88                $0.00                9/25/2013
      0291456317              $133.88                $0.00                9/25/2013
      0291456317              $200.82                $0.00                9/25/2013
      0260911755              $651.12                $0.00                9/30/2013
      0291456317              $206.56              $200.50                9/30/2013
      0291456317              $892.32              $340.32                9/30/2013
      0267780377              $133.88                $0.00                10/8/2013
      0267780377              $170.32                $0.00                10/8/2013
      0267780377               $13.94                $0.00                10/8/2013
      0231660951              $468.54                $0.00                10/9/2013
      0251515986              $468.86                $0.00                10/9/2013
      0273280123              $730.08                $0.00                10/9/2013
      0273280123              $401.64                $0.00                10/9/2013
      0273280123              $468.58                $0.00                10/9/2013
      0273280123              $730.08                $0.00                10/9/2013
      0283881399              $811.20                $0.00                10/9/2013
      0283881399              $602.46                $0.00                10/9/2013
      0289769258              $234.27                $0.00                10/9/2013
      0297442121            $1,154.56                $0.00                10/9/2013
      0297442121              $100.00                $0.00                10/9/2013
      0297442121            $1,322.24                $0.00              10/11/2013
      0291456317              $669.40                $0.00              10/15/2013




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                          Exhibit B - Outstanding Claim Amounts




       Claim Number   Total Charged      Amount Committed         Date Received
      0268644549              $267.76                $0.00              10/17/2013
      0268644549              $324.48                $0.00              10/17/2013
      0271799073              $882.32                $0.00              10/17/2013
      0273134956              $892.32                $0.00              10/17/2013
      0283979960              $467.98                $0.00              10/17/2013
      0283979960              $648.96                $0.00              10/17/2013
      0283979960              $602.46                $0.00              10/17/2013
      0287406367              $362.74                $0.00              10/17/2013
      0287406367               $50.38                $0.00              10/17/2013
      0289573189              $468.58                $0.00              10/17/2013
      0297442121              $518.92                $0.00              10/17/2013
      0297442121               $50.38                $0.00              10/17/2013
      0271799073              $602.46                $0.00              10/21/2013
      0271799073              $133.88                $0.00              10/21/2013
      0278460647               $81.12                $0.00              10/21/2013
      0278460647              $162.24                $0.00              10/21/2013
      0278460647              $162.24                $0.00              10/21/2013
      0278460647              $162.24                $0.00              10/21/2013
      0283979960              $267.76                $0.00              10/21/2013
      0290044403              $499.18                $0.00              10/21/2013
      0290044403              $562.14                $0.00              10/21/2013
      0290044403              $624.60                $0.00              10/21/2013
      0290044403              $499.68                $0.00              10/21/2013
      0290044403              $499.68                $0.00              10/21/2013
      0290044403              $481.88                $0.00              10/21/2013
      0260911755              $116.18                $0.00              10/23/2013
      0260911755              $118.09                $0.00              10/23/2013
      0263081101              $133.96                $0.00              10/23/2013
      0263081101              $133.96                $0.00              10/23/2013
      0263081101              $133.96                $0.00              10/23/2013
      0263081101               $66.98                $0.00              10/23/2013
      0268001419              $162.24                $0.00              10/23/2013
      0268001419              $162.24                $0.00              10/23/2013
      0268001419              $162.24                $0.00              10/23/2013
      0268001419              $162.24                $0.00              10/23/2013
      0268001419              $162.24                $0.00              10/23/2013
      0268001419               $81.12                $0.00              10/23/2013
      0270559099              $162.24                $0.00              10/23/2013
      0270559099               $81.12                $0.00              10/23/2013
      0270559099              $162.24                $0.00              10/23/2013
      0270559099              $162.24                $0.00              10/23/2013
      0273280123              $118.04                $0.00              10/23/2013
      0273280123              $118.04                $0.00              10/23/2013
      0273280123               $59.02                $0.00              10/23/2013




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       Claim Number   Total Charged      Amount Committed         Date Received
      0273280123              $118.04                $0.00              10/23/2013
      0283979960              $133.88                $0.00              10/23/2013
      0283979960              $133.88                $0.00              10/23/2013
      0283979960              $133.88                $0.00              10/23/2013
      0291456317              $162.24                $0.00              10/23/2013
      0291456317              $162.24                $0.00              10/23/2013
      0291456317              $162.24                $0.00              10/23/2013
      0291456317              $162.24                $0.00              10/23/2013
      0291456317               $81.12                $0.00              10/23/2013
      0291456317              $133.88                $0.00              10/23/2013
      0291456317              $133.88                $0.00              10/23/2013
      0291456317              $133.88                $0.00              10/23/2013
      0291456317              $133.88                $0.00              10/23/2013
      0291456317              $133.88                $0.00              10/23/2013
      0291456317               $66.95                $0.00              10/23/2013
      0291456317              $133.88                $0.00              10/23/2013
      0291456317              $133.88                $0.00              10/23/2013
      0291456317              $133.88                $0.00              10/23/2013
      0291456317              $133.88                $0.00              10/23/2013
      0291456317              $133.88                $0.00              10/23/2013
      0291456317              $133.88                $0.00              10/23/2013
      0291456317              $133.88                $0.00              10/23/2013
      0291456317              $162.24                $0.00              10/23/2013
      0291456317              $162.24                $0.00              10/23/2013
      0291456317              $162.24                $0.00              10/23/2013
      0291456317              $162.24                $0.00              10/23/2013
      0291456317               $81.12                $0.00              10/23/2013
      0231660951              $156.18                $0.00              10/24/2013
      0231660951              $468.58                $0.00              10/25/2013
      0267780377              $133.88                $0.00              10/25/2013
      0289769258              $669.40                $0.00              10/25/2013
      0260911755              $468.54                $0.00              10/29/2013
      0271799073              $133.88                $0.00              10/29/2013
      0271799073              $669.40                $0.00              10/29/2013
      0273134956              $133.88                $0.00              10/29/2013
      0273134956              $162.24                $0.00              10/29/2013
      0273134956              $162.24                $0.00              10/29/2013
      0273134956              $162.24                $0.00              10/29/2013
      0273134956               $81.12                $0.00              10/29/2013
      0273134956              $133.88                $0.00              10/29/2013
      0273134956              $133.88                $0.00              10/29/2013
      0273134956              $133.88                $0.00              10/29/2013
      0273134956              $133.88                $0.00              10/29/2013
      0273134956              $133.88                $0.00              10/29/2013




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       Claim Number   Total Charged      Amount Committed         Date Received
      0281126003              $162.24                $0.00              10/29/2013
      0281126003               $81.12                $0.00              10/29/2013
      0281126003              $162.24                $0.00              10/29/2013
      0281126003              $133.88                $0.00              10/29/2013
      0281126003              $162.24                $0.00              10/29/2013
      0281126003              $133.88                $0.00              10/29/2013
      0281126003              $133.88                $0.00              10/29/2013
      0281126003              $133.88                $0.00              10/29/2013
      0281126003              $133.88                $0.00              10/29/2013
      0281126003              $133.88                $0.00              10/29/2013
      0281126003              $567.84                $0.00              10/29/2013
      0289769258              $156.18                $0.00              10/29/2013
      0298079211              $571.96                $0.00              10/29/2013
      0298079211              $535.52                $0.00              10/29/2013
      0298079211              $549.46                $0.00              10/29/2013
      0298079211              $518.92                $0.00              10/29/2013
      0300069754              $148.99                $0.00              10/29/2013
      0300069754              $125.66                $0.00              10/29/2013
      0300069754              $108.61                $0.00              10/29/2013
      0300069754              $125.66                $0.00              10/29/2013
      0300069754               $10.00                $0.00              10/29/2013
      0278460647              $468.58                $0.00              10/30/2013
      0260911755              $535.52                $0.00                11/6/2013
      0273280123              $133.88                $0.00                11/6/2013
      0273280123              $133.88                $0.00                11/6/2013
      0273280123              $133.88                $0.00                11/6/2013
      0273280123              $133.88                $0.00                11/6/2013
      0277807558              $567.84                $0.00                11/6/2013
      0281126003              $405.60                $0.00                11/6/2013
      0283979960              $133.88                $0.00                11/6/2013
      0283979960              $133.88                $0.00                11/6/2013
      0287406367               $66.94                $0.00                11/6/2013
      0287406367              $133.88                $0.00                11/6/2013
      0287406367               $81.12                $0.00                11/6/2013
      0289573189              $133.88                $0.00                11/6/2013
      0289573189              $133.88                $0.00                11/6/2013
      0289573189              $133.38                $0.00                11/6/2013
      0289573189              $133.88                $0.00                11/6/2013
      0289573189              $133.88                $0.00                11/6/2013
      0289573189              $133.88                $0.00                11/6/2013
      0290044403              $562.14                $0.00                11/6/2013
      0297442121              $486.72                $0.00                11/6/2013
      0297442121              $468.58                $0.00                11/6/2013
      0300069754              $426.72                $0.00                11/6/2013




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       Claim Number   Total Charged      Amount Committed         Date Received
      0300069754              $911.20                 $0.00               11/6/2013
      0300069754              $100.00                 $0.00               11/6/2013
      0300069754              $100.00                 $0.00               11/6/2013
      0300069754            $1,316.80                 $0.00               11/6/2013
      0283881399              $811.20                 $0.00               11/7/2013
      0283881399              $602.46                 $0.00             11/11/2013
      0254090780              $736.34                 $0.00             11/13/2013
      0273280123              $730.08                 $0.00             11/13/2013
      0278460647              $486.72                 $0.00             11/13/2013
      0283979960              $567.84                 $0.00             11/13/2013
      0300069754              $440.77                 $0.00             11/13/2013
      0300069754            $1,375.24                 $0.00             11/13/2013
      0300069754            $1,375.24                 $0.00             11/13/2013
      0300069754               $50.38                 $0.00             11/13/2013
      0300069754              $616.40                 $0.00             11/13/2013
      0300069754              $750.28                 $0.00             11/13/2013
      0303868343            $1,804.76             $1,135.82             11/18/2013
      0300069754              $116.18                 $0.00             11/20/2013
      0300069754              $118.09                 $0.00             11/20/2013
      0300069754               $78.09                 $0.00             11/20/2013
      0303868343            $1,205.68               $753.68             11/20/2013
      0267780377              $156.18                 $0.00             11/27/2013
      0268001419              $567.84               $502.67             11/27/2013
      0271799073              $927.84                 $0.00             11/27/2013
      0271799073              $859.38                 $0.00             11/27/2013
      0278460647              $401.64                 $0.00             11/27/2013
      0283881399              $567.84                 $0.00             11/27/2013
      0287406367              $669.40               $319.20             11/27/2013
      0287406367              $648.96               $453.76             11/27/2013
      0289573189               $78.09                $75.06             11/27/2013
      0291456317              $648.96                 $0.00             11/27/2013
      0291456317              $648.96                 $0.00             11/27/2013
      0291456317              $535.52               $340.48             11/27/2013
      0298247965              $648.96                 $0.00             11/27/2013
      0298247965              $648.96                 $0.00             11/27/2013
      0291456317              $730.08                 $0.00             11/29/2013
      0298247965              $876.22                 $0.00             11/29/2013
      0283979960              $730.08                 $0.00               12/3/2013
      0289573189              $669.40                 $0.00               12/6/2013
      0289573189               $66.94                 $0.00               12/6/2013
      0298079211              $390.45               $175.30             12/10/2013
      0260911755               $78.09                 $0.00             12/12/2013
      0260911755              $468.58                 $0.00             12/12/2013
      0260911755              $162.24                 $0.00             12/12/2013




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        Claim Number   Total Charged      Amount Committed         Date Received
       0263081101              $736.78                 $0.00             12/12/2013
       0273280123              $602.46                 $0.00             12/12/2013
       0273280123              $162.24                 $0.00             12/12/2013
       0273280123              $162.24                 $0.00             12/12/2013
       0273280123              $162.24                 $0.00             12/12/2013
       0273280123               $81.12                 $0.00             12/12/2013
       0287406367              $334.70               $212.80             12/12/2013
       0289769258              $602.46               $383.04             12/12/2013
       0290044403              $749.52               $510.72             12/12/2013
       0300069754              $803.28                 $0.00             12/12/2013
       0300069754              $811.20                 $0.00             12/12/2013
       0300069754              $669.40               $351.12             12/12/2013
       0300069754              $811.20               $622.40             12/12/2013
       0301832630              $206.56                 $0.00             12/12/2013
       0302342696            $1,216.80               $933.60             12/12/2013
       0302342696            $1,560.16             $1,100.87             12/12/2013
       0303868343              $803.28               $510.72             12/12/2013
       0303868343              $811.20               $529.04             12/12/2013
       0304949498              $404.65                 $0.00             12/12/2013
       0304949498            $1,073.44                 $0.00             12/12/2013
       0302342696            $2,125.52             $1,348.62             12/13/2013
       0302400684              $128.47               $117.94             12/13/2013
       0302400684            $1,040.54               $681.60             12/13/2013
       0305920225            $3,463.51             $1,875.05             12/13/2013
       0220567150              $730.08                 $0.00             12/17/2013
       0289769258               $78.09                $67.56             12/17/2013
       0300069754               $40.00                $32.50             12/17/2013
       0300069754              $116.18               $102.62             12/17/2013
       0302342696            $1,924.70             $1,126.68             12/17/2013
       0301832630              $667.84                 $0.00             12/18/2013
       0301832630              $100.00                 $0.00             12/18/2013
       0302400684              $100.00                $67.14             12/18/2013
       0302400684              $586.72               $265.02             12/18/2013
       0305920225            $1,073.44                 $0.00             12/18/2013
       0254090780              $468.58                 $0.00             12/19/2013
       0271799073              $602.46                 $0.00             12/19/2013
       0273134956              $648.96                 $0.00             12/19/2013
       0278460647              $602.46                 $0.00             12/19/2013
       0283979960              $567.84               $397.04             12/19/2013
       0291456317              $486.72                 $0.00             12/19/2013
       0291456317              $535.52                 $0.00             12/19/2013
       0291456317              $535.52               $170.24             12/19/2013
       0298079211               $30.00                 $0.00             12/19/2013
       0298079211              $811.20               $425.60             12/19/2013




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        Claim Number   Total Charged      Amount Committed         Date Received
       0304949498            $1,359.84                $0.00              12/19/2013
       0304949498              $324.48                $0.00              12/19/2013
       0305920225            $1,533.90                $0.00              12/19/2013
       0271799073              $162.24                $0.00              12/20/2013
       0271799073              $162.24                $0.00              12/20/2013
       0271799073              $162.24                $0.00              12/20/2013
       0271799073               $81.12                $0.00              12/20/2013
       0290044403               $78.09               $57.56              12/20/2013
       0302342696               $78.09                $0.00              12/26/2013
       0302342696               $78.09                $0.00              12/26/2013
       0305763021            $1,523.06              $965.58              12/26/2013
       0268001419              $648.96                $0.00              12/27/2013
       0278460647              $973.44                $0.00              12/27/2013
       0283979960              $405.60                $0.00              12/27/2013
       0283979960              $401.64                $0.00              12/27/2013
       0298079211            $1,472.68                $0.00              12/27/2013
       0305763021            $1,235.68                $0.00              12/27/2013
       0271799073              $468.58                $0.00              12/31/2013
       0291456317              $401.64                $0.00              12/31/2013
       0291456317              $730.08              $523.73              12/31/2013
       0297442121              $468.58                $0.00              12/31/2013
       0302342696              $937.16                $0.00              12/31/2013
       0302342696              $870.22              $553.28              12/31/2013
       0231660951              $669.40                $0.00                 1/3/2014
       0287406367              $156.18                $0.00                 1/3/2014
       0298079211              $390.45                $0.00                 1/3/2014
       0302342696            $1,460.16                $0.00                 1/3/2014
       0302342696              $390.45              $352.95                 1/3/2014
       0302342696              $546.63              $525.42                 1/3/2014
       0305920225              $234.27                $0.00                 1/3/2014
       0305920225            $1,284.82                $0.00                 1/8/2014
       0291456317              $911.20                $0.00                 1/9/2014
       0305920225            $1,558.21                $0.00                 1/9/2014
       0251515986              $267.92                $0.00                1/15/2014
       0263081101              $401.88                $0.00                1/15/2014
       0268644549              $870.22                $0.00                1/15/2014
       0268644549            $1,054.56                $0.00                1/15/2014
       0273280123              $468.58                $0.00                1/15/2014
       0289769258              $602.46                $0.00                1/15/2014
       0300069754              $567.84                $0.00                1/15/2014
       0300069754              $602.46                $0.00                1/15/2014
       0300069754              $401.64                $0.00                1/15/2014
       0300069754              $567.84                $0.00                1/15/2014
       0302093885              $206.56                $0.00                1/15/2014




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        Claim Number   Total Charged      Amount Committed         Date Received
       0302400684              $736.34                $0.00                1/15/2014
       0305920225            $1,071.04                $0.00                1/15/2014
       0305920225              $811.20                $0.00                1/15/2014
       0278460647              $334.70                $0.00                1/17/2014
       0283979960              $602.46                $0.00                1/17/2014
       0283979960              $567.84                $0.00                1/17/2014
       0287406367              $243.36                $0.00                1/17/2014
       0289573189              $870.22                $0.00                1/17/2014
       0290044403              $624.60                $0.00                1/17/2014
       0302400684              $892.32                $0.00                1/17/2014
       0303868343              $870.22                $0.00                1/17/2014
       0303868343              $730.08                $0.00                1/17/2014
       0268001419              $811.20                $0.00                1/21/2014
       0273134956            $1,217.56                $0.00                1/21/2014
       0273280123              $944.32                $0.00                1/21/2014
       0283979960              $602.46                $0.00                1/21/2014
       0283979960              $648.96                $0.00                1/21/2014
       0291456317              $602.46                $0.00                1/21/2014
       0301832630              $730.08                $0.00                1/21/2014
       0304949498            $1,135.68                $0.00                1/21/2014
       0304949498            $1,003.34                $0.00                1/21/2014
       0305763021              $324.48                $0.00                1/21/2014
       0305763021              $334.70                $0.00                1/21/2014
       0306296624              $911.20                $0.00                1/21/2014
       0304949498              $118.09                $0.00                1/22/2014
       0304949498              $116.18                $0.00                1/22/2014
       0304949498              $118.09                $0.00                1/22/2014
       0304949498              $116.18                $0.00                1/22/2014
       0302093885            $2,009.62                $0.00                1/27/2014
       0302093885            $1,154.56                $0.00                1/27/2014
       0271799073            $1,054.56                $0.00                1/29/2014
       0271799073              $870.22                $0.00                1/29/2014
       0271799073              $535.52                $0.00                1/29/2014
       0273280123              $811.20                $0.00                1/29/2014
       0273280123              $602.46                $0.00                1/29/2014
       0288691439            $1,135.68                $0.00                1/29/2014
       0291456317              $648.96                $0.00                1/29/2014
       0291456317              $648.96                $0.00                1/29/2014
       0291456317              $602.46                $0.00                1/29/2014
       0297442121              $602.46              $383.04                1/29/2014
       0298079211            $1,271.86                $0.00                1/29/2014
       0302093885            $2,184.59                $0.00                1/29/2014
       0302093885            $2,241.39                $0.00                1/29/2014
       0302342696            $1,157.51                $0.00                1/29/2014




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        Claim Number   Total Charged      Amount Committed         Date Received
       0302342696              $936.93                $0.00                1/29/2014
       0302342696            $1,297.92                $0.00                1/30/2014
       0302342696              $546.63                $0.00                1/30/2014
       0274797934            $7,481.92                $0.00                1/31/2014
       0274797934            $4,182.67                $0.00                1/31/2014
       0274797934            $8,222.49                $0.00                1/31/2014
       0302093885            $1,991.64                $0.00                1/31/2014
       0306296624            $1,054.48                $0.00                1/31/2014
       0305763021              $128.47                $0.00                 2/3/2014
       0273134956              $870.22                $0.00                 2/4/2014
       0290044403               $78.09                $0.00                 2/4/2014
       0298079211            $1,135.68                $0.00                 2/4/2014
       0300069754               $78.09                $0.00                 2/4/2014
       0305920225            $1,568.38                $0.00                 2/6/2014
       0305920225            $2,492.14                $0.00                 2/6/2014
       0302093885            $2,481.72                $0.00                 2/7/2014
       0302093885            $1,235.68                $0.00                2/10/2014
       0302093885            $2,241.39                $0.00                2/10/2014
       0302093885            $2,242.11                $0.00                2/12/2014
       0302093885            $1,154.56                $0.00                2/12/2014
       0302093885              $518.92                $0.00                2/12/2014
       0302093885              $518.92                $0.00                2/12/2014
       0302093885            $1,154.56                $0.00                2/12/2014
       0302093885            $2,241.39                $0.00                2/12/2014
       0302093885              $234.27                $0.00                2/13/2014
       0305920225            $6,239.31                $0.00                2/13/2014
       0268644549              $973.44                $0.00                2/17/2014
       0268644549              $736.34                $0.00                2/17/2014
       0291456317              $567.84                $0.00                2/17/2014
       0291456317              $324.48                $0.00                2/17/2014
       0305920225              $644.62                $0.00                2/17/2014
       0305920225              $730.08                $0.00                2/17/2014
       0271799073              $486.72                $0.00                2/19/2014
       0271799073              $401.64                $0.00                2/19/2014
       0283979960              $669.40                $0.00                2/19/2014
       0283979960              $648.96                $0.00                2/19/2014
       0289573189              $602.46                $0.00                2/19/2014
       0302093885            $1,216.80                $0.00                2/19/2014
       0302093885            $1,216.80                $0.00                2/19/2014
       0302400684              $870.22                $0.00                2/19/2014
       0302400684            $1,054.56                $0.00                2/19/2014
       0310657150              $184.26                $0.00                2/21/2014
       0298079211              $234.27                $0.00                2/26/2014
       0310657150              $128.47                $0.00                2/26/2014




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        Claim Number   Total Charged      Amount Committed         Date Received
       0312595308            $1,255.30                $0.00                2/27/2014
       0273280123              $413.14                $0.00                2/28/2014
       0283979960              $535.52                $0.00                2/28/2014
       0290044403              $687.06                $0.00                2/28/2014
       0291456317              $535.52                $0.00                2/28/2014
       0302342696            $1,004.10                $0.00                2/28/2014
       0302342696            $1,004.10                $0.00                2/28/2014
       0303868343              $736.34              $468.16                2/28/2014
       0304949498            $1,062.36                $0.00                2/28/2014
       0305920225              $156.18                $0.00                2/28/2014
       0306296624              $803.28                $0.00                2/28/2014
       0268608536              $602.46                $0.00                 3/3/2014
       0268608536              $602.46                $0.00                 3/3/2014
       0268608536            $1,384.89                $0.00                 3/3/2014
       0268608536              $648.96                $0.00                 3/3/2014
       0268608536              $811.20                $0.00                 3/3/2014
       0268608536            $1,004.10                $0.00                 3/3/2014
       0268608536              $602.46                $0.00                 3/3/2014
       0268608536            $1,073.44                $0.00                 3/3/2014
       0268608536              $535.52                $0.00                 3/3/2014
       0271799073              $535.45                $0.00                 3/3/2014
       0297442121              $736.34              $127.68                 3/3/2014
       0298079211              $648.96                $0.00                 3/3/2014
       0298079211              $736.33                $0.00                 3/3/2014
       0302093885            $1,189.94                $0.00                 3/3/2014
       0302093885            $1,204.92              $766.08                 3/3/2014
       0302342696            $1,052.32                $0.00                 3/3/2014
       0302342696            $1,052.32                $0.00                 3/3/2014
       0304949498              $892.32                $0.00                 3/3/2014
       0306296624              $811.20                $0.00                 3/3/2014
       0308455252              $987.54                $0.00                 3/4/2014
       0302093885              $196.18                $0.00                3/10/2014
       0302342696               $98.09                $0.00                3/10/2014
       0263081101              $401.88                $0.00                3/13/2014
       0273280123              $401.64                $0.00                3/13/2014
       0302093885              $588.54                $0.00                3/13/2014
       0303868343              $446.50                $0.00                3/13/2014
       0303868343            $1,211.20                $0.00                3/13/2014
       0305920225              $870.22                $0.00                3/13/2014
       0305920225            $1,287.32                $0.00                3/13/2014
       0308455252              $602.46                $0.00                3/13/2014
       0310238407            $1,715.68                $0.00                3/13/2014
       0310238407            $1,999.04                $0.00                3/13/2014
       0310238407            $1,255.30                $0.00                3/13/2014




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        Claim Number   Total Charged      Amount Committed         Date Received
       0294597140              $803.28              $510.72                3/14/2014
       0307847673              $184.26                $0.00                3/14/2014
       0307847673            $1,121.42              $710.22                3/14/2014
       0310238407            $1,322.24                $0.00                3/14/2014
       0268644549              $602.46                $0.00                3/18/2014
       0271799073              $535.52                $0.00                3/18/2014
       0271799073            $1,010.08                $0.00                3/18/2014
       0283979960              $928.96                $0.00                3/18/2014
       0283979960            $1,212.32                $0.00                3/18/2014
       0283979960              $401.64                $0.00                3/18/2014
       0283979960              $468.58                $0.00                3/18/2014
       0289573189              $602.46                $0.00                3/18/2014
       0307847673              $988.96                $0.00                3/18/2014
       0312595308              $870.22                $0.00                3/18/2014
       0302342696               $78.09                $0.00                3/19/2014
       0302342696               $78.09                $0.00                3/19/2014
       0291456317              $736.34                $0.00                3/20/2014
       0291456317              $811.20                $0.00                3/20/2014
       0291456317              $602.46                $0.00                3/20/2014
       0291456317              $811.20                $0.00                3/20/2014
       0298079211              $242.24                $0.00                3/20/2014
       0304949498              $116.18                $0.00                3/20/2014
       0304949498              $118.09                $0.00                3/20/2014
       0304949498               $78.09                $0.00                3/20/2014
       0310657150              $133.88                $0.00                3/20/2014
       0312595308              $992.32              $662.92                3/20/2014
       0302342696               $78.09                $0.00                3/21/2014
       0307847673              $206.56              $191.56                3/21/2014
       0310238407              $206.56                $0.00                3/21/2014
       0263081101               $78.09                $0.00                3/24/2014
       0268644549              $973.44                $0.00                3/24/2014
       0305920225              $234.27                $0.00                3/24/2014
       0312595308              $128.47                $0.00                3/24/2014
       0271799073              $401.64                $0.00                3/27/2014
       0290044403              $624.60                $0.00                3/27/2014
       0302093885            $1,499.04                $0.00                3/27/2014
       0302093885            $1,336.80                $0.00                3/27/2014
       0302342696              $803.28                $0.00                3/27/2014
       0302342696            $1,012.32                $0.00                3/27/2014
       0303868343              $468.58                $0.00                3/27/2014
       0305763021              $937.16                $0.00                3/27/2014
       0306296624              $890.08                $0.00                3/27/2014
       0306296624              $669.40                $0.00                3/27/2014
       0310238407              $567.84                $0.00                3/27/2014




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        Claim Number   Total Charged      Amount Committed         Date Received
       0302093885            $1,941.26                $0.00                3/29/2014
       0302093885            $1,941.26                $0.00                3/29/2014
       0231660951            $1,641.28                $0.00                 4/1/2014
       0231660951            $2,226.76                $0.00                 4/1/2014
       0297442121              $156.18                $0.00                 4/2/2014
       0302093885              $312.36                $0.00                 4/2/2014
       0298079211              $234.27                $0.00                 4/4/2014
       0297442121              $468.58                $0.00                 4/7/2014
       0297442121              $730.08                $0.00                 4/7/2014
       0298079211              $811.20                $0.00                 4/7/2014
       0298079211              $870.22                $0.00                 4/7/2014
       0302093885              $937.16                $0.00                 4/7/2014
       0302093885              $972.01                $0.00                 4/7/2014
       0302342696              $803.28                $0.00                 4/7/2014
       0304949498            $2,538.18                $0.00                 4/7/2014
       0308455252              $602.46                $0.00                 4/7/2014
       0310238407              $468.58                $0.00                 4/7/2014
       0310238407              $535.52                $0.00                 4/7/2014
       0312595308              $468.58                $0.00                 4/7/2014
       0312595308              $486.72              $340.32                 4/7/2014
       0316475342              $440.83                $0.00                 4/7/2014
       0263081101              $458.06                $0.00                 4/8/2014
       0287406367           $13,923.52                $0.00                 4/8/2014
       0302093885            $1,941.26                $0.00                 4/8/2014
       0302093885            $1,941.26                $0.00                 4/8/2014
       0302342696              $648.96                $0.00                 4/8/2014
       0305920225              $655.46                $0.00                 4/8/2014
       0316475342            $1,557.92                $0.00                 4/8/2014
       0316475342            $1,723.88                $0.00                 4/8/2014
       0268644549              $401.64                $0.00                4/14/2014
       0287406367            $1,274.56                $0.00                4/14/2014
       0289573189              $401.64                $0.00                4/14/2014
       0303868343              $468.58                $0.00                4/14/2014
       0303868343              $892.32                $0.00                4/14/2014
       0305763021            $1,297.92                $0.00                4/14/2014
       0305763021              $669.40                $0.00                4/14/2014
       0305920225              $892.32              $623.92                4/14/2014
       0307847673            $1,071.04                $0.00                4/14/2014
       0290044403              $499.68                $0.00                4/21/2014
       0304949498              $156.18               $67.56                4/23/2014
       0318113560            $1,230.78                $0.00                4/23/2014
       0302400684              $973.44                $0.00                4/24/2014
       0302400684              $803.28                $0.00                4/24/2014
       0291456317              $606.46                $0.00                4/28/2014




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        Claim Number   Total Charged      Amount Committed         Date Received
       0291456317              $574.58                $0.00                4/28/2014
       0291456317              $811.20                $0.00                4/28/2014
       0291456317              $730.08                $0.00                4/28/2014
       0297442121              $472.16                $0.00                4/28/2014
       0298079211              $468.58                $0.00                4/28/2014
       0302093885              $937.18                $0.00                4/28/2014
       0302342696              $973.44                $0.00                4/28/2014
       0302342696              $801.28                $0.00                4/28/2014
       0302342696              $535.52                $0.00                4/28/2014
       0302342696            $1,054.56                $0.00                4/28/2014
       0306296624              $602.46                $0.00                4/28/2014
       0308455252              $447.50                $0.00                4/28/2014
       0308460948            $1,289.80                $0.00                4/28/2014
       0308980044              $362.74              $320.62                4/28/2014
       0310238407            $1,135.68                $0.00                4/28/2014
       0310238407              $603.30                $0.00                4/28/2014
       0310238407              $669.40                $0.00                4/28/2014
       0312595308              $405.60                $0.00                4/28/2014
       0312595308              $468.58                $0.00                4/28/2014
       0298079211               $78.09                $0.00                4/29/2014
       0298079211              $648.96                $0.00                4/29/2014
       0306296624              $730.08                $0.00                4/30/2014
       0308460948            $1,803.52                $0.00                4/30/2014
       0318113560            $1,194.56                $0.00                4/30/2014
       0320148182              $206.56                $0.00                4/30/2014
       0304949498            $1,054.56                $0.00                 5/5/2014
       0294597140              $669.40                $0.00                 5/7/2014
       0302093885            $1,054.56                $0.00                 5/7/2014
       0302093885            $1,054.56                $0.00                 5/7/2014
       0305920225              $602.46                $0.00                 5/7/2014
       0305920225              $567.84                $0.00                 5/7/2014
       0308980044            $1,064.56                $0.00                 5/7/2014
       0308980044              $128.47                $0.00                 5/7/2014
       0308980044            $1,073.44              $478.76                 5/7/2014
       0316475342              $803.28                $0.00                 5/7/2014
       0320865546            $1,235.68                $0.00                 5/7/2014
       0320865546              $440.83                $0.00                 5/7/2014
       0304949498              $390.45                $0.00                 5/8/2014
       0310238407               $78.09                $0.00                 5/8/2014
       0310238407              $234.27                $0.00                 5/8/2014
       0287406367            $1,037.26                $0.00                5/13/2014
       0304949498            $1,357.46                $0.00                5/13/2014
       0305763021              $549.15                $0.00                5/13/2014
       0307847673              $535.52                $0.00                5/13/2014




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        Claim Number   Total Charged      Amount Committed         Date Received
       0308980044            $1,375.24                $0.00                5/13/2014
       0310238407              $401.64                $0.00                5/13/2014
       0320148182            $1,397.92                $0.00                5/13/2014
       0289573189              $383.66                $0.00                5/14/2014
       0303868343              $535.52                $0.00                5/14/2014
       0307847673              $648.96                $0.00                5/14/2014
       0308980044            $1,456.12                $0.00                5/20/2014
       0320148182            $1,255.31                $0.00                5/20/2014
       0320865546            $3,431.45                $0.00                5/20/2014
       0291456317              $535.52                $0.00                5/23/2014
       0302342696              $736.34                $0.00                5/23/2014
       0303868343              $567.84               $62.24                5/23/2014
       0304949498              $648.96                $0.00                5/23/2014
       0316475342            $1,297.92                $0.00                5/23/2014
       0322992843              $992.32                $0.00                5/28/2014
       0303868343              $334.70                $0.00                5/29/2014
       0306296624              $535.52                $0.00                5/29/2014
       0306296624              $648.96                $0.00                5/29/2014
       0308460948              $162.24                $0.00                5/29/2014
       0310238407              $973.44                $0.00                5/29/2014
       0318113560              $648.96                $0.00                5/29/2014
       0318113560              $944.32                $0.00                5/29/2014
       0297442121              $413.14              $297.92                5/30/2014
       0302093885              $736.34                $0.00                5/30/2014
       0302093885              $736.34                $0.00                5/30/2014
       0302342696              $973.44                $0.00                5/30/2014
       0302342696              $736.34                $0.00                5/30/2014
       0307847673            $1,216.80                $0.00                5/30/2014
       0308980044              $730.08                $0.00                5/30/2014
       0308980044              $567.84                $0.00                5/30/2014
       0302093885              $567.84                $0.00                 6/3/2014
       0302093885               $78.09                $0.00                 6/3/2014
       0302093885              $567.84                $0.00                 6/3/2014
       0308460948              $531.18                $0.00                 6/3/2014
       0308980044              $546.63              $472.92                 6/3/2014
       0310238407              $870.22                $0.00                 6/3/2014
       0310238407              $486.72                $0.00                 6/3/2014
       0310238407              $162.24                $0.00                 6/3/2014
       0310238407              $535.52                $0.00                 6/3/2014
       0310238407            $2,190.24                $0.00                 6/3/2014
       0302342696            $1,054.56              $809.12                 6/5/2014
       0305920225              $730.08                $0.00                 6/5/2014
       0307847673              $602.46                $0.00                 6/5/2014
       0307847673              $892.32                $0.00                 6/5/2014




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        Claim Number   Total Charged      Amount Committed         Date Received
       0322992843              $405.60                $0.00                 6/5/2014
       0322992843              $405.60                $0.00                 6/5/2014
       0322992843            $1,073.44                $0.00                 6/5/2014
       0322992843            $1,563.82                $0.00                 6/6/2014
       0322992843            $1,523.66                $0.00                 6/6/2014
       0322992843              $170.32                $0.00                 6/6/2014
       0287406367              $401.64                $0.00                 6/9/2014
       0290044403              $749.52                $0.00                 6/9/2014
       0304949498              $885.30                $0.00                 6/9/2014
       0305763021              $730.08                $0.00                 6/9/2014
       0305920225              $602.46                $0.00                 6/9/2014
       0308980044            $1,137.98                $0.00                 6/9/2014
       0308980044              $804.00                $0.00                 6/9/2014
       0308980044              $405.60                $0.00                 6/9/2014
       0308980044              $534.07                $0.00                 6/9/2014
       0316475342              $937.16                $0.00                 6/9/2014
       0320865546              $702.81                $0.00                 6/9/2014
       0304949498              $488.54                $0.00                6/12/2014
       0320865546            $1,135.68                $0.00                6/12/2014
       0305763021              $649.22                $0.00                6/17/2014
       0320148182              $973.44                $0.00                6/17/2014
       0320148182              $937.16                $0.00                6/17/2014
       0320865546            $1,137.98                $0.00                6/17/2014
       0305920225              $730.08                $0.00                6/18/2014
       0308980044              $156.18              $135.12                6/24/2014
       0302342696            $1,237.24                $0.00                6/27/2014
       0302342696              $669.40                $0.00                6/27/2014
       0302342696              $648.96                $0.00                6/27/2014
       0316475342              $648.96                $0.00                6/27/2014
       0326684024               $98.47                $0.00                6/27/2014
       0326684024              $748.96                $0.00                6/27/2014
       0326684024              $652.84                $0.00                6/30/2014
       0298079211              $736.34                $0.00                 7/1/2014
       0302093885              $324.48                $0.00                 7/1/2014
       0302093885              $535.52                $0.00                 7/1/2014
       0302093885              $669.40                $0.00                 7/1/2014
       0302093885              $811.20                $0.00                 7/1/2014
       0304949498            $1,379.04                $0.00                 7/1/2014
       0306296624              $669.40                $0.00                 7/1/2014
       0307847673              $162.24                $0.00                 7/1/2014
       0308460948              $773.92              $341.54                 7/1/2014
       0310238407              $401.64                $0.00                 7/1/2014
       0310238407              $648.96                $0.00                 7/1/2014
       0310238407               $78.09                $0.00                 7/1/2014




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        Claim Number   Total Charged      Amount Committed         Date Received
       0310238407              $602.46                $0.00                 7/1/2014
       0310238407              $648.96                $0.00                 7/1/2014
       0306296624              $730.08                $0.00                 7/3/2014
       0308455252              $669.40                $0.00                 7/3/2014
       0327821344              $911.20                $0.00                 7/3/2014
       0302093885               $96.18                $0.00                7/11/2014
       0303868343              $468.58                $0.00                7/11/2014
       0304949498               $96.18                $0.00                7/11/2014
       0304949498              $944.32                $0.00                7/11/2014
       0305763021              $413.14                $0.00                7/11/2014
       0305763021              $648.96                $0.00                7/11/2014
       0305920225              $811.20                $0.00                7/11/2014
       0305920225              $133.88                $0.00                7/11/2014
       0308980044              $486.72                $0.00                7/11/2014
       0308980044              $288.54              $270.36                7/11/2014
       0308980044              $870.22              $520.78                7/11/2014
       0316475342              $243.36                $0.00                7/11/2014
       0316475342              $869.59                $0.00                7/11/2014
       0318113560              $973.44                $0.00                7/11/2014
       0318113560            $1,225.48                $0.00                7/11/2014
       0320865546              $892.32                $0.00                7/11/2014
       0327821344              $242.74                $0.00                7/11/2014
       0303868343              $334.70                $0.00                7/15/2014
       0303868343               $98.47                $0.00                7/15/2014
       0308980044              $669.40                $0.00                7/15/2014
       0308980044              $892.32                $0.00                7/15/2014
       0308980044               $48.09                $0.00                7/15/2014
       0322992843              $870.22                $0.00                7/15/2014
       0322992843              $567.84                $0.00                7/15/2014
       0322992843            $1,004.10                $0.00                7/15/2014
       0322992843              $944.32                $0.00                7/15/2014
       0322992843              $892.32                $0.00                7/15/2014
       0302342696            $1,460.16                $0.00                7/22/2014
       0308460948              $486.72                $0.00                7/22/2014
       0308460948              $413.14                $0.00                7/22/2014
       0320148182              $736.34                $0.00                7/22/2014
       0320148182              $811.20                $0.00                7/22/2014
       0320865546            $1,137.98                $0.00                7/22/2014
       0320865546              $405.60                $0.00                7/22/2014
       0320865546              $336.63                $0.00                7/22/2014
       0327821344              $486.72                $0.00                7/22/2014
       0327821344              $192.36                $0.00                7/22/2014
       0328003769              $987.54                $0.00                7/25/2014
       0308980044              $240.45                $0.00                7/29/2014




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        Claim Number   Total Charged      Amount Committed         Date Received
       0324178219            $1,141.00                $0.00                7/29/2014
       0327821344            $1,656.94                $0.00                7/29/2014
       0328003769            $1,337.92                $0.00                7/29/2014
       0305920225              $730.08                $0.00                7/30/2014
       0298079211              $334.70                $0.00                7/31/2014
       0298079211              $324.48                $0.00                7/31/2014
       0302093885              $602.46                $0.00                7/31/2014
       0302342696              $602.46                $0.00                7/31/2014
       0302342696              $602.46                $0.00                7/31/2014
       0304949498              $811.20                $0.00                7/31/2014
       0312237415              $146.56                $0.00                7/31/2014
       0324178219              $830.08                $0.00                7/31/2014
       0328003769              $468.58                $0.00                7/31/2014
       0333163657              $293.12              $172.84                7/31/2014
       0324178219              $242.74                $0.00                 8/1/2014
       0302093885              $240.45                $0.00                 8/5/2014
       0302093885              $811.20                $0.00                 8/5/2014
       0305920225              $730.08                $0.00                 8/5/2014
       0305920225              $535.52                $0.00                 8/5/2014
       0306296624              $267.76                $0.00                 8/5/2014
       0306296624              $324.48                $0.00                 8/5/2014
       0307847673              $730.08                $0.00                 8/5/2014
       0307847673              $669.40                $0.00                 8/5/2014
       0322992843              $194.65                $0.00                 8/5/2014
       0322992843              $730.08                $0.00                 8/5/2014
       0322992843              $730.08                $0.00                 8/5/2014
       0330073578              $983.44                $0.00                 8/5/2014
       0330073578              $786.72                $0.00                 8/6/2014
       0305763021              $472.16                $0.00                8/12/2014
       0305763021              $648.96                $0.00                8/12/2014
       0308460948              $486.72                $0.00                8/12/2014
       0308460948              $475.08                $0.00                8/12/2014
       0308980044              $870.22                $0.00                8/12/2014
       0308980044              $405.60                $0.00                8/12/2014
       0310238407              $468.58                $0.00                8/12/2014
       0310238407              $567.84                $0.00                8/12/2014
       0316475342            $1,124.04                $0.00                8/12/2014
       0316475342            $1,297.92                $0.00                8/12/2014
       0316475342               $48.09                $0.00                8/12/2014
       0318113560              $944.32                $0.00                8/12/2014
       0318113560              $730.08                $0.00                8/12/2014
       0324178219               $96.18                $0.00                8/12/2014
       0324178219              $736.34                $0.00                8/12/2014
       0324178219              $892.32                $0.00                8/12/2014




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        Claim Number   Total Charged      Amount Committed         Date Received
       0333163657            $1,851.42                $0.00                8/13/2014
       0308980044               $48.09                $0.00                8/14/2014
       0308980044              $669.40                $0.00                8/14/2014
       0308980044              $648.96                $0.00                8/14/2014
       0322992843              $803.28                $0.00                8/14/2014
       0322992843              $870.22                $0.00                8/14/2014
       0322992843              $243.36                $0.00                8/14/2014
       0322992843              $243.36                $0.00                8/14/2014
       0320865546              $803.28                $0.00                8/20/2014
       0320865546              $648.96                $0.00                8/21/2014
       0333163541              $117.32                $0.00                8/21/2014
       0306296624              $730.08                $0.00                8/22/2014
       0306296624              $669.40                $0.00                8/22/2014
       0306296624              $730.08              $453.76                8/22/2014
       0308455252              $870.22                $0.00                8/22/2014
       0320148182              $528.96                $0.00                8/22/2014
       0320148182              $133.88                $0.00                8/22/2014
       0297442121            $1,121.38                $0.00                8/26/2014
       0302342696              $401.64                $0.00                8/26/2014
       0302342696              $405.60                $0.00                8/26/2014
       0302342696              $405.60                $0.00                8/26/2014
       0302342696              $334.70                $0.00                8/26/2014
       0327821344              $267.76                $0.00                8/26/2014
       0327821344            $1,216.80                $0.00                8/26/2014
       0327821344               $48.09                $0.00                8/26/2014
       0333163541               $98.47                $0.00                8/26/2014
       0302093885              $468.58                $0.00                8/29/2014
       0302093885              $567.84                $0.00                8/29/2014
       0302093885               $48.09                $0.00                8/29/2014
       0328003769              $267.76                $0.00                8/29/2014
       0330073578              $535.52                $0.00                8/29/2014
       0304949498              $553.28                $0.00                 9/2/2014
       0307847673              $535.52                $0.00                 9/3/2014
       0308455252              $807.24                $0.00                 9/3/2014
       0328003769              $648.96                $0.00                 9/3/2014
       0330073578              $648.96                $0.00                 9/3/2014
       0305920225              $730.08                $0.00                 9/4/2014
       0305920225              $535.52                $0.00                 9/5/2014
       0305920225              $730.08                $0.00                 9/5/2014
       0305920225              $730.08                $0.00                 9/9/2014
       0308980044              $648.96                $0.00                 9/9/2014
       0308980044              $811.20                $0.00                 9/9/2014
       0308980044              $736.34              $468.16                 9/9/2014
       0316475342              $468.58                $0.00                 9/9/2014




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        Claim Number   Total Charged      Amount Committed         Date Received
       0316475342               $81.12                $0.00                 9/9/2014
       0322992843              $892.32                $0.00                 9/9/2014
       0324178219            $1,137.98                $0.00                 9/9/2014
       0324178219              $648.96                $0.00                 9/9/2014
       0333163657              $892.32                $0.00                 9/9/2014
       0333163657              $887.14                $0.00                 9/9/2014
       0316475342              $133.88                $0.00                9/10/2014
       0305763021              $811.20                $0.00                9/16/2014
       0305763021              $708.24                $0.00                9/16/2014
       0308980044              $736.34                $0.00                9/16/2014
       0322992843              $535.52                $0.00                9/16/2014
       0322992843              $535.52                $0.00                9/16/2014
       0322992843              $649.22                $0.00                9/16/2014
       0318113560              $811.20                $0.00                9/17/2014
       0318113560              $826.28              $255.36                9/17/2014
       0322992843              $892.32                $0.00                9/17/2014
       0335946026            $2,230.24                $0.00                9/19/2014
       0335946026            $2,097.51                $0.00                9/19/2014
       0335946026              $242.74                $0.00                9/22/2014
       0320865546              $602.46                $0.00                9/25/2014
       0335946026            $1,479.04                $0.00                9/25/2014
       0320865546               $48.09                $0.00                9/29/2014
       0330073578              $730.08                $0.00                9/30/2014
       0330073578              $535.52                $0.00                9/30/2014
       0335946026              $293.12                $0.00                9/30/2014
       0336239801            $1,322.24                $0.00                10/1/2014
       0307847673              $669.40                $0.00                10/3/2014
       0307847673              $811.20                $0.00                10/3/2014
       0308980044              $486.72                $0.00                10/3/2014
       0320865546              $730.08                $0.00                10/3/2014
       0327821344              $973.44                $0.00                10/3/2014
       0327821344              $937.16                $0.00                10/3/2014
       0328003769              $535.52                $0.00                10/3/2014
       0335946026            $1,723.88                $0.00                10/3/2014
       0302093885               $48.09                $0.00                10/6/2014
       0308980044              $288.54                $0.00                10/6/2014
       0327821344               $48.09                $0.00                10/6/2014
       0305920225            $1,297.92              $694.21                10/8/2014
       0306296624              $401.64                $0.00                10/8/2014
       0316475342              $669.40                $0.00                10/8/2014
       0324178219              $888.22                $0.00                10/8/2014
       0336427497              $602.46                $0.00                10/8/2014
       0335946026            $1,723.88                $0.00              10/13/2014
       0335946026            $1,790.82                $0.00              10/13/2014




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        Claim Number   Total Charged      Amount Committed         Date Received
       0336427497            $1,055.48                 $0.00             10/13/2014
       0340596302              $579.37                 $0.00             10/14/2014
       0308980044              $405.60                 $0.00             10/15/2014
       0308980044              $468.58                 $0.00             10/15/2014
       0308980044              $133.88                 $0.00             10/15/2014
       0308980044            $1,054.56                 $0.00             10/15/2014
       0308980044               $48.09                 $0.00             10/15/2014
       0316475342              $892.32                 $0.00             10/15/2014
       0322992843              $535.52                 $0.00             10/15/2014
       0322992843              $730.08                 $0.00             10/15/2014
       0322992843              $602.46                 $0.00             10/15/2014
       0322992843              $531.18                 $0.00             10/15/2014
       0324178219            $1,135.68                 $0.00             10/15/2014
       0329357446              $435.10                 $0.00             10/15/2014
       0329357446            $1,397.92               $911.85             10/15/2014
       0330073578              $468.58                 $0.00             10/15/2014
       0333163657              $973.44                 $0.00             10/15/2014
       0336427497              $194.65                 $0.00             10/15/2014
       0339185506              $146.56               $140.50             10/15/2014
       0339185506              $146.56               $140.50             10/15/2014
       0336992656            $1,571.99                 $0.00             10/17/2014
       0339185506            $1,389.18                 $0.00             10/17/2014
       0339185506            $1,389.18               $894.88             10/17/2014
       0340596302            $1,924.70                 $0.00             10/17/2014
       0335946026            $1,033.32                 $0.00             10/20/2014
       0305763021              $531.18               $335.34             10/21/2014
       0320865546              $669.40                 $0.00             10/21/2014
       0336239801            $2,652.32                 $0.00             10/21/2014
       0336239801              $194.65                 $0.00             10/21/2014
       0339185506            $4,530.16                 $0.00             10/21/2014
       0339185506            $1,641.28             $1,125.18             10/21/2014
       0340596302            $1,560.16             $1,081.08             10/21/2014
       0333163657              $937.16                 $0.00             10/22/2014
       0320865546               $96.18                 $0.00             10/24/2014
       0324178219              $364.20                 $0.00             10/24/2014
       0320865546              $730.08                 $0.00             10/27/2014
       0335946026              $669.40                 $0.00             10/27/2014
       0305763021              $730.08                 $0.00             10/31/2014
       0307847673              $468.58                 $0.00             10/31/2014
       0308980044            $1,071.04                 $0.00             10/31/2014
       0308980044              $384.72                 $0.00             10/31/2014
       0327821344              $486.72                 $0.00             10/31/2014
       0327821344              $722.40                 $0.00             10/31/2014
       0335946026              $669.40               $425.60             10/31/2014




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        Claim Number   Total Charged      Amount Committed         Date Received
       0335946026              $669.40              $425.60              10/31/2014
       0335946026              $736.34              $468.16              10/31/2014
       0336239801              $669.40                $0.00              10/31/2014
       0336239801              $405.60                $0.00              10/31/2014
       0339185506              $133.88                $0.00              10/31/2014
       0339185506              $133.88               $92.68              10/31/2014
       0343536264              $146.56                $0.00              10/31/2014
       0318113560              $708.24                $0.00                11/4/2014
       0318113560            $1,054.56                $0.00                11/4/2014
       0335946026              $973.44              $680.64                11/4/2014
       0336427497              $602.46                $0.00                11/4/2014
       0333163657            $1,397.92              $959.77              11/11/2014
       0308980044              $803.28                $0.00              11/17/2014
       0322992843              $602.46                $0.00              11/17/2014
       0322992843              $531.18                $0.00              11/17/2014
       0322992843              $602.46                $0.00              11/17/2014
       0322992843              $730.08                $0.00              11/17/2014
       0305920225              $811.20                $0.00              11/18/2014
       0329357446              $567.84                $0.00              11/18/2014
       0329357446              $240.45                $0.00              11/18/2014
       0336992656              $849.16                $0.00              11/18/2014
       0340596302            $1,071.04              $627.76              11/18/2014
       0341843308            $1,235.68                $0.00              11/18/2014
       0341843308            $1,289.12                $0.00              11/18/2014
       0308980044              $811.20                $0.00              11/19/2014
       0327821344              $730.08                $0.00              11/19/2014
       0327821344               $48.09                $0.00              11/19/2014
       0330073578              $669.40                $0.00              11/19/2014
       0330073578              $811.20                $0.00              11/19/2014
       0335946026              $602.46              $383.04              11/19/2014
       0340596302               $96.18                $0.00              11/19/2014
       0340596302              $892.32                $0.00              11/19/2014
       0343536264            $1,505.05                $0.00              11/19/2014
       0308980044              $336.63                $0.00              11/24/2014
       0344742382              $387.01                $0.00              11/24/2014
       0307847673              $602.46                $0.00              11/28/2014
       0320865546              $535.52                $0.00              11/28/2014
       0324178219               $96.18                $0.00              11/28/2014
       0324178219            $1,071.04                $0.00              11/28/2014
       0324178219              $892.32                $0.00              11/28/2014
       0327821344              $669.40                $0.00              11/28/2014
       0335946026              $669.40                $0.00              11/28/2014
       0335946026              $602.46                $0.00              11/28/2014
       0335946026              $602.46                $0.00              11/28/2014




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        Claim Number   Total Charged      Amount Committed         Date Received
       0335946026              $602.46                $0.00              11/28/2014
       0336239801              $486.72                $0.00              11/28/2014
       0336239801              $669.40                $0.00              11/28/2014
       0336992656            $2,776.96                $0.00              11/28/2014
       0343536264              $667.84                $0.00              11/28/2014
       0308980044              $870.22                $0.00                12/2/2014
       0308980044              $486.72                $0.00                12/2/2014
       0318113560              $767.26                $0.00                12/2/2014
       0335946026            $1,054.56                $0.00                12/2/2014
       0335946026            $1,297.92                $0.00                12/2/2014
       0335946026               $48.09                $0.00                12/2/2014
       0336992656              $535.52                $0.00                12/2/2014
       0344742382            $1,479.04                $0.00                12/2/2014
       0344742382               $48.09                $0.00                12/2/2014
       0305920225              $648.96                $0.00                12/3/2014
       0302093885            $1,292.94                $0.00                12/9/2014
       0318113560              $811.20                $0.00                12/9/2014
       0336427497              $669.40                $0.00                12/9/2014
       0340596302              $669.40                $0.00                12/9/2014
       0344742382            $1,656.94                $0.00              12/12/2014
       0290044403              $562.14                $0.00              12/16/2014
       0345822001            $1,857.76                $0.00              12/16/2014
       0345822001            $1,913.03                $0.00              12/16/2014
       0345822001            $2,882.00                $0.00              12/16/2014
       0324178219               $48.09                $0.00              12/17/2014
       0308980044              $401.64                $0.00              12/18/2014
       0308980044              $648.96                $0.00              12/18/2014
       0322992843              $531.18                $0.00              12/18/2014
       0322992843              $648.96                $0.00              12/18/2014
       0322992843              $603.46                $0.00              12/18/2014
       0329357446              $162.24                $0.00              12/18/2014
       0340596302              $892.32                $0.00              12/18/2014
       0340596302              $288.54                $0.00              12/18/2014
       0341843308              $973.44                $0.00              12/18/2014
       0341843308              $803.28                $0.00              12/18/2014
       0345822001            $1,641.28                $0.00              12/18/2014
       0345822001            $1,722.40                $0.00              12/18/2014
       0345822001              $194.65                $0.00              12/18/2014
       0345822001              $194.65                $0.00              12/18/2014
       0324178219              $736.34                $0.00              12/30/2014
       0324178219              $240.45                $0.00              12/30/2014
       0327821344              $937.16                $0.00              12/30/2014
       0330073578              $602.46                $0.00              12/30/2014
       0347219172              $194.65              $185.56              12/30/2014




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        Claim Number   Total Charged      Amount Committed         Date Received
       0347219172              $194.65              $185.56              12/30/2014
       0347519753               $98.47                $0.00              12/30/2014
       0347519753            $1,316.80                $0.00              12/30/2014
       0308980044              $240.45              $225.30                 1/6/2015
       0324178219            $1,083.32                $0.00                 1/6/2015
       0327821344              $973.44                $0.00                 1/6/2015
       0330073578              $811.20                $0.00                 1/6/2015
       0335946026              $669.40                $0.00                 1/6/2015
       0335946026            $1,941.26                $0.00                 1/6/2015
       0336239801              $973.44                $0.00                 1/6/2015
       0336239801            $1,448.74                $0.00                 1/6/2015
       0344742382              $408.96                $0.00                 1/6/2015
       0344742382              $144.27                $0.00                 1/6/2015
       0347219172            $1,397.92              $946.52                 1/6/2015
       0347219172            $1,427.92              $946.52                 1/6/2015
       0347519753            $1,536.97                $0.00                 1/8/2015
       0307847673              $602.46                $0.00                1/12/2015
       0318113560              $590.20                $0.00                1/12/2015
       0343664041            $1,479.04                $0.00                1/12/2015
       0344742382              $716.34                $0.00                1/12/2015
       0347519753            $1,111.20                $0.00                1/12/2015
       0351556865            $1,154.56                $0.00                1/12/2015
       0345822001            $1,329.80                $0.00                1/15/2015
       0347219172               $48.09               $45.06                1/15/2015
       0347219172              $730.08              $510.48                1/15/2015
       0307847673              $334.70                $0.00                1/16/2015
       0308980044              $405.60                $0.00                1/16/2015
       0308980044              $736.34                $0.00                1/16/2015
       0336427497              $602.46                $0.00                1/16/2015
       0336992656              $803.28                $0.00                1/16/2015
       0340596302              $811.20                $0.00                1/16/2015
       0340596302               $48.09                $0.00                1/16/2015
       0345822001            $2,543.72                $0.00                1/16/2015
       0345822001            $1,338.80                $0.00                1/16/2015
       0347219172              $736.34                $0.00                1/16/2015
       0348424268              $385.08                $0.00                1/16/2015
       0308980044              $468.58                $0.00                1/19/2015
       0343664041              $243.36                $0.00                1/19/2015
       0290044403              $499.68                $0.00                1/20/2015
       0305920225            $1,135.84                $0.00                1/20/2015
       0308980044              $453.69                $0.00                1/20/2015
       0320865546              $849.14                $0.00                1/20/2015
       0324178219            $1,952.46                $0.00                1/20/2015
       0324178219              $730.08                $0.00                1/20/2015




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        Claim Number   Total Charged      Amount Committed         Date Received
       0336992656              $973.44                $0.00                1/20/2015
       0341843308            $1,135.68                $0.00                1/20/2015
       0341843308            $1,004.10                $0.00                1/20/2015
       0343664041              $468.58                $0.00                1/20/2015
       0345822001              $144.27                $0.00                1/20/2015
       0345822001              $144.27                $0.00                1/20/2015
       0347219172              $803.28                $0.00                1/20/2015
       0347219172              $144.27                $0.00                1/20/2015
       0348424268              $424.48                $0.00                1/20/2015
       0351556865            $1,255.30                $0.00                1/20/2015
       0327821344              $162.24                $0.00                1/26/2015
       0318113560              $567.84                $0.00                1/27/2015
       0327821344              $837.85                $0.00                1/27/2015
       0347219172              $973.44                $0.00                1/27/2015
       0351960240            $1,508.38                $0.00                1/28/2015
       0343664041            $1,054.48                $0.00                1/29/2015
       0347219172            $1,707.32                $0.00                1/29/2015
       0347219172            $1,238.74                $0.00                1/30/2015
       0335946026              $602.46                $0.00                 2/2/2015
       0335946026              $602.46                $0.00                 2/2/2015
       0335946026              $602.48                $0.00                 2/2/2015
       0335946026              $602.46                $0.00                 2/2/2015
       0336239801              $648.96                $0.00                 2/2/2015
       0344742382              $860.38                $0.00                 2/2/2015
       0347519753              $732.30                $0.00                 2/2/2015
       0322992843              $468.58                $0.00                 2/3/2015
       0322992843              $413.14                $0.00                 2/3/2015
       0322992843              $468.58                $0.00                 2/3/2015
       0344894068            $1,389.18              $582.54                 2/4/2015
       0308980044            $2,242.70                $0.00                 2/5/2015
       0308980044            $5,088.86              $116.13                 2/5/2015
       0302093885              $736.34                $0.00                 2/6/2015
       0305920225              $405.60              $272.61                 2/6/2015
       0330073578              $669.40                $0.00                 2/6/2015
       0336992656              $468.58              $297.92                 2/6/2015
       0344742382              $511.20                $0.00                 2/6/2015
       0347219172              $401.64                $0.00                 2/6/2015
       0347219172              $736.34                $0.00                 2/6/2015
       0347219172               $48.09                $0.00                 2/6/2015
       0347219172              $730.08                $0.00                 2/6/2015
       0348424268              $803.28                $0.00                 2/6/2015
       0307847673              $602.46                $0.00                2/12/2015
       0308980044              $240.45                $0.00                2/12/2015
       0318113560              $420.24                $0.00                2/12/2015




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        Claim Number   Total Charged      Amount Committed         Date Received
       0327821344              $937.16                $0.00                2/12/2015
       0336239801              $535.52                $0.00                2/12/2015
       0336427497            $1,338.80                $0.00                2/12/2015
       0336992656              $548.84              $397.04                2/12/2015
       0339185506            $1,523.06                $0.00                2/12/2015
       0340596302            $1,941.26                $0.00                2/12/2015
       0340596302              $567.84                $0.00                2/12/2015
       0340596302              $192.36                $0.00                2/12/2015
       0343536264              $676.54                $0.00                2/12/2015
       0344742382              $240.45                $0.00                2/12/2015
       0344894068              $242.74                $0.00                2/12/2015
       0344894068               $48.09                $0.00                2/12/2015
       0344894068            $1,479.04                $0.00                2/12/2015
       0345822001            $1,054.56                $0.00                2/12/2015
       0345822001            $1,541.28                $0.00                2/12/2015
       0345822001               $48.09                $0.00                2/12/2015
       0347219172              $405.60                $0.00                2/12/2015
       0347519753               $48.09                $0.00                2/12/2015
       0347519753              $648.96                $0.00                2/12/2015
       0348424268              $730.08                $0.00                2/12/2015
       0351960240            $1,316.80                $0.00                2/12/2015
       0351960240              $387.01                $0.00                2/12/2015
       0351960240               $96.18                $0.00                2/12/2015
       0352200083              $146.56                $0.00                2/12/2015
       0349373837              $251.20                $0.00                2/20/2015
       0352200083            $1,322.24                $0.00                2/20/2015
       0320865546              $669.40                $0.00                2/23/2015
       0322992843              $590.20                $0.00                2/23/2015
       0322992843              $669.40                $0.00                2/23/2015
       0322992843              $669.40                $0.00                2/23/2015
       0322992843              $405.60                $0.00                2/23/2015
       0324178219              $730.09                $0.00                2/23/2015
       0324178219            $2,169.40                $0.00                2/23/2015
       0335946026              $966.24                $0.00                2/23/2015
       0335946026            $1,004.10                $0.00                2/23/2015
       0335946026            $1,133.30                $0.00                2/23/2015
       0336239801              $803.28                $0.00                2/23/2015
       0336239801              $648.96                $0.00                2/23/2015
       0341843308              $818.16                $0.00                2/23/2015
       0341843308              $811.20                $0.00                2/23/2015
       0345822001              $870.22                $0.00                2/23/2015
       0345822001            $1,004.10                $0.00                2/23/2015
       0345822001            $1,070.14                $0.00                2/23/2015
       0345822001              $192.36                $0.00                2/23/2015




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        Claim Number   Total Charged      Amount Committed         Date Received
       0345822001              $144.27                $0.00                2/23/2015
       0345822001              $567.84                $0.00                2/23/2015
       0345822001              $567.84                $0.00                2/23/2015
       0351960240              $602.46                $0.00                2/23/2015
       0351960240              $730.08                $0.00                2/23/2015
       0327821344            $1,472.68                $0.00                2/27/2015
       0327821344            $1,105.68                $0.00                2/27/2015
       0335946026              $811.20                $0.00                2/27/2015
       0335946026              $811.20                $0.00                2/27/2015
       0344742382              $937.16                $0.00                2/27/2015
       0344742382              $460.08                $0.00                2/27/2015
       0347519753              $943.16                $0.00                2/27/2015
       0347519753            $1,054.56                $0.00                2/27/2015
       0349373837              $343.36                $0.00                2/27/2015
       0352200083              $586.72                $0.00                2/27/2015
       0343664041              $870.22                $0.00                 3/3/2015
       0347219172              $870.22                $0.00                 3/3/2015
       0348424268              $535.52                $0.00                 3/3/2015
       0318113560              $648.96                $0.00                 3/5/2015
       0318113560              $385.22                $0.00                 3/5/2015
       0320865546              $468.58                $0.00                 3/5/2015
       0330073578              $669.40                $0.00                 3/5/2015
       0343664041            $1,460.16                $0.00                 3/5/2015
       0347219172              $870.22                $0.00                 3/5/2015
       0348424268              $522.24                $0.00                 3/5/2015
       0355046426            $1,477.84                $0.00                 3/5/2015
       0355046426              $233.19                $0.00                 3/6/2015
       0344894068            $1,044.48                $0.00                 3/9/2015
       0340596302            $1,071.04                $0.00                3/12/2015
       0344894068              $870.22                $0.00                3/12/2015
       0347219172              $801.12                $0.00                3/12/2015
       0347219172              $801.21                $0.00                3/12/2015
       0352200083              $200.82                $0.00                3/12/2015
       0322992843              $711.12                $0.00                3/13/2015
       0347519753              $401.64                $0.00                3/13/2015
       0336992656              $891.12                $0.00                3/16/2015
       0345822001              $192.36                $0.00                3/16/2015
       0345822001            $1,137.98                $0.00                3/16/2015
       0345822001            $1,137.98                $0.00                3/16/2015
       0345822001            $1,137.98                $0.00                3/16/2015
       0322992843              $472.16                $0.00                3/17/2015
       0322992843            $2,622.44                $0.00                3/17/2015
       0322992843              $535.52                $0.00                3/17/2015
       0336992656              $870.22                $0.00                3/17/2015




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        Claim Number   Total Charged      Amount Committed         Date Received
       0340596302            $1,116.72                $0.00                3/17/2015
       0340596302               $96.18                $0.00                3/17/2015
       0341843308              $870.22                $0.00                3/17/2015
       0345822001              $192.36                $0.00                3/17/2015
       0345822001              $693.36                $0.00                3/17/2015
       0345822001              $702.24                $0.00                3/17/2015
       0308980044               $96.18                $0.00                3/24/2015
       0341843308              $711.12                $0.00                3/24/2015
       0347219172              $602.46                $0.00                3/24/2015
       0347219172              $720.00                $0.00                3/24/2015
       0347519753            $1,000.42                $0.00                3/24/2015
       0351960240              $880.22                $0.00                3/24/2015
       0351960240              $540.00                $0.00                3/24/2015
       0320865546              $810.00                $0.00                3/27/2015
       0320865546              $468.58                $0.00                3/27/2015
       0324178219            $1,084.70                $0.00                3/27/2015
       0327821344              $288.84                $0.00                3/27/2015
       0336239801              $468.58                $0.00                3/27/2015
       0347519753               $96.18                $0.00                3/27/2015
       0318113560              $521.13                $0.00                3/30/2015
       0327821344              $531.12                $0.00                3/30/2015
       0335946026              $900.00                $0.00                3/30/2015
       0335946026              $535.52                $0.00                3/30/2015
       0335946026              $468.58                $0.00                3/30/2015
       0335946026              $535.52                $0.00                3/30/2015
       0335946026              $525.52                $0.00                3/30/2015
       0335946026              $882.24                $0.00                3/30/2015
       0347219172              $669.40                $0.00                3/30/2015
       0347219172              $630.00                $0.00                3/30/2015
       0348424268              $510.00                $0.00                3/30/2015
       0318113560              $630.00                $0.00                 4/2/2015
       0324178219            $2,396.34                $0.00                 4/7/2015
       0324178219            $1,062.24                $0.00                 4/7/2015
       0324178219              $144.27                $0.00                 4/7/2015
       0344894068              $870.22                $0.00                 4/7/2015
       0344894068               $96.18                $0.00                 4/7/2015
       0344894068            $1,080.00                $0.00                 4/7/2015
       0345822001              $535.52                $0.00                 4/7/2015
       0345822001              $567.44                $0.00                 4/7/2015
       0345822001              $540.00                $0.00                 4/7/2015
       0345822001              $636.18                $0.00                 4/7/2015
       0340596302              $936.26                $0.00                 4/8/2015
       0340596302              $720.00                $0.00                 4/8/2015
       0340596302              $336.63              $315.42                 4/8/2015




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        Claim Number   Total Charged      Amount Committed         Date Received
       0344742382            $1,071.04                $0.00                 4/8/2015
       0344742382               $66.94                $0.00                 4/8/2015
       0344742382              $651.12                $0.00                 4/8/2015
       0355046426            $1,530.00                $0.00                 4/9/2015
       0336239801              $535.52                $0.00                4/10/2015
       0347519753              $669.40                $0.00                4/10/2015
       0355046426            $1,004.10                $0.00                4/10/2015
       0322992843              $468.58                $0.00                4/13/2015
       0322992843              $413.14                $0.00                4/13/2015
       0322992843              $458.58                $0.00                4/13/2015
       0336992656            $1,165.52                $0.00                4/13/2015
       0347519753            $1,020.00                $0.00                4/13/2015
       0336239801              $810.00                $0.00                4/16/2015
       0341843308              $803.28                $0.00                4/16/2015
       0341843308              $630.00                $0.00                4/16/2015
       0348424268              $535.52                $0.00                4/16/2015
       0348424268              $630.00                $0.00                4/20/2015
       0345822001               $96.18                $0.00                4/27/2015
       0345822001               $96.18                $0.00                4/27/2015
       0318113560              $472.16                $0.00                 5/1/2015
       0324178219               $99.13                $0.00                 5/1/2015
       0344742382              $240.00                $0.00                 5/1/2015
       0344742382            $1,606.56                $0.00                 5/1/2015
       0345822001              $144.27                $0.00                 5/1/2015
       0324178219            $2,372.40                $0.00                 5/4/2015
       0324178219              $690.00                $0.00                 5/4/2015
       0345822001              $937.16                $0.00                 5/4/2015
       0345822001              $267.76                $0.00                 5/4/2015
       0345822001              $736.34                $0.00                 5/4/2015
       0345822001            $1,071.04                $0.00                 5/4/2015
       0340596302              $900.00                $0.00                5/11/2015
       0340596302               $48.09                $0.00                5/11/2015
       0344894068              $669.40                $0.00                5/11/2015
       0345822001              $819.82                $0.00                5/13/2015
       0344894068               $96.18                $0.00                5/15/2015
       0344894068              $900.00                $0.00                5/15/2015
       0347219172              $450.00                $0.00                5/15/2015
       0347219172              $334.70                $0.00                5/15/2015
       0347219172               $48.09               $42.56                5/15/2015
       0347219172               $48.09               $42.56                5/15/2015
       0347219172              $468.58               $85.12                5/15/2015
       0347219172              $630.00              $397.04                5/15/2015
       0347519753              $535.52                $0.00                5/15/2015
       0351960240              $736.34                $0.00                5/15/2015




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        Claim Number   Total Charged      Amount Committed         Date Received
       0351960240              $192.36                $0.00                5/15/2015
       0351960240              $810.00                $0.00                5/15/2015
       0318113560              $630.00                $0.00                5/18/2015
       0336992656              $602.46                $0.00                5/18/2015
       0340596302              $803.28                $0.00                5/18/2015
       0340596302               $48.09               $45.06                5/18/2015
       0341843308              $803.28                $0.00                5/18/2015
       0345822001               $48.09                $0.00                5/18/2015
       0345822001              $810.00                $0.00                5/18/2015
       0345822001            $1,620.00                $0.00                5/18/2015
       0345822001               $96.18                $0.00                5/18/2015
       0364301036              $627.46                $0.00                5/19/2015
       0308980044            $2,274.62                $0.00                5/22/2015
       0308980044            $2,743.72                $0.00                5/22/2015
       0336992656              $630.00                $0.00                5/22/2015
       0341843308            $1,260.00                $0.00                5/22/2015
       0344894068               $48.09                $0.00                5/22/2015
       0347519753              $630.00                $0.00                5/22/2015
       0364301036            $1,630.00                $0.00                5/22/2015
       0364301036            $1,991.64                $0.00                5/22/2015
       0335946026              $334.70                $0.00                5/26/2015
       0335946026              $133.88                $0.00                5/26/2015
       0335946026              $334.70                $0.00                5/26/2015
       0335946026              $334.70                $0.00                5/26/2015
       0344742382              $401.64                $0.00                5/26/2015
       0347219172              $736.34                $0.00                5/26/2015
       0347219172              $990.00                $0.00                5/26/2015
       0347219172              $990.00              $397.04                5/26/2015
       0351960240              $669.40                $0.00                5/26/2015
       0351960240              $900.00                $0.00                5/26/2015
       0308460948            $3,296.48                $0.00                 6/3/2015
       0318113560              $354.12                $0.00                 6/5/2015
       0347219172              $736.34                $0.00                 6/5/2015
       0355046426            $1,080.00                $0.00                 6/5/2015
       0345822001              $144.27                $0.00                 6/8/2015
       0345822001              $240.45                $0.00                 6/8/2015
       0345822001              $873.00                $0.00                 6/8/2015
       0345822001              $937.16                $0.00                 6/8/2015
       0345822001              $900.00                $0.00                 6/8/2015
       0345822001              $870.22                $0.00                 6/8/2015
       0345822001              $937.16                $0.00                 6/8/2015
       0340596302              $870.22                $0.00                6/11/2015
       0340596302              $720.00                $0.00                6/11/2015
       0340596302              $144.27               $45.06                6/11/2015




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        Claim Number   Total Charged      Amount Committed         Date Received
       0341843308              $573.00                $0.00                6/11/2015
       0344742382              $720.00                $0.00                6/11/2015
       0344894068              $803.28                $0.00                6/11/2015
       0347519753              $720.00                $0.00                6/11/2015
       0347519753              $669.40                $0.00                6/11/2015
       0355046426              $180.00                $0.00                6/11/2015
       0364301036              $270.00                $0.00                6/11/2015
       0364301036              $360.00                $0.00                6/11/2015
       0364301036              $240.45                $0.00                6/11/2015
       0368052445            $1,188.36                $0.00                6/11/2015
       0368052445            $1,090.00                $0.00                6/11/2015
       0355046426            $2,008.20                $0.00                6/12/2015
       0318113560              $540.00                $0.00                6/19/2015
       0324178219               $96.18                $0.00                6/19/2015
       0324178219              $810.00                $0.00                6/19/2015
       0341843308              $870.22                $0.00                6/19/2015
       0344742382            $1,004.10                $0.00                6/19/2015
       0364301036            $1,173.00                $0.00                6/19/2015
       0344894068              $192.36                $0.00                6/26/2015
       0344894068              $630.00                $0.00                6/26/2015
       0344894068              $401.64                $0.00                6/26/2015
       0344894068              $630.00                $0.00                6/26/2015
       0347219172              $669.40                $0.00                6/26/2015
       0347219172              $669.40                $0.00                6/26/2015
       0351960240              $468.58                $0.00                6/26/2015
       0351960240               $48.09                $0.00                6/26/2015
       0351960240              $270.00                $0.00                6/26/2015
       0351960240              $270.00                $0.00                6/26/2015
       0364301036              $192.36                $0.00                6/26/2015
       0365423110            $1,159.86                $0.00                6/26/2015
       0367011673              $194.65                $0.00                6/26/2015
       0367011673            $1,322.24                $0.00                6/26/2015
       0367011673              $910.00                $0.00                6/26/2015
       0368052445              $900.00                $0.00                6/26/2015
       0368052445              $870.22                $0.00                6/26/2015
       0318113560              $354.12                $0.00                6/29/2015
       0345822001              $192.36                $0.00                 7/6/2015
       0345822001              $630.00                $0.00                 7/6/2015
       0345822001              $535.52                $0.00                 7/6/2015
       0345822001              $468.58                $0.00                 7/6/2015
       0345822001              $630.00                $0.00                 7/6/2015
       0345822001              $192.36                $0.00                 7/6/2015
       0345822001              $535.52                $0.00                 7/6/2015
       0340596302              $612.46                $0.00                7/14/2015




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        Claim Number   Total Charged      Amount Committed         Date Received
       0340596302              $690.00                $0.00                7/14/2015
       0340596302               $48.09                $0.00                7/14/2015
       0341843308              $900.00                $0.00                7/14/2015
       0344742382              $936.26                $0.00                7/14/2015
       0347519753              $990.00                $0.00                7/14/2015
       0347519753              $669.40                $0.00                7/14/2015
       0355046426              $990.00                $0.00                7/14/2015
       0355046426              $669.40                $0.00                7/14/2015
       0364301036              $803.28                $0.00                7/14/2015
       0364301036               $93.23                $0.00                7/14/2015
       0364301036            $1,350.00                $0.00                7/14/2015
       0370322967            $1,540.00                $0.00                7/14/2015
       0370322967              $290.83                $0.00                7/14/2015
       0370322967            $1,583.66                $0.00                7/14/2015
       0368052445              $535.52                $0.00                7/16/2015
       0341843308              $669.40                $0.00                7/21/2015
       0368052445              $630.00                $0.00                7/21/2015
       0371625559              $242.74                $0.00                7/21/2015
       0305763021              $162.24                $0.00                7/23/2015
       0365423110            $1,071.04                $0.00                7/23/2015
       0371625559            $1,450.00                $0.00                7/23/2015
       0351960240              $736.34                $0.00                7/27/2015
       0370322967              $194.65                $0.00                7/27/2015
       0370322967              $535.52                $0.00                7/27/2015
       0370322967            $1,810.00                $0.00                7/27/2015
       0305763021              $413.14                $0.00                7/28/2015
       0305763021              $354.12                $0.00                7/28/2015
       0305763021              $649.22                $0.00                7/28/2015
       0305763021              $730.08                $0.00                7/28/2015
       0305763021              $669.40                $0.00                7/28/2015
       0305763021              $648.96                $0.00                7/28/2015
       0305763021              $648.96                $0.00                7/28/2015
       0305763021              $118.04                $0.00                7/28/2015
       0305763021              $118.04                $0.00                7/28/2015
       0305763021              $118.04                $0.00                7/28/2015
       0305763021               $59.02                $0.00                7/28/2015
       0305763021              $118.04                $0.00                7/28/2015
       0305763021               $81.12                $0.00                7/28/2015
       0305763021              $162.24                $0.00                7/28/2015
       0351960240              $810.00                $0.00                7/30/2015
       0370322967              $450.00                $0.00                7/30/2015
       0370322967            $1,583.66                $0.00                 8/4/2015
       0344894068              $630.00                $0.00                 8/7/2015
       0344894068              $334.70                $0.00                 8/7/2015




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        Claim Number   Total Charged      Amount Committed         Date Received
       0344894068               $96.18                $0.00                 8/7/2015
       0345822001              $192.36                $0.00                 8/7/2015
       0345822001              $810.00                $0.00                 8/7/2015
       0345822001            $3,896.44                $0.00                 8/7/2015
       0345822001              $810.00                $0.00                 8/7/2015
       0345822001               $96.18                $0.00                 8/7/2015
       0345822001              $669.40                $0.00                 8/7/2015
       0345822001              $735.89                $0.00                 8/7/2015
       0347219172            $1,890.00                $0.00                 8/7/2015
       0347219172            $1,890.00                $0.00                 8/7/2015
       0347219172              $736.34                $0.00                 8/7/2015
       0347219172              $803.28                $0.00                 8/7/2015
       0364301036              $900.00                $0.00                 8/7/2015
       0364301036              $736.34                $0.00                 8/7/2015
       0364301036              $192.36                $0.00                 8/7/2015
       0370322967              $535.52                $0.00                 8/7/2015
       0373803279              $920.60                $0.00                8/13/2015
       0347519753              $736.34                $0.00                8/14/2015
       0347519753              $720.00                $0.00                8/14/2015
       0355046426              $937.16                $0.00                8/14/2015
       0355046426              $540.00                $0.00                8/14/2015
       0369504179              $290.83              $275.68                8/14/2015
       0371625559            $1,389.18                $0.00                8/14/2015
       0373803279            $1,180.00                $0.00                8/14/2015
       0373803279            $1,180.00                $0.00                8/14/2015
       0375154895            $1,456.12                $0.00                8/14/2015
       0368052445              $990.00                $0.00                8/18/2015
       0369504179              $987.54              $625.10                8/18/2015
       0373803279            $1,054.48                $0.00                8/18/2015
       0341843308              $803.28                $0.00                8/19/2015
       0341843308              $810.00                $0.00                8/19/2015
       0344742382              $937.16                $0.00                8/19/2015
       0344742382              $840.00                $0.00                8/19/2015
       0365423110              $842.22                $0.00                8/19/2015
       0368052445              $870.22                $0.00                8/19/2015
       0371625559              $973.16                $0.00                8/19/2015
       0375154895            $1,540.00                $0.00                8/19/2015
       0351960240              $720.00                $0.00                8/27/2015
       0351960240              $535.52                $0.00                8/27/2015
       0371625559            $1,200.00                $0.00                8/27/2015
       0369504179            $1,540.00              $947.94                8/28/2015
       0369504179              $144.27              $135.18                 9/1/2015
       0370322967              $870.22                $0.00                 9/1/2015
       0370322967              $937.16                $0.00                 9/1/2015




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        Claim Number   Total Charged      Amount Committed         Date Received
       0370322967              $144.27                $0.00                 9/1/2015
       0370322967            $1,140.00                $0.00                 9/1/2015
       0375741667            $1,540.00                $0.00                 9/4/2015
       0375279288            $4,160.00                $0.00                 9/9/2015
       0341843308              $602.46                $0.00                9/11/2015
       0345822001              $535.52                $0.00                9/11/2015
       0345822001              $602.46                $0.00                9/11/2015
       0345822001              $810.00                $0.00                9/11/2015
       0345822001              $602.46                $0.00                9/11/2015
       0345822001               $96.18                $0.00                9/11/2015
       0345822001              $810.00                $0.00                9/11/2015
       0347519753            $1,080.00                $0.00                9/11/2015
       0347519753              $736.34                $0.00                9/11/2015
       0350511663              $820.00                $0.00                9/11/2015
       0355046426            $1,080.00                $0.00                9/11/2015
       0355046426              $803.28                $0.00                9/11/2015
       0365423110              $535.52                $0.00                9/11/2015
       0370322967               $96.18                $0.00                9/11/2015
       0370322967            $1,530.00                $0.00                9/11/2015
       0375741667              $973.60                $0.00                9/15/2015
       0341843308              $736.34                $0.00                9/17/2015
       0341843308              $936.00                $0.00                9/17/2015
       0344742382              $937.16                $0.00                9/17/2015
       0344742382              $540.00                $0.00                9/17/2015
       0347219172              $401.64                $0.00                9/17/2015
       0347219172              $900.00                $0.00                9/17/2015
       0347219172              $900.00                $0.00                9/17/2015
       0364301036              $803.28                $0.00                9/17/2015
       0369504179              $334.70              $212.80                9/17/2015
       0373803279              $900.00                $0.00                9/17/2015
       0373803279              $900.00                $0.00                9/17/2015
       0375279288            $2,175.90                $0.00                9/18/2015
       0378964126            $1,657.64                $0.00                9/22/2015
       0364301036              $144.27                $0.00                9/23/2015
       0364301036              $990.00                $0.00                9/23/2015
       0368052445            $1,800.00                $0.00                9/23/2015
       0368052445            $1,204.92                $0.00                9/23/2015
       0369504179              $810.00                $0.00                9/23/2015
       0373803279              $870.22                $0.00                9/23/2015
       0373803279            $1,863.48                $0.00                9/23/2015
       0375154895              $736.34                $0.00                9/23/2015
       0375154895              $630.00                $0.00                9/23/2015
       0378964126            $1,450.00                $0.00                9/23/2015
       0375167269            $1,224.80                $0.00                9/29/2015




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        Claim Number   Total Charged      Amount Committed         Date Received
       0347519753            $6,490.53                $0.00                10/2/2015
       0345822001               $48.09                $0.00                10/6/2015
       0347219172              $669.40                $0.00                10/6/2015
       0364301036               $48.09                $0.00                10/6/2015
       0365423110              $553.50                $0.00                10/6/2015
       0369504179               $48.09                $0.00                10/6/2015
       0370322967              $535.52                $0.00                10/6/2015
       0370322967              $720.00                $0.00                10/6/2015
       0370322967              $720.00                $0.00                10/6/2015
       0370322967            $1,224.82                $0.00                10/6/2015
       0371625559            $1,740.44                $0.00                10/6/2015
       0371625559            $1,260.00                $0.00                10/6/2015
       0375167269            $1,348.80                $0.00                10/6/2015
       0375167269            $2,440.00                $0.00                10/6/2015
       0375279288            $1,004.10                $0.00                10/6/2015
       0375279288            $1,170.00                $0.00                10/6/2015
       0375741667              $803.28                $0.00                10/6/2015
       0375741667              $136.56                $0.00                10/6/2015
       0375741667              $990.00                $0.00                10/6/2015
       0341843308              $535.52                $0.00                10/9/2015
       0341843308              $720.00                $0.00                10/9/2015
       0345822001              $180.00                $0.00              10/12/2015
       0345822001              $602.46                $0.00              10/12/2015
       0345822001              $535.52                $0.00              10/12/2015
       0345822001              $535.52                $0.00              10/12/2015
       0345822001              $180.00                $0.00              10/12/2015
       0345822001               $48.09                $0.00              10/12/2015
       0345822001              $144.27                $0.00              10/12/2015
       0347219172              $525.52                $0.00              10/12/2015
       0347219172              $720.00                $0.00              10/12/2015
       0347219172              $900.00                $0.00              10/12/2015
       0347219172              $602.46                $0.00              10/12/2015
       0347519753              $535.52                $0.00              10/12/2015
       0355046426              $540.00                $0.00              10/12/2015
       0355046426              $669.40                $0.00              10/12/2015
       0375154895              $602.46                $0.00              10/12/2015
       0378964126              $388.54                $0.00              10/12/2015
       0380722058            $1,673.52                $0.00              10/13/2015
       0350511663              $720.00                $0.00              10/20/2015
       0370322967              $200.82                $0.00              10/20/2015
       0378964126            $1,038.72                $0.00              10/20/2015
       0347519753              $720.00                $0.00              10/27/2015
       0355046426              $270.00                $0.00              10/27/2015
       0368052445              $180.00                $0.00              10/27/2015




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        Claim Number   Total Charged      Amount Committed         Date Received
       0368052445            $1,004.10                $0.00              10/27/2015
       0370322967              $180.00                $0.00              10/27/2015
       0370322967              $401.64                $0.00              10/27/2015
       0373803279              $270.00                $0.00              10/27/2015
       0373803279              $270.00                $0.00              10/27/2015
       0375741667              $540.00                $0.00              10/27/2015
       0378964126              $180.00                $0.00              10/27/2015
       0378964126              $200.82                $0.00              10/27/2015
       0380593269              $194.65                $0.00              10/27/2015
       0380593269              $910.00                $0.00              10/27/2015
       0382336402               $98.47                $0.00              10/27/2015
       0382336402              $370.00                $0.00              10/27/2015
       0373803279              $602.46                $0.00              10/29/2015
       0373803279              $602.46                $0.00              10/29/2015
       0375167269              $290.83                $0.00              10/29/2015
       0375167269            $1,606.56                $0.00              10/29/2015
       0375279288              $267.76                $0.00              10/29/2015
       0375741667              $870.22                $0.00              10/29/2015
       0345822001               $48.09                $0.00                11/4/2015
       0345822001               $48.09                $0.00                11/4/2015
       0345822001              $267.76                $0.00                11/4/2015
       0345822001              $334.70                $0.00                11/4/2015
       0345822001              $334.73                $0.00                11/4/2015
       0345822001              $267.76                $0.00                11/4/2015
       0345822001               $90.00                $0.00                11/4/2015
       0345822001               $90.00               $56.72                11/4/2015
       0355046426              $736.34                $0.00                11/4/2015
       0355046426              $154.00                $0.00                11/4/2015
       0370322967               $48.09                $0.00                11/4/2015
       0375279288               $77.00                $0.00                11/4/2015
       0375279288              $462.00                $0.00                11/4/2015
       0368052445               $77.00                $0.00                11/6/2015
       0371625559              $803.28                $0.00                11/6/2015
       0347519753              $718.34                $0.00              11/13/2015
       0380593269              $803.28                $0.00              11/13/2015
       0380593269              $144.27                $0.00              11/13/2015
       0380722058            $1,071.04                $0.00              11/13/2015
       0382336402            $1,255.30                $0.00              11/19/2015
       0347219172              $669.40                $0.00              11/20/2015
       0347219172              $602.46                $0.00              11/20/2015
       0355046426              $154.00                $0.00              11/20/2015
       0364301036              $154.00                $0.00              11/20/2015
       0365423110              $937.16                $0.00              11/20/2015
       0375167269              $385.00                $0.00              11/20/2015




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        Claim Number   Total Charged    Amount Committed           Date Received
       0378964126            $1,071.04                  $0.00            11/20/2015
       0378964126               $48.09                  $0.00            11/20/2015
       0378964126              $475.00                  $0.00            11/20/2015
       0380593269              $796.00                  $0.00            11/20/2015
       0382336402              $244.00                  $0.00            11/20/2015
       0387550940            $1,255.30                  $0.00            11/20/2015
       0308980044            $1,821.04                  $0.00            11/23/2015
       0308980044            $3,079.24                  $0.00            11/23/2015
       0177474467            $1,237.12                  $0.00            11/25/2015
       0177474467            $1,071.68                  $0.00            11/25/2015
       0177474467              $736.78                  $0.00            11/25/2015
       0177474467              $736.78                  $0.00            11/25/2015
       0347219172               $90.00                  $0.00            11/27/2015
       0375741667              $385.00                  $0.00            11/27/2015
       0382336402              $870.22                  $0.00            11/27/2015
       0368052445              $231.00                  $0.00              12/3/2015
       0368052445              $937.16                  $0.00              12/3/2015
       0375279288              $231.00                  $0.00              12/3/2015
       0375279288              $602.46                  $0.00              12/3/2015
       0375279288               $77.00                  $0.00              12/3/2015
       0380593269              $144.27                  $0.00              12/3/2015
       0380722058              $794.89                  $0.00              12/3/2015
       0355046426              $602.46                  $0.00              12/7/2015
       0355046426              $308.00                  $0.00              12/7/2015
       0364301036              $669.40                  $0.00              12/7/2015
       0375741667            $1,302.04                  $0.00              12/7/2015
                         $2,659,575.49            $402,959.89
                         $2,256,615.60 Amount in Unpaid claims




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